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12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,               Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                   DECLARATION OF DREVET
19 vs.                                            HUNT IN SUPPORT OF
                                                  PLAINTIFF'S MOTION FOR
20 COSUMNES CORPORATION dba                       INTERIM AWARD OF FEES AND
   MURIETA EQUESTRIAN CENTER, a                   COSTS
21
   California Corporation; CAROL
22 ANDERSON WARD, an individual;                  Hearing Date: June 12, 2025
   CAROL ANDERSON WARD, as trustee                Time: 10:00 AM
23 of the Carol Anderson Ward Trust dated         Courtroom: 27, 8th Floor
   February 6, 2002,                              Hon. Sean Riordan
24

25
                           Defendants.
26

27

28
                                              1
       DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
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 1 I, Drevet Hunt, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California. I am the Legal

 5   Director of the California Coastkeeper Alliance (“Plaintiff”) and I represent Plaintiff in this matter

 6   along with my co-counsel at Aqua Terra Aeris (“ATA”) Law Group as well as staff attorneys and

 7   legal fellows at California Coastkeeper Alliance.

 8          3.       I make this Declaration in support of Plaintiff’s Motion for Attorneys’ Fees and

 9   Costs, filed herewith. The facts set forth in this declaration are based on my personal knowledge,

10   unless otherwise stated; if called to testify as a witness, I could and would competently testify

11   thereto under oath.

12      I. AUTHENTICATION OF EXHIBITS

13          4.       Attached hereto as Exhibit 1 is a true and correct spreadsheet setting forth the time I
14   spent on this matter, recorded in increments of no greater than a tenth of an hour, with a description
15   of what work was done.
16          5.       Attached hereto as Exhibit 2 is a true and correct copy of an invoice dated January
17   13, 2022 received from ATA Law Group in the amount of $9,615.60 for costs it incurred on behalf
18   of California Coastkeeper Alliance in this case.
19          6.       Attached hereto as Exhibit 3 is a true and correct copy of an invoice dated March 3,
20   2022 received from ATA Law Group in the amount of $2,748.80 for costs it incurred on behalf of
21   California Coastkeeper Alliance in this case.
22          7.       Attached hereto as Exhibit 4 is a true and correct copy of an invoice dated April 7,
23   2022 received from ATA Law Group in the amount of $5,132.00 for costs it incurred on behalf of
24   California Coastkeeper Alliance in this case.
25          8.       Attached hereto as Exhibit 5 is a true and correct copy of an invoice dated
26   November 10, 2022 received from ATA Law Group in the amount of $5,918.04 for costs it
27   incurred on behalf of California Coastkeeper Alliance in this case.
28
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       DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
     Case 2:20-cv-01703-SCR         Document 189-15         Filed 04/18/25     Page 3 of 106


 1         9.      Attached hereto as Exhibit 6 is a true and correct copy of an invoice dated December

 2   8, 2022 received from ATA Law Group in the amount of $1,130.10 for costs it incurred on behalf

 3   of California Coastkeeper Alliance in this case.

 4         10.     Attached hereto as Exhibit 7 is a true and correct copy of an invoice dated January

 5   18, 2024 received from ATA Law Group in the amount of $3,942.15 for costs it incurred on behalf

 6   of California Coastkeeper Alliance in this case.

 7         11.     Attached hereto as Exhibit 8 is a true and correct copy of an invoice dated April 17,

 8   2024 received from ATA Law Group in the amount of $35,338.92 for costs it incurred on behalf of

 9   California Coastkeeper Alliance in this case.

10         12.     Attached hereto as Exhibit 9 is a true and correct copy of an invoice dated May 8,

11   2024 received from ATA Law Group in the amount of $18,852.52 for costs it incurred on behalf of

12   California Coastkeeper Alliance in this case.

13         13.     Attached hereto as Exhibit 10 is a true and correct copy of an invoice dated July 12,

14   2024 received from ATA Law Group in the amount of $7,020.21 for costs it incurred on behalf of

15   California Coastkeeper Alliance in this case.

16         14.     Attached hereto as Exhibit 11 is a true and correct copy of an invoice dated

17   December 13, 2024 received from ATA Law Group in the amount of $2,565.92 for costs it

18   incurred on behalf of California Coastkeeper Alliance in this case.

19         15.     Attached hereto as Exhibit 12 is a true and correct copy of an invoice dated January

20   30, 2025 received from ATA Law Group in the amount of $73.66 for costs it incurred on behalf of

21   California Coastkeeper Alliance in this case.

22         16.     Attached hereto as Exhibit 13 is a true and correct copy of an invoice dated March

23   26, 2024 received from Magna Legal Services in the amount of $853.75 for deposition services it

24   provided to California Coastkeeper Alliance in this case.

25         17.     Attached hereto as Exhibit 14 is a true and correct copy of an invoice dated April 6,

26   2021 received from Ian Wren in the amount of $4,686.67 for expert witness services provided to

27   California Coastkeeper Alliance in this case.

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       DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
     Case 2:20-cv-01703-SCR          Document 189-15          Filed 04/18/25      Page 4 of 106


 1          18.    Attached hereto as Exhibit 15 is a true and correct copy of an invoice dated April 4,

 2   2022 received from Ian Wren in the amount of $22,922.31 for expert witness services provided to

 3   California Coastkeeper Alliance in this case.

 4          19.    Attached hereto as Exhibit 16 is a true and correct copy of an invoice dated April 16,

 5   2024 received from Ian Wren in the amount of $2,406.25 for expert witness services provided to

 6   California Coastkeeper Alliance in this case.

 7      II. BIOGRAPHICAL INFORMATION

 8          20.    I am a 2005 graduate of the University of California College of the Law, San
 9   Francisco (formerly known as Hastings College of the Law) in San Francisco, California. I was
10   admitted to the California Bar in December 2005.
11          21.    I am currently a member of the Bar of California and am admitted to practice before
12   the United States District Court for the Northern District of California, United States District Court
13   for the Central District of California, United States District Court for the Eastern District of
14   California, United States District Court for the Southern District of California, and the United
15   States Court of Appeals for the Ninth Circuit.
16          22.    I began my law practice as an associate attorney at Lawyers for Clean Water, Inc., in
17   San Francisco, California, after my admission to the California Bar in 2005. I was made a partner
18   at Lawyers for Clean Water in 2012, a position I retained until mid-2018. While at Lawyers for
19   Clean Water, I successfully acted as lead counsel in dozens of cases brought under various
20   environmental laws. My law practice at Lawyers for Clean Water was dedicated to representing
21   public interest environmental nonprofit and Native American tribal organizations. My practice
22   included representing these clients in litigation and in administrative proceedings. In the course of
23   representing these clients I gained significant experience with the understanding of federal
24   environmental statutes, such as the federal Endangered Species Act (“ESA”), Clean Water Act
25   (“CWA”), Resource Conservation and Recovery Act (“RCRA”), Comprehensive Environmental
26   Response, Compensation, and Liability Act (“CERCLA”), Clean Air Act (“CAA”), and National
27   Environmental Policy Act (“NEPA”), as well as their state counterparts such as the California
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       DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1   Environmental Quality Act (“CEQA”). The results of my work include numerous court orders or

 2   judicial consent decrees imposing injunctive relief for environmental remediation and remedies

 3   compelling private entities and government agencies to come into compliance with these

 4   environmental laws.

 5           23.   In 2018 I took a position as Senior Staff Attorney at the Natural Resources Defense

 6   Council in San Francisco, California. I was Senior Staff Attorney at the Natural Resources Defense

 7   Council until 2021. During my time as at the Natural Resources Defense Council, I continued to

 8   dedicate my practice to representation of public interest environmental nonprofit and Native

 9   American tribal organizations in litigation and policy advocacy forums, including before state

10   regulatory agencies and the state legislatures in California and other western states.

11           24.   I am currently employed as the Legal Director of California Coastkeeper Alliance, a

12   position I have held since 2021. At California Coastkeeper Alliance I actively litigate in district

13   courts throughout California to enforce federal environmental laws, including the CWA. I also

14   litigate environmental law cases in state court.

15           25.   I estimate that over seventy-five percent (75%) of my practice has been in federal

16   court. I have substantial experience in all aspects of civil litigation, including conducting written

17   discovery and preparing for and taking depositions, briefing and arguing motions, and preparing

18   for trial.

19           26.   Over the past decade, on numerous occasions, I have presented at conferences and

20   workshops for environmental law practitioners and businesses subject to environmental

21   regulations. Attendees of these presentations are often able to obtain Continuing Legal Education

22   credit, as the focus of these presentations has been on legal principles and the practical application

23   of federal and state environmental laws. For example, I have made presentations related to ensuring

24   agency compliance with their duties under the ESA and CWA. I have made presentations related to

25   identifying novel or underutilized legal tactics and strategies for ensuring adequate flows in

26   streams and rivers to support healthy, functional fish populations. I have also made presentations

27   providing surveys of the legal landscape related to municipal storm water regulation and industrial

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        DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1       storm water regulation in California and nationwide. Recently I gave a continuing legal education

 2       presentation regarding the impact of the recent Supreme Court case City and County of San

 3       Francisco v Environmental Protection Agency, 145 S.Ct. 704 (2025).

 4              27.    Prior to my admission to the California Bar, I worked as a law clerk at Lawyers for

 5       Clean Water, Inc. I also interned for two semesters during law school with the Earthjustice Legal

 6       Defense Fund in Oakland, California (now Earthjustice), a public interest legal organization

 7       devoted to enforcing federal environmental laws. I also worked as a law clerk at the Environmental

 8       Law Clinic at Stanford University during the summer between my first and second years of law

 9       school. In total, prior to beginning to practice as an environmental attorney, I spent over a year of

10       my legal education in clinical settings acquiring the knowledge and skills relevant to the practice of

11       environmental law in federal court.

12              28.    I graduated from the University of California, Berkeley, College of Natural

13       Resources, with a Bachelor of Science in Conservation and Resource Studies. As an undergraduate,

14       I worked as a research assistant for Dr. Miguel Altieri on scientific research projects related to the

15       study, design, and management of sustainable agro-ecosystems that are both productive and natural

16       resource conserving, and that are also culturally-sensitive, socially-just and economically viable.

17              29.    My 2024 market rate for attorney work in the Eastern District of California is $640

18       per hour. Given my experience, skill, and reputation, my rates requested herein are reasonable.

19              30.    My market rate for attorney work in the Eastern District of California is based on my

20       review of market rates for attorneys of similar skill and experience. In establishing this rate, I

21       reviewed recent cases awarding attorney fees in complex civil litigation in the Eastern District of

22       California. 1 I have represented citizen plaintiffs throughout my career and I am familiar with rules

23

24  See Barbosa v. Cargill Meat Sols. Corp., 297 F.R.D. 431, 452-53 (E.D. Cal. 2013) (awarding
     1

   $400/hour to attorney with 5 years of experience; $560/hour to attorney with 8 years of experience;
25 $720/hour to attorney with 21 years of experience); Garcia v. Gordon Trucking, Inc., 2012 U.S.
   Dist. LEXIS 160052, at *9 (E.D. Cal. 2012) (finding that prevailing hourly rates in the Fresno
26 division of the Eastern District of California are in the $400 range, with rates of up to $650 to $675
   approved for partners and senior associates with significant years of experience); Bond v. Ferguson
27 Enters., 2011 U.S. Dist. LEXIS 70390, 2011 WL 2648879, at *9 (E.D. Cal. 2011) (holding that
   $675/hour was an appropriate rate for a partner with more than 20 years of experience and
28
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           DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1   applicable to awards of attorney's fees and costs under federal law. I have gained knowledge

 2   through my own experience working in the Sacramento area as well as through discussions with

 3   other attorneys in the field.

 4    III. SPECIFIC CLEAN WATER ACT AND OTHER RELEVANT LITIGATION
           EXPERIENCE
 5
            31.     The following is a non-exhaustive list of cases involving unpermitted discharges of
 6
     pollutants in violation of the Clean Water Act on which I served as lead counsel or co-counsel:
 7
                    •   Deltakeeper Chapter of Baykeeper, et al. v. S & H Dairy, et al., 1:06-cv-00837-
 8
                        DLB (E.D. Cal. 2006)
 9                  •   Deltakeeper Chapter of Baykeeper et al v. Silva Brothers Dairy, Inc. et al, 2:06-
                        cv-01452-DLB (E.D. Cal. 2006)
10                  •   Deltakeeper Chapter of Baykeeper et al v. Brasil and Sons Dairy, Inc. et al, 2:06-
                        cv-01464-DLB (E.D. Cal. 2006)
11                  •   Humboldt Baykeeper et al v. Union Pacific Railroad Company et al, 3:06-cv-
12                      02560-JSW (N.D. Cal. 2006)
                    •   California Sportfishing Protection Alliance v. City of Stockton, 2:08-cv-02184-
13                      LKK-KJM (E.D. Cal. 2008)
                    •   San Francisco Baykeeper v. Town of Hillsborough, 3:08-cv-03760-BZ (N.D.
14                      Cal. 2008)
15                  •   San Francisco Baykeeper v. County of San Mateo et al, 3:08-cv-03951-BZ (N.D.
                        Cal. 2008)
16                  •   San Francisco Baykeeper v. West Bay Sanitary District, 3:09-cv-05676-EMC
                        (N.D. Cal. 2008)
17                  •   California Sportfishing Protection Alliance v. Sacramento Area Sewer District et
                        al, 2:11-cv-00575-KJM-EFB (E.D. Cal. 2011)
18
                    •   California Sportfishing Protection Alliance v. City of Sacramento, 2:11-cv-
19                      00601-KJM-EFB (E.D. Cal. 2011)
                    •   Santa Barbara Channelkeeper v. City of Santa Barbara, 2:11-cv-03624-AGR
20                      (C.D. Cal. 2011)
                    •   California Sportfishing Protection Alliance v. Redding, 2:12-cv-01884-KJM-KJN
21
                        (E.D. Cal. 2012)
22

23
   $261/hour was an appropriate rate for an associate with 2 years of experience); Doe v. Cty. of
24 Sacramento, No. 2:21-cv-01438-MCE-CKD, 2024 U.S. Dist. LEXIS 83141 at *7, (E.D. Cal.
   2024) (stating that “the hourly rate of $425.00 requested by plaintiffs' attorney is reflective of the
25 prevailing market rate within the Eastern District of California, Sacramento Division, for similar
   services by lawyers of reasonably comparable skill” for attorney admitted to the bar in 2020);
26 Firstsource Sols. USA, LLC v. Tulare Reg’l Med. Ctr., 2019 WL 2725336, at *8 (E.D. Cal. June 28,
   2019) (approving a rate of $450.00 per hour for partners with at least 20 years of experience); Price
27 Simms Holdings v. Candle3, 2021 WL 1884995, at *5 (approving a rate of $450.00 per hour for
   partners); Deerpoint Grp., Inc. v. Agrigenix, LLC., 2022 U.S. Dist. LEXIS 197646, at *59 (E.D.
28 Cal. 2022) (collecting cases).
                                               7
        DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                            COSTS
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 1                •   California Sportfishing Protection Alliance v. Tuolumne Utilities District, 1:12-
                      cv-01051-AWI-SMS (E.D. Cal. 2012)
 2                •   CA Sportfishing Protection Alliance v. City of Modesto, 1:12-cv-02027-LJO-
 3                    SKO (E.D. Cal. 2012)
                  •   San Francisco Baykeeper v. City of San Jose et al, 5:15-cv-00642-BLF (N.D.
 4                    Cal. 2015)
                  •   CA Coastkeeper Alliance v. County of Sacramento et al, 2:21-cv-01916-WBS-
 5                    KJN (E.D. Cal. 2021)
 6
           32.    The following is a non-exhaustive list of cases involving enforcement for violations
 7
     of a Clean Water Act permit on which I served as lead counsel or co-counsel:
 8
                  •   San Bruno Mountain Watch v. Brookfield Northeast Ridge II, LLC et al, 4:08-cv-
 9                    01366-SBA (N.D. Cal. 2008)
                  •   Orange County Coastkeeper v. DBW & Associates Inc, 8:09-cv-01063-DOC-
10                    MLG (C.D. Cal. 2009)
                  •   Ventura Coastkeeper et al v. Tri-County Auto Dismantlers Inc, 2:11-cv-05289-
11
                      SJO-MRW (C.D. Cal. 2011)
12                •   Ventura Coastkeeper et al v. ABC Auto Parts et al, 2:11-cv-05290-AHM-MAN
                      (C.D. Cal. 2011)
13                •   Ventura Coastkeeper et al v. Ventura County Auto Parts Inc, 2:11-cv-05293-
                      CBM-FFM (C.D. Cal. 2011)
14
                  •   Ventura Coastkeeper et al v. Dismantled Vehicles and Record Service Inc et al,
15                    2:11-cv-05295-DMG-AJW (C.D. Cal. 2011)
                  •   Ventura Coastkeeper et al v. Ventura Mercedes Dismantling LLC et al, 2:11-cv-
16                    05300-PSG-AGR (C.D. Cal. 2011)
                  •   California Sportfishing Protection Alliance v. Redline Performance Auto
17                    Dismantling and Sales, Inc., 2:12-cv-00163-TLN-DAD (E.D. Cal. 2012)
18                •   California Sportfishing Protection Alliance v. Simonelli et al, 2:12-cv-00165-
                      LKK-KJN (E.D. Cal. 2012)
19                •   Baykeeper v. Zanker Road Resource Management, Ltd, 5:12-cv-02157-HRL
                      (N.D. Cal. 2012)
20                •   California Sportfishing Protection Alliance v. Pick and Pull Auto Dismantling,
21                    Inc. et al, 2:12-cv-00222-KJM-DAD (E.D. Cal. 2012)
                  •   California Sportfishing Protection Alliance v. All Hyundai Isuzu Kia & Nissan
22                    Auto Recycling, Inc., 2:12-cv-00428-KJM-KJN (E.D. Cal. 2012)
                  •   Los Angeles Coastkeeper v. C and M Metals Inc et al, 2:12-cv-04799-DDP-FMO
23                    (C.D. Cal. 2012)
24                •   Wishtoyo Foundation v. Magic Mountain LLC et al, 2:12-cv-05600-SVW-MAN
                      (C.D. Cal. 2012)
25                •   Los Angeles Waterkeeper v. Bestway Recycling Company Inc, 2:13-cv-08791-
                      DDP-PLA, 2:13-cv-08793-DDP-PLA, 2:13-cv-08796-DDP-PLA, 2:13-cv-
26                    08797-DDP-PLA, 2:13-cv-08798-DDP-PLA (C.D. Cal. 2013)
                  •   California Sportfishing Protection Alliance v. Syar Industries Inc et al, 2:14-cv-
27
                      01255-KJM-CKD (E.D. Cal. 2014)
28
                                              8
       DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1              •   Los Angeles Waterkeeper v. Republic Services Inc et al, 2:14-cv-00925-DDP-
                    PLA, 2:14-cv-00925-DDP-PLA, 2:14-cv-00928-DDP-PLA, 2:14-cv-00929-
 2                  DDP-PLA, 2:14-cv-00931-DDP-PLA, 2:14-cv-00932-DDP-PLA, 2:14-cv-
 3                  00933-DDP-PLA, 2:14-cv-00937-DDP-PLA (C.D. Cal. 2014)
                •   Los Angeles Waterkeeper v. Community Recycling & Resource Recovery Inc et
 4                  al, 2:14-cv-07965-DDP-PLA (C.D. Cal. 2014)
                •   Los Angeles Waterkeeper v. Liberty Metals Recycling, Inc. et al, 2:15-cv-04325-
 5                  TJH-AJW(C.D. Cal. 2015)
                •   Los Angeles Waterkeeper v. A and A Metal Recycling, Inc. et al, 2:15-cv-04326-
 6
                    MWF-JEM (C.D. Cal. 2015)
 7              •   California Sportfishing Protection Alliance v. A.L. Gilbert Company, 1:15-cv-
                    00533-DAD-SKO (E.D. Cal. 2015)
 8              •   San Diego Coastkeeper v. A-1 Alloys, Inc., 3:15-cv-01267-JM-WVG (S.D. Cal.
                    2015)
 9
                •   Los Angeles Waterkeeper v. Davis Wire Corporation, 2:16-cv-05332-PSG-JC
10                  (C.D. Cal. 2016)
                •   Los Angeles Waterkeeper v. Allan Company, Inc., 2:16-cv-07769-R-AS, 2:16-cv-
11                  07773-R-AS (C.D. Cal. 2016)
                •   San Diego Coastkeeper v. EDCO Disposal Corporation et al, 3:17-cv-01816-
12                  AJB-JLB (S.D. Cal. 2017)
13              •   Los Angeles Waterkeeper et al v. Cemex Construction Materials Pacific LLC,
                    5:17-cv-01137-PSG-RAO (C.D. Cal. 2017)
14              •   Orange County Coastkeeper et al v. Associated Ready Mixed Concrete, Inc.,
                    8:17-cv-00611-JVS-JDE (C.D. Cal. 2017)
15              •   Los Angeles Waterkeeper v. Prime Plating Aerospace, Inc. et al, 2:21-cv-08283-
16                  FMO-E (C.D. Cal. 2021)
                •   Los Angeles Waterkeeper v. Flowserve US, Inc., 2:21-cv-08950-AFM (C.D. Cal.
17                  2021)
                •   Los Angeles Waterkeeper v. Estes Express Lines, Inc., 2:22-cv-07542-FLA-PVC
18                  (C.D. Cal. 2022)
19              •   California Coastkeeper, Inc. v. Moss Landing Marine, LLC et al, 5:22-cv-06698-
                    NC (N.D. Cal. 2022)
20              •   Los Angeles Waterkeeper v. Nucor Warehouse Systems, 2:23-cv-06813-MEMF-
                    KS (C.D. Cal. 2023)
21              •   Los Angeles Waterkeeper v. Mills Iron Works, 2:23-cv-09630-SVW-MAR (C.D.
                    Cal. 2023)
22
                •   Los Angeles Waterkeeper v. Arktura LLC, 2:23-cv-09887-DDP-BFM (C.D. Cal.
23                  2023)
                •   California Coastkeeper Alliance v. Eel River Transportation & Salvage, 3:23-cv-
24                  04353-RFL (N.D. Cal. 2023)
                •   Los Angeles Waterkeeper v. ELG Metals, Inc., 2:23-cv-10036-SPG-RAO (C.D.
25
                    Cal. 2023)
26              •   Los Angeles Waterkeeper v. Wiretech, Inc., 2:23-cv-10265-DDP-JDE (C.D. Cal.
                    2023)
27              •   Los Angeles Waterkeeper v. Bender CCP, Inc., 2:24-cv-06822-AH-SK (C.D. Cal.
                    2024)
28
                                              9
       DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
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 1                  •   Los Angeles Waterkeeper v. Edmund A. Gray Co., Inc., 2:24-cv-07670-SK (C.D.
                        Cal. 2024)
 2                  •   Los Angeles Waterkeeper v. Strategic Materials Inc, 2:24-cv-08621-MCS-BFM
 3                      (C.D. Cal. 2024)
                    •   Los Angeles Waterkeeper v. Stericycle, Inc., 2:24-cv-10578-E (C.D. Cal. 2024)
 4                  •   Kevin Kelly v. City of Poway, 22-55920 (9th Cir. 2022)
                    •   San Diego Coastkeeper v. Calmat Co., 3:23-cv-01090-AJB-JLB (S.D. Cal. 2023)
 5                  •   Monterey Coastkeeper dba Monterey Waterkeeper v. Kristich Monterey Pipe
 6                      Company, 5:24-cv-04092-VKD (N.D. Cal. 2024)

 7          33.     The following is a non-exhaustive list of cases involving enforcement for violations

 8    of non-Clean Water Act federal environmental statutes on which I served as lead counsel or co-

 9    counsel:

10                  •    Natural Resources Defense Council, et al. v. Bernhardt, et al, 1:05-cv-01207-
                        JLT-EPG (E.D. Cal. 2005)
11                  •   Klamath Riverkeeper v. Montague Water Conservation District, 2:12-cv-01330-
12                      AC (E.D. Cal. 2012)
                    •   Karuk Tribe v. Montague Water Conservation District, 2:12-cv-02095-MCE-
13                      DAD (E.D. Cal. 2012)
                    •   Our Children's Earth et al v. Leland Stanford Junior University, 3:13-cv-00402-
14                      AGT (N.D. Cal. 2013)
                    •   Ecological Rights Foundation v. Federal Emergency Management Agency, 3:16-
15
                        cv-05254-MEJ (N.D. Cal. 2016)
16                  •   Ecological Rights Foundation v. Federal Emergency Management Agency, 3:16-
                        cv-06987-JD (N.D. Cal. 2016)
17                  •   Ecological Rights Foundation et al v. Federal Emergency Management Agency
                        et al, 3:16-cv-07252-JD (N.D. Cal. 2016)
18
                    •   Ecological Rights Foundation et al v. Federal Emergency Management Agency,
19                      3:17-cv-02788-JD (N.D. Cal. 2017)
                    •   San Luis Obispo Coastkeeper et al v. County of San Luis Obispo, 2:24-cv-06854-
20                      SPG-AS (C.D. Cal. 2024)
21    IV. TASKS PERFORMED AND HOURS INCURRED IN CASE
22          34.     As a general note, with this Court’s approval, Plaintiff California Coastkeeper
23    Alliance (the “Alliance”) and Defendant Murrieta Equestrian Center (“MEC”) agreed to divide the
24    case into two phases. Phase 1 covered issues regarding Plaintiff’s standing under Article III of the
25    U.S. Constitution, whether the unnamed stream into which MEC discharges is covered under the
26    CWA, and whether MEC discharges pollutions into that unnamed stream. Phase 2 covered issues
27    related to whether MEC’s facility constitutes a Concentrated Animal Feeding Operation (“CAFO”)
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        DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1    under controlling regulations, whether MEC had a valid permit to operate that facility, and the

 2    remedies appropriate in this case.

 3           35.    Since I joined the Alliance’s legal team after the filing of this matter, I have managed

 4    the Alliance’s participation in this matter while also working with co-counsel at ATA to respond to

 5    discovery requests, produce and prepare standing declarants, and approve filing and discovery

 6    requests provided to MEC. I have served as co-lead counsel, along with Jason Flanders at ATA, in

 7    prosecuting this case. Towards this end, I have reviewed, edited, commented on, and ultimately

 8    approved nearly all (if not all) of Plaintiff’s discovery requests, motions, briefs, case management

 9    statements, and other filings in this matter. Included herewith is a complete account of the time I’ve

10    spent on this matter. And below is a detailed, but non-exhaustive description of my work on this

11    matter to date.

12           36.    The development of facts to support the claims in this case required investigation by

13    Alliance staff. This included visiting publicly accessible areas around the MEC Facility, including

14    nearby public roads, portions of the Unnamed Stream adjacent to and downstream from the MEC

15    Facility, and the Cosumnes River. Early in the prosecution of this case, in the summer and fall of

16    2021, I regularly met with Mr. Flanders to discuss the prosecution of the case and time

17    management and strategy related thereto. During this time I also reviewed documents to inform

18    Plaintiff’s CWA claims.

19           37.    In August 2021, I attended a site inspection of MEC's facility along with Ian Wren,

20    our expert on this case. My time included preparing for and debriefing from the inspection with

21    Mr. Wren and co-counsel.

22           38.    In September 2021, I prepared for and attended a meet-and-confer with MEC’s

23    counsel regarding compliance with Phase 1 discovery requests.

24           39.    In the fall and winter of 2021, I helped to identify and interview standing declarants,

25    strategize with my co-counsel regarding our pleading of standing-related issues, and then helped in

26    the preparation of Plaintiff’s standing declarations for this matter.

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        DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1           40.     I also helped to manage our expert – Ian Wren. To this end, I reviewed his

 2    memoranda and reports and provided comments to him. I also discussed his findings and

 3    suggestions with him and with my co-counsel to inform our prosecutorial strategy.

 4           41.     In November 2021, I prepared for and participated in mediation both as co-lead

 5    counsel in this case. I helped to prepare our mediation brief and attended the mediation.

 6           42.     In the early winter and spring of 2022, I reviewed Plaintiff’s Phase 1 discovery

 7    requests, deposition notices, third-party subpoenas, and other discovery-related documents,

 8    provided edits and comments thereon, and ultimately approved these documents for service. I

 9    provided comment on Plaintiff’s request for a dry-weather inspection and relevant research we

10    commissioned regarding MEC’s compliance with its discovery-related obligations. During this

11    time, I also helped to gather records responsive to MEC’s Phase 1 discovery requests.

12           43.     Starting in January 2022, I helped draft Plaintiff’s Motion for Leave to Amend and

13    then, subsequently, Plaintiff’s Second Amended Complaint to allege additional standing following

14    new Ninth Circuit precedent, and in response to MEC’s continued challenges to the Alliance’s

15    standing, and refusal to stipulate to this amendment.

16           44.     Likewise, I drafted, edited, and finalized, along with my co-counsel, a Motion to

17    Amend the Scheduling Order for this litigation. This was necessary because MEC refused to

18    stipulate to this issue.

19           45.     In summer of 2022, I worked extensively with co-counsel to prepare for expert and

20    30(b)(6) depositions. This involved extensive document review and investigation. I appeared,

21    assisted in, and defended such depositions in June and July 2022. I also visited the site a second

22    time during that period.

23           46.     In September 2022, I prepared for and attended a second mediation.

24           47.     In October and November 2022, I helped to prepare Plaintiff’s opposition to MEC's

25    Motion to Stay the case as a result of the Supreme Court’s decision in Sackett. And in Spring of

26    2023, I helped to prepare a supplemental brief regarding the Sackett decision.

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        DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1          48.     Starting in November 2022, I began to help with Plaintiff’s preparation of a Motion

 2    for Summary Judgment. And later in December 2022 and then in early 2023, I helped to prepare

 3    Plaintiff’s opposition to MEC’s cross Motion for Summary Judgment. In February 2023, I helped

 4    to prepare Plaintiff’s reply brief responding to MEC’s opposition to our Motion for Summary

 5    Judgment.

 6          49.     In August 2023, after the Court granted our Motion for Summary Judgment and

 7    denied MEC’s analogous Motion, I began to participate in settlement discussions and the

 8    strategizing required to prepare for such negotiations.

 9          50.     Then, beginning in September 2023, I helped to organize and prepare Plaintiff’s

10    Phase 2 discovery requests, respond to MEC’s Phase 2 requests, and prepare for related

11    depositions. This continued into 2024. This discovery dealt largely with information that informed

12    Plaintiff’s demand for penalties and injunctive relief, including the corporate structure of MEC.

13    This was necessary since once liability is established, penalties are mandatory, and the Phase II

14    discovery period was the court-ordered time to develop this evidence.

15          51.     Beginning in April 2024, I helped to prepare several motions, including Plaintiff’s

16    Motion for Leave to Amend, Plaintiff’s second Motion for Summary Judgment, and a Motion in

17    Limine to exclude testimony from MEC's expert Tim Swickard. In June 2024, I helped Plaintiff to

18    prepare its reply in response to MEC’s opposition to our second Motion for Summary Judgment. I

19    also participated in oral argument for these motions, and prepared for such argument in September

20    and October 2024. Ultimately, the Court granted Plaintiff’s Motion for Summary Judgment and

21    denied MEC’s.

22          52.     In May and June 2024, I participated in another attempt at settlement on behalf of

23    Plaintiff. This included multiple meetings including sessions with a mediator.

24          53.     In September 2024, I helped to prepare another supplemental brief, this time

25    regarding the implications of the Supreme Court’s decision in Loper Bright.

26          54.     In the fall of 2024, we also sought leave to amend our Complaint again and to file a

27    Third Amended Complaint to include Carol Anderson Ward.

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        DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1           55.     Finally, I’ve assisted with this fee motion.

 2           56.     All told, my work in this matter on behalf of the Alliance and as co-lead counsel has

 3    supported three site inspections, dozens of discovery requests processes, ten opposed motions,

 4    three days of mediation, and numerous depositions.

 5    V.    COSTS INCURRED BY CALIFORNIA COASTKEEPER ALLIANCE

 6           57.     Attached hereto as Exhibits 2-16 are invoices received from ATA Law Group,
 7    Magna Legal Services, and Ian Wren for costs or fees incurred on behalf of California Coastkeeper
 8    Alliance in this case. Each of these invoices has been paid. In total, these invoices add up to
 9    $124,612.04.
10           58.     California Coastkeeper Alliance has also incurred $1,509.38 in in-house costs
11    attributable to this case. These costs include the following:
12                   •   $145.60 for mileage on December 12, 2021 to perform investigation of
13                       Defendant facility.
14                   •   $146.05 for mileage on January 7, 2022 to perform investigation of Defendant
15                       facility.
16                   •   $140.88 for mileage on February 16, 2022 to perform investigation of Defendant
17                       facility.
18                   •   $144.90 for mileage on March 4, 2022 to perform investigation of Defendant
19                       facility.
20                   •   $135.13 for mileage on March 15, 2022 to perform investigation of Defendant
21                       facility.
22                   •   $129.38 for mileage on June 8, 2022 to attend deposition in Sacramento,
23                       California.
24                   •   $140.88 for mileage on June 28, 2022 to perform investigation of Defendant
25                       facility.
26                   •   $91.22 in printing charges at FEDEX Kinkos on March 15, 2024 to prepare for
27                       deposition of Ian Wren.
28
                                              14
        DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1                  •   $42.00 in parking charges on March 18, 2024 for deposition of Ian Wren.
 2                  •   $15.00 in parking charges incurred by Drevet Hunt on May 17, 2024 for
 3                      mediation.
 4                  •   $127.30 for mileage incurred by Drevet Hunt on May 17, 2024 for mediation.
 5                  •   $25.00 in parking charges incurred by Sen Bothwell on May 17, 2024 for
 6                      mediation.
 7                  •   $58.75 for mileage incurred by Sean Bothwell on May 17, 2024 for mediation.
 8                  •   $40.00 for parking on October 8, 2024 for summary judgment hearing.
 9                  •   $127.30 for mileage on October 8, 2024 for summary judgment hearing.
10          59.     In total, California Coastkeeper Alliance has incurred $126,975.17 in costs and

11    expert fees for which it is seeking recovery in this motion.

12          60.     California Coastkeeper Alliance has supported this litigation through grants,

13    donations, and contingency-fee legal services. California Coastkeeper Alliance will continue to

14    expend funds in the next phase of this litigation related to owner/operator liability and penalties

15          I declare, under penalty of perjury under the laws of the State of California that the

16 foregoing is true and correct. Executed on the 15th of April 2025 in San Francisco, California.

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                                                                     Drevet Hunt
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        DECLARATION OF DREVET HUNT ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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                                                                                                         EXHIBIT 1
Date      Client   Matter       Staff         Description                                                                  Hours          Rate       Total               Billing Judgment Fee Reduction       Billing Judgment Time Reduction




                   Murieta                    Call with J. Flanders re: discovery, Resource Conservation and
                   Equestrian                 Recovery Act claim, and mandatory settlement conference.
  11/1/2021 CCKA   Center       DREVET HUNT                                                                                         0.8    $640.00            $512.00                                 $0.00                                      0
                   Murieta
                   Equestrian                 Call with J. Flanders re: discovery needs, case strategy, scheduling
   7/7/2021 CCKA   Center       DREVET HUNT                                                                                         0.2    $640.00            $128.00                                 $0.00                                      0
                   Murieta                    Review working waters of the United States memo from J. Flanders.
                   Equestrian
   7/9/2021 CCKA   Center       DREVET HUNT                                                                                         0.9    $640.00            $576.00                                 $0.00                                      0
                   Murieta                    Correspond with co-counsel re: case status and needs.
                   Equestrian
   7/9/2021 CCKA   Center       DREVET HUNT                                                                                         0.3    $640.00            $192.00                                 $0.00                                      0
                   Murieta                    Meet with co-counsel re: draft meet and confer letter.
                   Equestrian
  7/13/2021 CCKA   Center       DREVET HUNT                                                                                         0.6    $640.00              $0.00                               $384.00                                     0.6
                   Murieta                    Call with J. Flanders re: case issues, strategy, management and
                   Equestrian                 status.
  7/16/2021 CCKA   Center       DREVET HUNT                                                                                         1.5    $640.00            $960.00                                 $0.00                                      0
                   Murieta                    Review case file and key documents.
                   Equestrian
  7/22/2021 CCKA   Center       DREVET HUNT                                                                                         2.2    $640.00              $0.00                             $1,408.00                                     2.2
                   Murieta                    Call with J. Flanders re: case issues, strategy, management and
                   Equestrian                 status.
  7/23/2021 CCKA   Center       DREVET HUNT                                                                                         0.8    $640.00            $512.00                                 $0.00                                      0
                   Murieta                    Comments on notice letter.
                   Equestrian
  8/10/2021 CCKA   Center       DREVET HUNT                                                                                         0.8    $640.00            $512.00                                 $0.00                                      0
                   Murieta                    Review documents produced by Murieta Equestrian Center.
                   Equestrian
  8/13/2021 CCKA   Center       DREVET HUNT                                                                                         2.2    $640.00           $1,408.00                                $0.00                                      0
                   Murieta                    Call with J. Flanders re: waters of the United States, discovery to date
                   Equestrian                 and needed, experts.
  8/13/2021 CCKA   Center       DREVET HUNT                                                                                         0.8    $640.00            $448.00                                $64.00                                     0.1
                   Murieta                    Document review re: developing Clean Water Act claims.
                   Equestrian
  8/17/2021 CCKA   Center       DREVET HUNT                                                                                         1.8    $640.00           $1,152.00                                $0.00                                      0
                   Murieta                    Document review re: developing Clean Water Act claims.
                   Equestrian
  8/18/2021 CCKA   Center       DREVET HUNT                                                                                         1.6    $640.00           $1,024.00                                $0.00                                      0
                   Murieta                    Document review re: developing Clean Water Act claims.
                   Equestrian
  8/20/2021 CCKA   Center       DREVET HUNT                                                                                         1.3    $640.00            $832.00                                 $0.00                                      0
                   Murieta
                   Equestrian
  8/25/2021 CCKA   Center       DREVET HUNT   Emails with J. Flanders re: insurance coverage.                                       0.1    $640.00             $64.00                                 $0.00                                      0
                   Murieta                    Review documents and information and prepare for site visit with I.
                   Equestrian                 Wren.
  8/30/2021 CCKA   Center       DREVET HUNT                                                                                         1.5    $640.00            $960.00                                 $0.00                                      0
                   Murieta                    Site visit and investigation with I. Wren (includes travel 4 hours).
                   Equestrian
  8/31/2021 CCKA   Center       DREVET HUNT                                                                                         6.3    $640.00            $406.00                             $3,626.00                              5.665625
                   Murieta                    Call with J. Flanders and I. Wren re: site visit.
                   Equestrian
  8/31/2021 CCKA   Center       DREVET HUNT                                                                                         0.3    $640.00              $0.00                               $192.00                                     0.3
                   Murieta                    Call with J. Flanders following site visit with I. Wren.
                   Equestrian
  8/31/2021 CCKA   Center       DREVET HUNT                                                                                         0.6    $640.00            $320.00                                $64.00                                     0.1




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                                                                                                     EXHIBIT 1
                 Murieta                    Email with J. Flanders re: document review.
                 Equestrian
 9/1/2021 CCKA   Center       DREVET HUNT                                                                                  0.1   $640.00        $64.00           $0.00   0
                 Murieta                    Email with C. Hudak re: document review.
                 Equestrian
 9/1/2021 CCKA   Center       DREVET HUNT                                                                                  0.1   $640.00        $64.00           $0.00   0
                 Murieta                    Meet with C Hudak and C. Capps re: document review.
                 Equestrian
 9/2/2021 CCKA   Center       DREVET HUNT                                                                                  1.0   $640.00       $640.00           $0.00   0
                 Murieta                    Review correspondence from opposing counsel re: case status and
                 Equestrian                 settlement prospects.
 9/2/2021 CCKA   Center       DREVET HUNT                                                                                  0.5   $640.00       $320.00           $0.00   0
                 Murieta                    Further document review to support Clean Water Act claims.
                 Equestrian
 9/2/2021 CCKA   Center       DREVET HUNT                                                                                  1.0   $640.00       $640.00           $0.00   0
                 Murieta                    Review Murieta Equestrian Center document production; code and
                 Equestrian                 categorize.
 9/6/2021 CCKA   Center       DREVET HUNT                                                                                  3.6   $640.00      $2,304.00          $0.00   0
                 Murieta                    Meet with J. Flanders re: response to Defendant's correspondence on
                 Equestrian                 settlement, waters of the United States, case management.
 9/7/2021 CCKA   Center       DREVET HUNT                                                                                  0.5   $640.00       $320.00           $0.00   0
                 Murieta                    Meet with J. Flanders and co-counsel re: document review.
                 Equestrian
 9/7/2021 CCKA   Center       DREVET HUNT                                                                                  0.8   $640.00       $512.00           $0.00   0
                 Murieta                    Meet with J. Flanders and co-counsel re: document review and meet
                 Equestrian                 and confer.
 9/8/2021 CCKA   Center       DREVET HUNT                                                                                  0.8   $640.00       $512.00           $0.00   0
                 Murieta                    Review Murieta Equestrian Center document production; code and
                 Equestrian                 categorize.
 9/8/2021 CCKA   Center       DREVET HUNT                                                                                  0.8   $640.00       $512.00           $0.00   0
                 Murieta                    Meet with co-counsel re: draft meet and confer letter.
                 Equestrian
9/13/2021 CCKA   Center       DREVET HUNT                                                                                  0.6   $640.00       $384.00           $0.00   0
                 Murieta                    Review and edit draft meet and confer letter.
                 Equestrian
9/13/2021 CCKA   Center       DREVET HUNT                                                                                  0.8   $640.00       $512.00           $0.00   0
                 Murieta                    Review Murieta Equestrian Center document production; code and
                 Equestrian                 categorize.
9/14/2021 CCKA   Center       DREVET HUNT                                                                                  2.1   $640.00      $1,344.00          $0.00   0
                 Murieta                    Call with co-counsel re: tasks to complete.
                 Equestrian
9/16/2021 CCKA   Center       DREVET HUNT                                                                                  0.1   $640.00        $64.00           $0.00   0
                 Murieta                    Correspondence with co-counsel re: meet and confer on document
                 Equestrian                 production.
9/16/2021 CCKA   Center       DREVET HUNT                                                                                  0.3   $640.00       $192.00           $0.00   0
                 Murieta                    Correspondence with co-counsel re: standing declarants.
                 Equestrian
9/16/2021 CCKA   Center       DREVET HUNT                                                                                  0.3   $640.00       $192.00           $0.00   0
                 Murieta                    Review key documents produced by defendant.
                 Equestrian
9/16/2021 CCKA   Center       DREVET HUNT                                                                                  0.8   $640.00       $512.00           $0.00   0
                 Murieta                    Review correspondence from co-counsel re: meet and confer issues.
                 Equestrian
9/17/2021 CCKA   Center       DREVET HUNT                                                                                  0.3   $640.00       $192.00           $0.00   0
                 Murieta                    Review and edit meet and confer letter.
                 Equestrian
9/17/2021 CCKA   Center       DREVET HUNT                                                                                  0.6   $640.00       $384.00           $0.00   0
                 Murieta                    Discovery (requests for production) meet and confer preparation with
                 Equestrian                 C. Capps.
9/23/2021 CCKA   Center       DREVET HUNT                                                                                  0.3   $640.00       $192.00           $0.00   0




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                                                                                                     EXHIBIT 1
                  Murieta                    Discovery meet and confer re: requests for production with defendant
                  Equestrian                 counsel.
 9/23/2021 CCKA   Center       DREVET HUNT                                                                                      0.9   $640.00       $576.00            $0.00    0
                  Murieta                    Discovery meet and confer re: requests for production debrief with co-
                  Equestrian                 counsel.
 9/23/2021 CCKA   Center       DREVET HUNT                                                                                      0.4   $640.00       $256.00            $0.00    0
                  Murieta                    Meet with potential standing witness.
                  Equestrian
 9/29/2021 CCKA   Center       DREVET HUNT                                                                                      1.1   $640.00       $704.00            $0.00    0
                  Murieta                    Call with J. Flanders re: standing witness.
                  Equestrian
 9/29/2021 CCKA   Center       DREVET HUNT                                                                                      0.5   $640.00       $320.00            $0.00    0
                  Murieta                    Emails with J. Flanders re: standing witness.
                  Equestrian
 9/30/2021 CCKA   Center       DREVET HUNT                                                                                      0.1   $640.00        $64.00            $0.00    0
                  Murieta                    Review email from J. Flanders re: litigation needs, mediation, standing
                  Equestrian                 witness deposition, and insurance.
 10/6/2021 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00       $128.00            $0.00    0
                  Murieta                    Meet with J. Flanders and I. Wren re: needs for case (waters of the
                  Equestrian                 United States and Best Management Practices).
 10/7/2021 CCKA   Center       DREVET HUNT                                                                                      0.9   $640.00       $576.00            $0.00    0
                  Murieta                    Meet with potential standing witness.
                  Equestrian
10/12/2021 CCKA   Center       DREVET HUNT                                                                                      1.0   $640.00       $640.00            $0.00    0
                  Murieta                    Outreach with potential standing witnesses (several calls).
                  Equestrian
10/18/2021 CCKA   Center       DREVET HUNT                                                                                      1.8   $640.00      $1,152.00           $0.00    0
                  Murieta                    Review and read case law in E Maharg standing memo.
                  Equestrian
10/18/2021 CCKA   Center       DREVET HUNT                                                                                      0.9   $640.00       $576.00            $0.00    0
                  Murieta                    Meet with J. Flanders re: standing witness.
                  Equestrian
10/19/2021 CCKA   Center       DREVET HUNT                                                                                      0.8   $640.00       $512.00            $0.00    0
                  Murieta                    Site visit with standing witness.
                  Equestrian
10/22/2021 CCKA   Center       DREVET HUNT                                                                                      1.7   $640.00      $1,088.00           $0.00    0
                  Murieta                    Call with J. Flanders re: Defendant's standing deposition notice.
                  Equestrian
10/25/2021 CCKA   Center       DREVET HUNT                                                                                      0.4   $640.00       $256.00            $0.00    0
                  Murieta                    Review and analyze Defendant's standing deposition notice.
                  Equestrian
10/25/2021 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00       $128.00            $0.00    0
                  Murieta                    Review draft objections to 30(b)(6) deposition notice; provide
                  Equestrian                 comments.
10/25/2021 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $192.00            $0.00    0
                  Murieta                    Meet with J. Flanders and S. Bothwell re: case status, strategy, tasks.
                  Equestrian
10/26/2021 CCKA   Center       DREVET HUNT                                                                                      0.8   $640.00       $448.00           $64.00   0.1
                  Murieta                    Correspondence with co-counsel re: recent document production and
                  Equestrian                 whether resolves issues with production.
10/28/2021 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $192.00            $0.00    0
                  Murieta                    Review documents in supplemental document production.
                  Equestrian
10/28/2021 CCKA   Center       DREVET HUNT                                                                                      1.1   $640.00       $704.00            $0.00    0
                  Murieta                    Review summary of document review from C. Capps.
                  Equestrian
 11/2/2021 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $192.00            $0.00    0
                  Murieta                    Meet with J. Flanders re: November workplan for case.
                  Equestrian
 11/4/2021 CCKA   Center       DREVET HUNT                                                                                      0.8   $640.00       $512.00            $0.00    0




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                                                                                                      EXHIBIT 1
                  Murieta                    Review supplemental document production; code and categorize.
                  Equestrian
 11/4/2021 CCKA   Center       DREVET HUNT                                                                                     1.0   $640.00       $640.00              $0.00     0
                  Murieta                    Review and edit requests for production meet and confer letter.
                  Equestrian
 11/5/2021 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00              $0.00     0
                  Murieta                    Review supplemental document production; code and categorize.
                  Equestrian
 11/5/2021 CCKA   Center       DREVET HUNT                                                                                     1.1   $640.00       $704.00              $0.00     0
                  Murieta                    Meet with S. Bothwell, C. Capps, J. Flanders re: case strategy and
                  Equestrian                 tasks.
 11/8/2021 CCKA   Center       DREVET HUNT                                                                                     1.1   $640.00       $704.00              $0.00     0
                  Murieta                    depo prep meeting with standing witness and J. Flanders
                  Equestrian
 11/8/2021 CCKA   Center       DREVET HUNT                                                                                     1.1   $640.00       $704.00              $0.00     0
                  Murieta                    Deposition prep meeting with standing witness and J. Flanders.
                  Equestrian
 11/9/2021 CCKA   Center       DREVET HUNT                                                                                     0.9   $640.00       $576.00              $0.00     0
                  Murieta                    Review draft settlement conference statement; provide edits
                  Equestrian
 11/9/2021 CCKA   Center       DREVET HUNT                                                                                     1.7   $640.00      $1,088.00             $0.00     0
                  Murieta                    Review objections to deposition notices; send comments to team.
                  Equestrian
 11/9/2021 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00              $0.00     0
                  Murieta                    Review draft standing declaration from C. Capps.
                  Equestrian
11/11/2021 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00              $0.00     0
                  Murieta                    Review supplemental document production and key documents related
                  Equestrian                 to waters of the United States claims.
11/12/2021 CCKA   Center       DREVET HUNT                                                                                     2.5   $640.00         $0.00           $1,600.00   2.5
                  Murieta                    Two deposition preparation meetings with standing witnesses and J.
                  Equestrian                 Flanders.
11/12/2021 CCKA   Center       DREVET HUNT                                                                                     2.3   $640.00      $1,472.00             $0.00     0
                  Murieta                    Review Second Amended Complaint and stipulation; provide
                  Equestrian                 comments to J. Flanders.
11/12/2021 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00              $0.00     0
                  Murieta                    Call with J. Flanders following deposition of S. Bothwell.
                  Equestrian
11/15/2021 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00              $0.00     0
                  Murieta                    Review waters of the United States memo from consultant; provide
                  Equestrian                 comments
11/16/2021 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00              $0.00     0
                  Murieta                    Review best management practices memo from consultant; develop
                  Equestrian                 comments
11/16/2021 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00              $0.00     0
                  Murieta                    Draft proposed consent decree.
                  Equestrian
11/17/2021 CCKA   Center       DREVET HUNT                                                                                     1.1   $640.00       $704.00              $0.00     0
                  Murieta                    Research California Concentrated Animal Feeding Operation
                  Equestrian                 requirements and draft proposed consent decree.
11/18/2021 CCKA   Center       DREVET HUNT                                                                                     1.8   $640.00      $1,152.00             $0.00     0
                  Murieta                    Review mediation brief; provide comments to J. Flanders.
                  Equestrian
11/18/2021 CCKA   Center       DREVET HUNT                                                                                     0.7   $640.00       $448.00              $0.00     0
                  Murieta                    Research Concentrated Animal Feeding Operation requirements and dr
                  Equestrian
11/19/2021 CCKA   Center       DREVET HUNT                                                                                     3.5   $640.00      $2,240.00             $0.00     0
                  Murieta                    Review and edit mediation brief.
                  Equestrian
11/22/2021 CCKA   Center       DREVET HUNT                                                                                     2.8   $640.00      $1,792.00             $0.00     0




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                                                                                                      EXHIBIT 1
                  Murieta
                  Equestrian                 Zoom with J. Flanders re: draft consent decree.
11/22/2021 CCKA   Center       DREVET HUNT                                                                                     1.0   $640.00       $640.00             $0.00    0
                  Murieta                    Meet with J. Flanders and S. Bothwell re: draft settlement proposal.
                  Equestrian
11/23/2021 CCKA   Center       DREVET HUNT                                                                                     1.0   $640.00       $640.00             $0.00    0
                  Murieta                    Meet with J. Flanders re: edits to mediation brief and proposed
                  Equestrian                 Consent Decree
11/23/2021 CCKA   Center       DREVET HUNT                                                                                     0.7   $640.00       $256.00           $192.00   0.3
                  Murieta                    Review and edit proposed Consent Decree.
                  Equestrian
11/23/2021 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00             $0.00    0
                  Murieta
                  Equestrian
11/24/2021 CCKA   Center       DREVET HUNT   Review and edit proposed Consent Decree.                                          0.5   $640.00         $0.00           $320.00   0.5
                  Murieta
                  Equestrian
11/24/2021 CCKA   Center       DREVET HUNT   review and edit mediation brief.                                                  1.1   $640.00       $704.00             $0.00    0
                  Murieta
                  Equestrian
11/24/2021 CCKA   Center       DREVET HUNT   Correspond with co-counsel re: final revisions to materials to submit for         0.5   $640.00       $320.00             $0.00    0
                  Murieta
                  Equestrian
11/24/2021 CCKA   Center       DREVET HUNT   Correspond with S. Bothwell regarding settlement positions.                       0.4   $640.00       $256.00             $0.00    0
                  Murieta                    Call with J. Flanders re: mediation (2 calls).
                  Equestrian
11/29/2021 CCKA   Center       DREVET HUNT                                                                                     1.1   $640.00       $704.00             $0.00    0
                  Murieta
                  Equestrian
11/29/2021 CCKA   Center       DREVET HUNT   Review correspondence from J. Flanders regarding comms with Magist                0.1   $640.00        $64.00             $0.00    0
                  Murieta
                  Equestrian
11/30/2021 CCKA   Center       DREVET HUNT   Call with T. Brett, J. Flanders, S. Bothwell re: settlement conference pre        0.5   $640.00       $320.00             $0.00    0
                  Murieta                    Mediation with Judge Newman
                  Equestrian
 12/1/2021 CCKA   Center       DREVET HUNT                                                                                     6.0   $640.00      $3,840.00            $0.00    0
                  Murieta                    debrief with team following mediation with Judge Newman
                  Equestrian
 12/1/2021 CCKA   Center       DREVET HUNT                                                                                     0.7   $640.00       $448.00             $0.00    0
                  Murieta                    debrief with SB following mediation
                  Equestrian
 12/1/2021 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00             $0.00    0
                  Murieta                    meet with T. Brett J. Flanders and I. Wren re: waters of the United
                  Equestrian                 States analysis
 12/3/2021 CCKA   Center       DREVET HUNT                                                                                     1.0   $640.00       $640.00             $0.00    0
                  Murieta                    meet with T. Brett SB re: standing
                  Equestrian
 12/3/2021 CCKA   Center       DREVET HUNT                                                                                     0.9   $640.00       $576.00             $0.00    0
                  Murieta                    call with J. Flanders re: Motion for Summary Judgment prep and
                  Equestrian                 coordination
 12/8/2021 CCKA   Center       DREVET HUNT                                                                                     1.4   $640.00       $896.00             $0.00    0
                  Murieta                    emails with J. Flanders re: Motion for Summary Judgment prep and
                  Equestrian                 planning
 12/8/2021 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00             $0.00    0
                  Murieta                    review stipulated facts; provide comments
                  Equestrian
 12/8/2021 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00             $0.00    0
                  Murieta                    review and provide comments on clawback letter
                  Equestrian
 12/9/2021 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00             $0.00    0




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                                                                                                        EXHIBIT 1
                  Murieta                    email with T. Brett re: information on property ownership
                  Equestrian
12/13/2021 CCKA   Center       DREVET HUNT                                                                                         0.1   $640.00       $64.00            $0.00    0
                  Murieta                    call with J. Flanders in preparation for call with opposing counsel
                  Equestrian
12/15/2021 CCKA   Center       DREVET HUNT                                                                                         0.6   $640.00      $384.00            $0.00    0
                  Murieta                    review J. Flanders stip facts and outline of cross Motion for Summary
                  Equestrian                 Judgment issues and streamlined discovery; provide comments
12/15/2021 CCKA   Center       DREVET HUNT                                                                                         0.3   $640.00      $192.00            $0.00    0
                  Murieta                    Call with opposing counsel re: streamlining discovery and motion
                  Equestrian                 practice, follow up call with J. Flanders re: same
12/15/2021 CCKA   Center       DREVET HUNT                                                                                         1.2   $640.00      $768.00            $0.00    0
                  Murieta                    follow up with J. Flanders; call with team re: discovery and motion
                  Equestrian                 planning
12/28/2021 CCKA   Center       DREVET HUNT                                                                                         0.3   $640.00      $192.00            $0.00    0
                  Murieta                    call with opposing counsel re: discovery and motion planning
                  Equestrian
12/28/2021 CCKA   Center       DREVET HUNT                                                                                         0.9   $640.00      $576.00            $0.00    0
                  Murieta                    call with J. Flanders to prep for meeting with opposing counsel re:
                  Equestrian                 discovery and motion planning
12/28/2021 CCKA   Center       DREVET HUNT                                                                                         0.6   $640.00      $384.00            $0.00    0
                  Murieta                    call with J. Flanders and I. Wren re: receiving waters and prep for site
                  Equestrian                 visit re: same
  1/4/2022 CCKA   Center       DREVET HUNT                                                                                         1.3   $640.00      $832.00            $0.00    0
                  Murieta                    call with J. Flanders regarding Def's proposed schedule for phase 1
                  Equestrian
  1/4/2022 CCKA   Center       DREVET HUNT                                                                                         0.7   $640.00      $448.00            $0.00    0
                  Murieta                    call with J. Flanders and E. Maharg re: standing arguments
                  Equestrian
  1/5/2022 CCKA   Center       DREVET HUNT                                                                                         0.8   $640.00        $0.00          $512.00   0.8
                  Murieta                    research informational standing
                  Equestrian
  1/6/2022 CCKA   Center       DREVET HUNT                                                                                         0.7   $640.00      $448.00            $0.00    0
                  Murieta                    Meet with J. Flanders re: Resource Conservation and Recovery Act
                  Equestrian                 claims and deposition prep.
11/10/2021 CCKA   Center       DREVET HUNT                                                                                         0.8   $640.00      $512.00            $0.00    0
                  Murieta                    Call with J. Flanders re: investigations related to standing and waters of
                  Equestrian                 the United States
  1/7/2022 CCKA   Center       DREVET HUNT                                                                                         0.7   $640.00      $448.00            $0.00    0
                  Murieta                    review and respond to emails regarding case schedule with opposing
                  Equestrian                 counsel and co-counsel
 1/12/2022 CCKA   Center       DREVET HUNT                                                                                         0.2   $640.00      $128.00            $0.00    0
                  Murieta                    call with J. Flanders re: joint scheduling stip and stipulated facts
                  Equestrian
 1/13/2022 CCKA   Center       DREVET HUNT                                                                                         0.7   $640.00      $448.00            $0.00    0
                  Murieta                    review joint stip facts; comments to J. Flanders re: same
                  Equestrian
 1/13/2022 CCKA   Center       DREVET HUNT                                                                                         0.2   $640.00      $128.00            $0.00    0
                  Murieta                    Calls with J. Flanders re: stip facts, corr with magistrate, scheduling
                  Equestrian                 stip
 1/14/2022 CCKA   Center       DREVET HUNT                                                                                         0.4   $640.00      $256.00            $0.00    0
                  Murieta                    review Bothwell deposition transcript
                  Equestrian
 1/14/2022 CCKA   Center       DREVET HUNT                                                                                         0.7   $640.00      $448.00            $0.00    0
                  Murieta                    review and confer with J. Flanders re: email form opposing counsel on
                  Equestrian                 case management
 1/18/2022 CCKA   Center       DREVET HUNT                                                                                         0.3   $640.00      $192.00            $0.00    0
                  Murieta                    review J. Flanders email and proposal regarding standing issues;
                  Equestrian                 respond
 1/19/2022 CCKA   Center       DREVET HUNT                                                                                         0.3   $640.00      $192.00            $0.00    0




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                                                                                                       EXHIBIT 1
                 Murieta                    review J. Flanders email and proposal regarding amending complaint;
                 Equestrian                 respond
1/19/2022 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00       $64.00             $0.00     0
                 Murieta                    call with team to discuss informational standing and other standing
                 Equestrian                 issues
1/20/2022 CCKA   Center       DREVET HUNT                                                                                        0.7   $640.00      $384.00            $64.00    0.1
                 Murieta                    meet and confer with opposing counsel re: modifying scheduling order
                 Equestrian
1/20/2022 CCKA   Center       DREVET HUNT                                                                                        1.0   $640.00      $640.00             $0.00     0
                 Murieta                    call with J. Flanders in advance of meet and confer with opposing
                 Equestrian                 counsel re: modifying scheduling order
1/20/2022 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00      $320.00             $0.00     0
                 Murieta                    call with J. Flanders follow up to meet and confer with opposing
                 Equestrian                 counsel re: modifying scheduling order
1/20/2022 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00      $192.00             $0.00     0
                 Murieta                    call with J. Flanders re: Second Amended Complaint draft
                 Equestrian
1/25/2022 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00      $192.00             $0.00     0
                 Murieta
                 Equestrian
1/25/2022 CCKA   Center       DREVET HUNT   review Second Amended Complaint draft for new language                               0.2   $640.00      $128.00             $0.00     0
                 Murieta                    call with J. Flanders re: defendant's proposed discovery and briefing
                 Equestrian                 procedure and schedule
1/28/2022 CCKA   Center       DREVET HUNT                                                                                        0.8   $640.00      $448.00            $64.00    0.1
                 Murieta                    second call with J. Flanders re: defendant's proposed discovery and
                 Equestrian                 briefing procedure and schedule
1/28/2022 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00      $128.00             $0.00     0
                 Murieta                    review corr re: Def proposed discovery schedule and motion schedule
                 Equestrian
1/28/2022 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00       $64.00             $0.00     0
                 Murieta                    additional call with J. Flanders re: proposed discovery schedule and
                 Equestrian                 motion schedule
1/28/2022 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00      $128.00             $0.00     0
                 Murieta
                 Equestrian
1/28/2022 CCKA   Center       DREVET HUNT   review Cosumnes river gauge information and weather forecasts to plan                0.3   $640.00      $192.00             $0.00     0
                 Murieta
                 Equestrian
1/28/2022 CCKA   Center       DREVET HUNT   review photos and get report from [redacted] re: Cosumnes river canoe                1.1   $640.00      $704.00             $0.00     0
                 Murieta                    Review and revisions to draft joint scheduling stipulation; calls and
                 Equestrian                 email with J. Flanders re: same
 2/1/2022 CCKA   Center       DREVET HUNT                                                                                        0.4   $640.00      $256.00             $0.00     0
                 Murieta
                 Equestrian
 2/3/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: joint scheduling stipulation, stipulated facts, and        0.2   $640.00      $128.00             $0.00     0
                 Murieta                    call with J. Flanders and T. Brett regarding waters of the United States
                 Equestrian                 issues and research
 2/7/2022 CCKA   Center       DREVET HUNT                                                                                        1.2   $640.00      $704.00            $64.00    0.1
                 Murieta
                 Equestrian
 2/7/2022 CCKA   Center       DREVET HUNT   review fact chart and other materials in advance of call with J. Flanders            0.4   $640.00      $256.00             $0.00     0
                 Murieta                    review and comment on motion for leave to amend
                 Equestrian
 2/8/2022 CCKA   Center       DREVET HUNT                                                                                        1.7   $640.00        $0.00          $1,088.00   1.7
                 Murieta                    corr with co-counsel re: subpoenas related to information on waters of
                 Equestrian                 the United States from agencies
 2/8/2022 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00      $128.00             $0.00     0
                 Murieta                    revisions to declarations to file with Motion to Amend; send to EM
                 Equestrian
 2/9/2022 CCKA   Center       DREVET HUNT                                                                                        0.6   $640.00        $0.00           $384.00    0.6




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                                                                                                     EXHIBIT 1
                 Murieta
                 Equestrian
 2/9/2022 CCKA   Center       DREVET HUNT   review Second set RFAs; provide comments                                         0.5   $640.00       $320.00             $0.00    0
                 Murieta                    call with J. Flanders re: re subpoenas, motion to amend, witnesses
                 Equestrian
 2/9/2022 CCKA   Center       DREVET HUNT                                                                                    1.1   $640.00       $704.00             $0.00    0
                 Murieta                    emails with J. Flanders re: witness disclosures
                 Equestrian
 2/9/2022 CCKA   Center       DREVET HUNT                                                                                    0.1   $640.00        $64.00             $0.00    0
                 Murieta
                 Equestrian
2/10/2022 CCKA   Center       DREVET HUNT   calls with E. Maharg and J. Flanders re: motion for leave to amend               0.4   $640.00         $0.00           $256.00   0.4
                 Murieta                    emails with J. Flanders re: discovery
                 Equestrian
2/10/2022 CCKA   Center       DREVET HUNT                                                                                    0.1   $640.00         $0.00            $64.00   0.1
                 Murieta                    comments on Carol Anderson Ward trust subpoena; research re: same
                 Equestrian
2/10/2022 CCKA   Center       DREVET HUNT                                                                                    0.4   $640.00       $256.00             $0.00    0
                 Murieta                    calls with J. Flanders re: 3d party subpoenas
                 Equestrian
2/10/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $320.00             $0.00    0
                 Murieta                    emails with J. Flanders re: motion for leave to amend
                 Equestrian
2/10/2022 CCKA   Center       DREVET HUNT                                                                                    0.2   $640.00       $128.00             $0.00    0
                 Murieta                    emails with J. Flanders re: discovery
                 Equestrian
2/10/2022 CCKA   Center       DREVET HUNT                                                                                    0.1   $640.00        $64.00             $0.00    0
                 Murieta                    review and draft Hunt dec in support of MTA
                 Equestrian
2/10/2022 CCKA   Center       DREVET HUNT                                                                                    0.4   $640.00       $256.00             $0.00    0
                 Murieta                    call with J. Flanders re: evidence collection and expert report
                 Equestrian                 development
2/15/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $320.00             $0.00    0
                 Murieta                    call with J. Flanders re: Carol Anderson Ward subpoenas
                 Equestrian
2/15/2022 CCKA   Center       DREVET HUNT                                                                                    0.1   $640.00        $64.00             $0.00    0
                 Murieta                    review Rancho Murieta Community Services District operations and
                 Equestrian                 data on LJ spill
2/15/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $320.00             $0.00    0
                 Murieta                    call with J. Flanders re: evidence gathering and document review to
                 Equestrian                 support IW
2/16/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $256.00            $64.00   0.1
                 Murieta                    doc review to support IW; provide documents
                 Equestrian
2/16/2022 CCKA   Center       DREVET HUNT                                                                                    1.8   $640.00      $1,152.00            $0.00    0
                 Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes
                 Equestrian                 River
2/16/2022 CCKA   Center       DREVET HUNT                                                                                    6.8   $640.00      $4,352.00            $0.00    0
                 Murieta
                 Equestrian
2/17/2022 CCKA   Center       DREVET HUNT   meet with I. Wren regarding site visits and evidence gathering                   0.8   $640.00       $512.00             $0.00    0
                 Murieta                    call with J. Flanders re: evidence development
                 Equestrian
2/17/2022 CCKA   Center       DREVET HUNT                                                                                    0.2   $640.00       $128.00             $0.00    0
                 Murieta                    call with J. Flanders re: outstanding discovery and ongoing and further
                 Equestrian                 investigations
2/23/2022 CCKA   Center       DREVET HUNT                                                                                    0.6   $640.00       $320.00            $64.00   0.1
                 Murieta                    review I. Wren waters of the United States memo with updates from
                 Equestrian                 investigations
2/28/2022 CCKA   Center       DREVET HUNT                                                                                    0.7   $640.00       $448.00             $0.00    0




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                                                                                                       EXHIBIT 1
                 Murieta                     Call with J. Flanders and T. Brett (for part) re: next steps for I. Wren
                 Equestrian                 expert memo, ongoing fact investigation, subpoena response from
 3/1/2022 CCKA   Center       DREVET HUNT   Rancho Murieta Community Services District                                           2.1   $640.00      $1,344.00          $0.00   0
                 Murieta                    review Murieta Equestrian Center opp to MTA
                 Equestrian
 3/1/2022 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00       $320.00           $0.00   0
                 Murieta                    call with J. Flanders re: Rancho Murieta Community Services District
                 Equestrian                 subpoena and investigations
 3/2/2022 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00       $192.00           $0.00   0
                 Murieta
                 Equestrian
 3/3/2022 CCKA   Center       DREVET HUNT   email w co-counsel re: outline of I. Wren expert report                              0.1   $640.00        $64.00           $0.00   0
                 Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes
                 Equestrian                 River
 3/4/2022 CCKA   Center       DREVET HUNT                                                                                        9.5   $640.00      $6,080.00          $0.00   0
                 Murieta
                 Equestrian                 Call with J. Flanders and I. Wren re: site investigation
 3/4/2022 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00       $128.00           $0.00   0
                 Murieta
                 Equestrian                 Calls with J. Flanders and E. Maharg re: court's order vacating hearing
 3/4/2022 CCKA   Center       DREVET HUNT   before reply brief was filed                                                         0.1   $640.00        $64.00           $0.00   0
                 Murieta                    meet with J. Flanders T. Brett I. Wren re: expert report
                 Equestrian
 3/7/2022 CCKA   Center       DREVET HUNT                                                                                        0.9   $640.00       $576.00           $0.00   0
                 Murieta                    email with J. Flanders re: state water board documents
                 Equestrian
 3/8/2022 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00           $0.00   0
                 Murieta
                 Equestrian
 3/8/2022 CCKA   Center       DREVET HUNT   review J. Flanders draft email to opp Counsel re: settlement; comment                0.2   $640.00       $128.00           $0.00   0
                 Murieta                    call with J. Flanders and SB re: settlement and deposition
                 Equestrian
 3/9/2022 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00       $320.00           $0.00   0
                 Murieta                    call with J. Flanders re: expert file management
                 Equestrian
3/10/2022 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00           $0.00   0
                 Murieta                    corr with T. Brett re: site investigations and facts
                 Equestrian
3/14/2022 CCKA   Center       DREVET HUNT                                                                                        0.4   $640.00       $256.00           $0.00   0
                 Murieta                    call with I. Wren and J. Flanders re: site inspection
                 Equestrian
3/14/2022 CCKA   Center       DREVET HUNT                                                                                        0.4   $640.00       $256.00           $0.00   0
                 Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes
                 Equestrian                 River
3/15/2022 CCKA   Center       DREVET HUNT                                                                                        6.3   $640.00      $4,032.00          $0.00   0
                 Murieta
                 Equestrian
3/16/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: expert report and supplemental disclosures and             1.2   $640.00       $768.00           $0.00   0
                 Murieta                    call with J. Flanders re: responsive documents from subpoena
                 Equestrian
3/17/2022 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00       $128.00           $0.00   0
                 Murieta                    call with J. Flanders T. Brett and I. Wren re: completing expert report
                 Equestrian
3/18/2022 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00       $320.00           $0.00   0
                 Murieta                    call with I. Wren and J. Flanders re: expert report
                 Equestrian
3/21/2022 CCKA   Center       DREVET HUNT                                                                                        0.6   $640.00       $384.00           $0.00   0
                 Murieta                    call with J. Flanders re: expert report
                 Equestrian
3/21/2022 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00       $320.00           $0.00   0




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                                                                                                    EXHIBIT 1
                 Murieta                    call with J. Flanders re: rain data and expert report
                 Equestrian
3/22/2022 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00             $0.00    0
                 Murieta
                 Equestrian
3/23/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: outstanding discovery and ongoing and further in        0.6   $640.00       $384.00             $0.00    0
                 Murieta
                 Equestrian
3/24/2022 CCKA   Center       DREVET HUNT   call with team regarding plan and next steps on case                              1.1   $640.00         $0.00           $704.00   1.1
                 Murieta
                 Equestrian
3/27/2022 CCKA   Center       DREVET HUNT   Review I. Wren final expert report and email team re: need for errata on          0.4   $640.00       $256.00             $0.00    0
                 Murieta                    review I. Wren expert report errata
                 Equestrian
3/29/2022 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00             $0.00    0
                 Murieta
                 Equestrian                 Call with I. Wren and J. Flanders re: expert report errata, deposition
3/29/2022 CCKA   Center       DREVET HUNT   schedule, further fact gathering needs                                            0.5   $640.00       $320.00             $0.00    0
                 Murieta                    meeting with J. Flanders and T. Brett re: case tasks and to-do; discuss
                 Equestrian                 strategies and outstanding issues
3/30/2022 CCKA   Center       DREVET HUNT                                                                                     0.9   $640.00       $576.00             $0.00    0
                 Murieta                    Provide comments on draft meet and confer letter on requests for
                 Equestrian                 production
 4/1/2022 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00             $0.00    0
                 Murieta                    provide comments on draft meet and confer letter on RFAs
                 Equestrian
 4/4/2022 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00             $0.00    0
                 Murieta                    review documents production in response to 3rd requests for
                 Equestrian                 production
 4/4/2022 CCKA   Center       DREVET HUNT                                                                                     2.5   $640.00      $1,600.00            $0.00    0
                 Murieta                    respond to J. Flanders corr re: requests for admission and requests for
                 Equestrian                 production meet and confer letters
 4/4/2022 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00             $0.00    0
                 Murieta                    prep (review documents and corr) for call with J. Flanders re: I. Wren
                 Equestrian                 deposition, and defendant's defective discovery responses, strategies
 4/5/2022 CCKA   Center       DREVET HUNT   moving forward                                                                    1.4   $640.00         $0.00           $896.00   1.4
                 Murieta                    Call with J. Flanders re: I. Wren deposition, and defendant's defective
                 Equestrian                 discovery responses, strategies moving forward
 4/5/2022 CCKA   Center       DREVET HUNT                                                                                     1.4   $640.00       $896.00             $0.00    0
                 Murieta                    I. Wren deposition prep with J. Flanders and IW
                 Equestrian
 4/6/2022 CCKA   Center       DREVET HUNT                                                                                     1.6   $640.00      $1,024.00            $0.00    0
                 Murieta                    review J. Flanders email to opposing counsel re: WW inspection;
                 Equestrian                 provide comment
 4/6/2022 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00             $0.00    0
                 Murieta                    call with J. Flanders re: wet weather inspection
                 Equestrian
 4/6/2022 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00             $0.00    0
                 Murieta                    call with J. Flanders re: discovery meet and confer
                 Equestrian
 4/7/2022 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00             $0.00    0
                 Murieta                    IW deposition prep with J. Flanders and IW
                 Equestrian
 4/8/2022 CCKA   Center       DREVET HUNT                                                                                     3.5   $640.00      $2,240.00            $0.00    0
                 Murieta                    meet and confer with opposing counsel re: wet weather inspection
                 Equestrian
 4/8/2022 CCKA   Center       DREVET HUNT                                                                                     0.6   $640.00       $384.00             $0.00    0
                 Murieta                    prep with J. Flanders for meet and confer with opposing counsel re:
                 Equestrian                 wet weather inspection; review relevant documents
 4/8/2022 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $128.00            $64.00   0.1




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                                                                                                       EXHIBIT 1
                 Murieta
                 Equestrian
 4/8/2022 CCKA   Center       DREVET HUNT   follow up with J. Flanders after meet and confer with opposing counsel r             0.3   $640.00       $192.00            $0.00    0
                 Murieta                    review J. Flanders draft stip/mot to compel wet weather inspection
                 Equestrian
4/11/2022 CCKA   Center       DREVET HUNT                                                                                        1.7   $640.00      $1,088.00           $0.00    0
                 Murieta                    meet with T. Brett J. Flanders and I. Wren re: deposition prep and
                 Equestrian                 responses to discovery production
4/11/2022 CCKA   Center       DREVET HUNT                                                                                        1.6   $640.00      $1,024.00           $0.00    0
                 Murieta
                 Equestrian
4/11/2022 CCKA   Center       DREVET HUNT   meet and confer with opposing counsel re: objections to wet weather ins              0.4   $640.00       $256.00            $0.00    0
                 Murieta
                 Equestrian
4/11/2022 CCKA   Center       DREVET HUNT   review objections to deposition notice; provide comments re: same                    0.4   $640.00       $256.00            $0.00    0
                 Murieta                    call with J. Flanders re: joint stipulation on Rule 34 site inspection
                 Equestrian
4/11/2022 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00       $128.00            $0.00    0
                 Murieta                    review J. Flanders draft letter brief re: informal discovery dispute Rule
                 Equestrian                 34; corr with J. Flanders re: same
4/11/2022 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00       $192.00            $0.00    0
                 Murieta
                 Equestrian
4/12/2022 CCKA   Center       DREVET HUNT   revise and further edits to draft letter brief re: informal discovery dispute        0.8   $640.00       $512.00            $0.00    0
                 Murieta
                 Equestrian
4/12/2022 CCKA   Center       DREVET HUNT   revise and further edits to draft letter brief re: informal discovery dispute        0.8   $640.00       $512.00            $0.00    0
                 Murieta                    call with J. Flanders re: realignment of stream/ditch and documents re:
                 Equestrian                 same
4/15/2022 CCKA   Center       DREVET HUNT                                                                                        0.4   $640.00       $256.00            $0.00    0
                 Murieta                    document review and investigation related to realignment of
                 Equestrian                 stream/ditch
4/15/2022 CCKA   Center       DREVET HUNT                                                                                        1.6   $640.00      $1,024.00           $0.00    0
                 Murieta
                 Equestrian
4/18/2022 CCKA   Center       DREVET HUNT   review J. Flanders memo on wet weather inspection and expert disclosu                0.3   $640.00       $192.00            $0.00    0
                 Murieta
                 Equestrian
4/18/2022 CCKA   Center       DREVET HUNT   research need to supplement expert report; provide conclusions to team               0.8   $640.00       $512.00            $0.00    0
                 Murieta                    call with J. Flanders to prep for discovery meeting with Court
                 Equestrian
4/18/2022 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00       $128.00            $0.00    0
                 Murieta                    debrief with J. Flanders to following discovery meeting with Court
                 Equestrian
4/18/2022 CCKA   Center       DREVET HUNT                                                                                        0.6   $640.00       $384.00            $0.00    0
                 Murieta                    meet and confer with opposing counsel re: wet weather inspection
                 Equestrian
4/18/2022 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00       $320.00            $0.00    0
                 Murieta                    follow up with J. Flanders after meet and confer with opposing counsel
                 Equestrian                 re: wet weather inspection
4/18/2022 CCKA   Center       DREVET HUNT                                                                                        0.4   $640.00       $192.00           $64.00   0.1
                                            call with J. Flanders re: all outstanding items, including extensive
                 Murieta                    evaluation of defendant's request to amend the scheduling order for
                 Equestrian                 new expert report and deposition deadlines; and review of all other
4/19/2022 CCKA   Center     DREVET HUNT     needed discovery for the case                                                        1.8   $640.00      $1,088.00          $64.00   0.1
                 Murieta                    review draft email form J. Flanders to opposing counsel re: request to
                 Equestrian                 adjust case scheduling order; provide comments on same
4/19/2022 CCKA   Center     DREVET HUNT                                                                                          0.3   $640.00       $192.00            $0.00    0
                 Murieta                    call with J. Flanders re: defendant request to adjust case scheduling
                 Equestrian                 order
4/19/2022 CCKA   Center     DREVET HUNT                                                                                          0.2   $640.00       $128.00            $0.00    0




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                                                                                                      EXHIBIT 1
                 Murieta                    email and calls with J. Flanders re: opp counsel proposals re:
                 Equestrian                 supplemental expert disclosures and schedule, brief call and
4/20/2022 CCKA   Center       DREVET HUNT   correspondence with J. Flanders re: same                                            0.3   $640.00       $192.00           $0.00   0
                 Murieta
                 Equestrian
4/21/2022 CCKA   Center       DREVET HUNT   Review Interrogatories drafted by T Brett; provide comments re: same                0.5   $640.00       $320.00           $0.00   0
                 Murieta
                 Equestrian
4/22/2022 CCKA   Center       DREVET HUNT   call with J. Flanders follow up from wet weather inspection                         0.3   $640.00       $192.00           $0.00   0
                 Murieta
                 Equestrian
4/25/2022 CCKA   Center       DREVET HUNT   review draft 30b6 deposition notice; comment re: same                               0.3   $640.00       $192.00           $0.00   0
                 Murieta                    call with J. Flanders re: Interrogatories, site inspections, depositions
                 Equestrian                 needed, litigation strategies
4/26/2022 CCKA   Center       DREVET HUNT                                                                                       1.6   $640.00      $1,024.00          $0.00   0
                 Murieta                    review and respond re: corr regarding scheduling case from opposing
                 Equestrian                 counsel
4/26/2022 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00           $0.00   0
                 Murieta
                 Equestrian
4/26/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: scheduling order and sampling results                     0.2   $640.00       $128.00           $0.00   0
                 Murieta
                 Equestrian
4/26/2022 CCKA   Center       DREVET HUNT   corr with co-counsel re: Carol Anderson Ward subpoena service attemp                0.2   $640.00       $128.00           $0.00   0
                 Murieta                    review and provide edits to interrogatories set two
                 Equestrian
4/27/2022 CCKA   Center       DREVET HUNT                                                                                       0.7   $640.00       $448.00           $0.00   0
                 Murieta                    corr with co-counsel re: revisions to interrogatories set two
                 Equestrian
4/28/2022 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00           $0.00   0
                 Murieta                    review and analyze I. Wren supplemental expert report needs
                 Equestrian
4/28/2022 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00       $512.00           $0.00   0
                 Murieta
                 Equestrian
4/28/2022 CCKA   Center       DREVET HUNT   call with co-counsel re: strategize and questions to ask in interrogatories         0.9   $640.00       $576.00           $0.00   0
                 Murieta                    call with I. Wren re: supplemental expert report
                 Equestrian
4/28/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00           $0.00   0
                 Murieta
                 Equestrian
4/28/2022 CCKA   Center       DREVET HUNT   review and provide comments on I. Wren supplemental expert report                   1.7   $640.00      $1,088.00          $0.00   0
                 Murieta                    call with J. Flanders re: I. Wren supplemental expert report and ROGs
                 Equestrian
4/29/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00           $0.00   0
                 Murieta                    call with J. Flanders and I. Wren re: I. Wren supplemental expert report
                 Equestrian
 5/2/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00           $0.00   0
                 Murieta                    call with J. Flanders re: I. Wren supplemental expert report
                 Equestrian
 5/2/2022 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00           $0.00   0
                 Murieta
                 Equestrian
 5/2/2022 CCKA   Center       DREVET HUNT   review documents produced in discovery responses; code and categoriz                1.4   $640.00       $896.00           $0.00   0
                 Murieta                    call with J. Flanders re: discovery needs, litigation planning, I. Wren for
                 Equestrian                 part on dry weather inspection tests
 5/3/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00           $0.00   0
                 Murieta
                 Equestrian
 5/4/2022 CCKA   Center       DREVET HUNT   review revised 30b6 deposition notice and Rule 34 request; provide com              0.3   $640.00       $192.00           $0.00   0




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                                                                                                     EXHIBIT 1
                 Murieta                    corr with co-counsel re: comments on 30b6 deposition notice and Rule
                 Equestrian                 34 request
 5/5/2022 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00      $128.00            $0.00    0
                 Murieta                    meet and confer with opposing counsel re: numerous discovery
                 Equestrian                 responses
 5/6/2022 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00      $512.00            $0.00    0
                 Murieta                    follow up with J. Flanders and T. Brett to meet and confer with
                 Equestrian                 opposing counsel re: numerous discovery responses
 5/6/2022 CCKA   Center       DREVET HUNT                                                                                       1.4   $640.00      $896.00            $0.00    0
                 Murieta                    prep for meet and confer with opposing counsel re: numerous
                 Equestrian                 discovery responses (dry weather inspection, requests for production
 5/6/2022 CCKA   Center       DREVET HUNT   responses, subpoena for creek inspection)                                           0.3   $640.00      $192.00            $0.00    0
                 Murieta                    review T. Brett research on motion to compel requests for admission
                 Equestrian                 responses
 5/9/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00      $320.00            $0.00    0
                 Murieta                    research service of subpoena by alternate means
                 Equestrian
 5/9/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00      $320.00            $0.00    0
                 Murieta
                 Equestrian
 5/9/2022 CCKA   Center       DREVET HUNT   review scheduling proposals from Def; corr with co-counsel re: same                 0.2   $640.00      $128.00            $0.00    0
                 Murieta
                 Equestrian
 5/9/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: review scheduling proposals from Def; suppleme            0.3   $640.00      $192.00            $0.00    0
                 Murieta                    meet with SB re: information for Bothwell declaration
                 Equestrian
 5/9/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00      $320.00            $0.00    0
                 Murieta                    provide edits to motion for service of subpoena by alternate means
                 Equestrian
5/10/2022 CCKA   Center       DREVET HUNT                                                                                       0.7   $640.00        $0.00          $448.00   0.7
                 Murieta                    dry weather inspection request review and revisions; circulate to team
                 Equestrian
5/10/2022 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00      $256.00            $0.00    0
                 Murieta                    call with J. Flanders re: all scheduling issues and discovery
                 Equestrian
5/10/2022 CCKA   Center       DREVET HUNT                                                                                       1.2   $640.00      $768.00            $0.00    0
                 Murieta                    attend I. Wren supplemental deposition (only able to attend part)
                 Equestrian
5/10/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00      $640.00            $0.00    0
                 Murieta                    call with T. Brett and J. Flanders re: motion for leave to serve Federal
                 Equestrian                 Rule of Civil Procedure 45 by alternative means
5/11/2022 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00      $256.00            $0.00    0
                 Murieta
                 Equestrian
5/13/2022 CCKA   Center       DREVET HUNT   corr with co-counsel reopposing counsel response to motion to serve su              0.1   $640.00       $64.00            $0.00    0
                 Murieta                    call with J. Flanders re: motions re: service of Anderson Trust
                 Equestrian                 subpoena
5/13/2022 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $192.00            $0.00    0
                 Murieta                    call with E. Maharg and SB re: document production and Bothwell
                 Equestrian                 declaration
5/13/2022 CCKA   Center       DREVET HUNT                                                                                       1.5   $640.00      $960.00            $0.00    0
                 Murieta
                 Equestrian
5/17/2022 CCKA   Center       DREVET HUNT   call with J. Flanders re: open discovery items and upcoming depositions             0.9   $640.00      $576.00            $0.00    0
                 Murieta                    call with J. Flanders and CH re: Requests for Production responses
                 Equestrian                 and objections
5/19/2022 CCKA   Center       DREVET HUNT                                                                                       1.4   $640.00      $832.00           $64.00   0.1
                 Murieta                    call with J. Flanders re: requests for production responses
                 Equestrian
5/20/2022 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00      $512.00            $0.00    0




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                                                                                                      EXHIBIT 1
                 Murieta                    review defendant's expert report
                 Equestrian
5/23/2022 CCKA   Center       DREVET HUNT                                                                                      0.6   $640.00       $384.00            $0.00    0
                 Murieta                    collect documents to respond to Def's discovery
                 Equestrian
5/23/2022 CCKA   Center       DREVET HUNT                                                                                      1.5   $640.00       $960.00            $0.00    0
                 Murieta                    collect documents to respond to Def's discovery
                 Equestrian
5/24/2022 CCKA   Center       DREVET HUNT                                                                                      1.5   $640.00       $960.00            $0.00    0
                 Murieta                    corr with team re: requests for production set four
                 Equestrian
5/24/2022 CCKA   Center       DREVET HUNT                                                                                      0.1   $640.00        $64.00            $0.00    0
                 Murieta                    call with J. Flanders re: Def expert report and multiple related
                 Equestrian                 outstanding discovery devices and disputes
5/24/2022 CCKA   Center       DREVET HUNT                                                                                      0.6   $640.00       $320.00           $64.00   0.1
                 Murieta                    full review of Paulsen expert report
                 Equestrian
5/24/2022 CCKA   Center       DREVET HUNT                                                                                      1.2   $640.00       $768.00            $0.00    0
                 Murieta
                 Equestrian
5/24/2022 CCKA   Center       DREVET HUNT   review draft response to interrogatory responses; provide comments to J            0.8   $640.00       $512.00            $0.00    0
                 Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes
                 Equestrian                 River
5/25/2022 CCKA   Center       DREVET HUNT                                                                                      2.5   $640.00      $1,600.00           $0.00    0
                 Murieta
                 Equestrian
5/25/2022 CCKA   Center       DREVET HUNT   numerous email with co-counsel re: outstanding discovery responses an              0.3   $640.00       $192.00            $0.00    0
                 Murieta                    prep for meet and confer with opposing counsel re: document
                 Equestrian                 production
5/25/2022 CCKA   Center       DREVET HUNT                                                                                      0.5   $640.00       $320.00            $0.00    0
                 Murieta                    meet and confer with opposing counsel re: document production
                 Equestrian
5/25/2022 CCKA   Center       DREVET HUNT                                                                                      0.6   $640.00       $384.00            $0.00    0
                 Murieta
                 Equestrian
5/25/2022 CCKA   Center       DREVET HUNT   follow-up with J. Flanders re: meet and confer with opposing counsel re:           0.2   $640.00       $128.00            $0.00    0
                 Murieta
                 Equestrian
5/25/2022 CCKA   Center       DREVET HUNT   review Def response to motion for alternate service of subpoena; corr w            0.3   $640.00       $192.00            $0.00    0
                 Murieta
                 Equestrian
5/26/2022 CCKA   Center       DREVET HUNT   corr with T. Brett re: subpoena to Thunder Mountain; review subpoena               0.3   $640.00       $192.00            $0.00    0
                 Murieta                    call with J. Flanders re: re expert report and deposition prep
                 Equestrian
5/26/2022 CCKA   Center       DREVET HUNT                                                                                      1.4   $640.00       $896.00            $0.00    0
                 Murieta
                 Equestrian
5/27/2022 CCKA   Center       DREVET HUNT   call with J. Flanders and I. Wren re: rebuttal expert report                       1.2   $640.00       $768.00            $0.00    0
                 Murieta
                 Equestrian
5/31/2022 CCKA   Center       DREVET HUNT   corr with E. Maharg and CH re: discovery responses.                                0.1   $640.00        $64.00            $0.00    0
                 Murieta                    call with T. Brett and J. Flanders re: remaining discovery and strategy
                 Equestrian                 moving forward
 6/1/2022 CCKA   Center       DREVET HUNT                                                                                      1.0   $640.00       $640.00            $0.00    0
                 Murieta
                 Equestrian
 6/1/2022 CCKA   Center       DREVET HUNT   review def latest document production; identify key documents                      1.2   $640.00       $768.00            $0.00    0
                 Murieta                    corr with co-counsel re: 30b6 deposition prep; document identification
                 Equestrian
 6/2/2022 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00       $128.00            $0.00    0




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                                                                                                   EXHIBIT 1
                Murieta                    call with J. Flanders re: document production search and process, I.
                Equestrian                 Wren rebuttal report, 30(b)(6) deposition prep
6/2/2022 CCKA   Center       DREVET HUNT                                                                                    0.3   $640.00       $192.00              $0.00            0
                Murieta
                Equestrian
6/2/2022 CCKA   Center       DREVET HUNT   review interrogatory responses and provide edits and comments                    0.3   $640.00       $192.00              $0.00            0
                Murieta                    call with E. Maharg re: document production and documents to
                Equestrian                 produce
6/2/2022 CCKA   Center       DREVET HUNT                                                                                    1.7   $640.00      $1,088.00             $0.00            0
                Murieta
                Equestrian
6/3/2022 CCKA   Center       DREVET HUNT   review Paulsen report and cited documents to assist J. Flanders deposit          1.6   $640.00         $0.00           $1,024.00          1.6
                Murieta                    doc review to prep for 30b6 deposition
                Equestrian
6/3/2022 CCKA   Center       DREVET HUNT                                                                                    2.1   $640.00      $1,344.00             $0.00            0
                Murieta                    call with J. Flanders re: documents for depositions and document
                Equestrian                 production
6/3/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $320.00              $0.00            0
                Murieta                    draft 30b6 outline deposition
                Equestrian
6/3/2022 CCKA   Center       DREVET HUNT                                                                                    1.8   $640.00      $1,152.00             $0.00            0
                Murieta                    meet with C Capps, J Flanders and E Maharg re: document review and
                Equestrian                 research
6/3/2022 CCKA   Center       DREVET HUNT                                                                                    1.0   $640.00       $640.00              $0.00            0
                Murieta                    meet with C Capps, C Hudak and T Brett re: document review and
                Equestrian                 research
6/3/2022 CCKA   Center       DREVET HUNT                                                                                    1.2   $640.00       $768.00              $0.00            0
                Murieta
                Equestrian
6/5/2022 CCKA   Center       DREVET HUNT   review documents to prep for 30b6 deposition; identify key documents a           3.5   $640.00      $2,240.00             $0.00            0
                Murieta                    call with T. Brett and J. Flanders re: deposition prep 30b6
                Equestrian
6/6/2022 CCKA   Center       DREVET HUNT                                                                                    0.8   $640.00       $448.00             $64.00           0.1
                Murieta                    call with T. Brett re: documents for deposition prep 30b6
                Equestrian
6/6/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $320.00              $0.00            0
                Murieta                    continue 30b6 deposition prep; collect documents; prepare questions
                Equestrian
6/7/2022 CCKA   Center       DREVET HUNT                                                                                    2.5   $640.00      $1,600.00             $0.00            0
                Murieta                    continue Paulsen deposition prep; collect documents; prepare
                Equestrian                 questions
6/7/2022 CCKA   Center       DREVET HUNT                                                                                    1.5   $640.00       $960.00              $0.00            0
                Murieta                    call with J. Flanders to walk through 30b6 and Paulsen deposition
                Equestrian                 questions and follow up
6/7/2022 CCKA   Center       DREVET HUNT                                                                                    1.5   $640.00       $960.00              $0.00            0
                Murieta
                Equestrian
6/7/2022 CCKA   Center       DREVET HUNT   review supplemental disclosure by Def day prior to Paulsen deposition; d         0.8   $640.00       $512.00              $0.00            0
                Murieta
                Equestrian
6/8/2022 CCKA   Center       DREVET HUNT   travel to expert and 30b6 deposition                                             2.0   $640.00       $272.50           $1,007.50   1.57421875
                Murieta                    appear and assist at Paulsen Deposition
                Equestrian
6/8/2022 CCKA   Center       DREVET HUNT                                                                                    7.5   $640.00      $4,800.00             $0.00            0
                Murieta
                Equestrian
6/8/2022 CCKA   Center       DREVET HUNT   review 30b6 deposition outline and walk through with J. Flanders                 2.0   $640.00      $1,280.00             $0.00            0
                Murieta                    prep documents and binders for 30b6 deposition to assist J. Flanders
                Equestrian
6/8/2022 CCKA   Center       DREVET HUNT                                                                                    1.8   $218.00       $392.40              $0.00            0




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                                                                                                     EXHIBIT 1
                 Murieta                    call with J. Flanders re: Paulsen deposition prep
                 Equestrian
 6/8/2022 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00           $0.00   0
                 Murieta                    prep with J. Flanders for 30b6 deposition
                 Equestrian
 6/9/2022 CCKA   Center       DREVET HUNT                                                                                       1.5   $640.00       $960.00           $0.00   0
                 Murieta                    attend and assist at 30b6 deposition
                 Equestrian
 6/9/2022 CCKA   Center       DREVET HUNT                                                                                       5.5   $640.00      $3,520.00          $0.00   0
                 Murieta                    meet with J. Flanders re: case strategy and analysis following
                 Equestrian                 deposition of defendant 30(b)(6)
 6/9/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00           $0.00   0
                 Murieta                    call with J. Flanders re: creek and facility dry weather inspections,
                 Equestrian                 following depositions
 6/9/2022 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00           $0.00   0
                 Murieta                    call with J. Flanders re: call from opposing counsel re: expert schedule
                 Equestrian                 and mediation
6/10/2022 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00           $0.00   0
                 Murieta                    call with J. Flanders re: mediation and related issues following
                 Equestrian                 depositions
6/10/2022 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00           $0.00   0
                 Murieta                    call with J. Flanders opposing counsel request for multiple revisions to
                 Equestrian                 scheduling order, outstanding document needs from Defendant
6/15/2022 CCKA   Center       DREVET HUNT                                                                                       1.1   $640.00       $704.00           $0.00   0
                 Murieta
                 Equestrian
6/20/2022 CCKA   Center       DREVET HUNT   scheduling and case strategy emails with co-counsel                                 0.2   $640.00       $128.00           $0.00   0
                 Murieta                     call with J. Flanders re: SUF, Rancho Murieta Community Services
                 Equestrian                 District deposition,
6/21/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00           $0.00   0
                 Murieta                    preliminary review of Paulsen deposition transcript; call with J.
                 Equestrian                 Flanders re: same
6/21/2022 CCKA   Center       DREVET HUNT                                                                                       0.6   $640.00       $384.00           $0.00   0
                 Murieta                    investigate field visit to Murieta Equestrian Center and Cosumnes
                 Equestrian                 River
6/28/2022 CCKA   Center       DREVET HUNT                                                                                       8.5   $640.00      $5,440.00          $0.00   0
                 Murieta                    call with J. Flanders re: Rancho Murieta Community Services District
                 Equestrian                 deposition, Rancho Murieta Community Services District documents,
6/29/2022 CCKA   Center       DREVET HUNT   Wren rebuttal, related considerations                                               0.8   $640.00       $512.00           $0.00   0
                 Murieta                    call with J. Flanders and I. Wren re: rebuttal report
                 Equestrian
6/30/2022 CCKA   Center       DREVET HUNT                                                                                       1.4   $640.00       $896.00           $0.00   0
                 Murieta                    call with J. Flanders re: subpoena for Rancho Murieta Community
                 Equestrian                 Services District and purpose
6/30/2022 CCKA   Center       DREVET HUNT                                                                                       0.7   $640.00       $448.00           $0.00   0
                 Murieta                    call with J. Flanders re: Rancho Murieta Community Services District
                 Equestrian                 depo, Wren rebuttal
 7/5/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00           $0.00   0
                 Murieta
                 Equestrian                 Call with J. Flanders re: mediation
 7/6/2022 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00           $0.00   0
                 Murieta
                 Equestrian
7/12/2022 CCKA   Center       DREVET HUNT   review Rancho Murieta Community Services District documents and ope                 1.8   $640.00      $1,152.00          $0.00   0
                 Murieta                    call with J. Flanders to prep for Rancho Murieta Community Services
                 Equestrian                 District deposition
7/14/2022 CCKA   Center       DREVET HUNT                                                                                       1.7   $640.00      $1,088.00          $0.00   0
                 Murieta                    call with J. Flanders re: wren deposition prep
                 Equestrian
7/14/2022 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00           $0.00   0




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                                                                                                      EXHIBIT 1
                 Murieta                    Rancho Murieta Community Services District deposition (assist J.
                 Equestrian                 Flanders)
7/15/2022 CCKA   Center       DREVET HUNT                                                                                       2.3   $640.00      $1,472.00            $0.00    0
                 Murieta                    corr with J. Flanders re: amended Wren deposition notice
                 Equestrian
7/15/2022 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                 Murieta                    call with J. Flanders re: Wren deposition and mediation scheduling
                 Equestrian
7/18/2022 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00             $0.00    0
                 Murieta                    call with team re: plan for and delegation of responsibilities for coding
                 Equestrian                 facts for SUF re: Motion for Summary Judgment
7/18/2022 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00       $512.00             $0.00    0
                 Murieta                    meet with C Capps and J Flanders re: document review for mediation
                 Equestrian
7/18/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00             $0.00    0
                 Murieta                    call with J. Flanders re: case schedule and mediation
                 Equestrian
7/19/2022 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                 Murieta                    call with co-counsel re: document organization and identifying
                 Equestrian                 documents for Motion for Summary Judgment preparations
7/20/2022 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00       $320.00           $192.00   0.3
                 Murieta                    call with J. Flanders re: settlement strategy
                 Equestrian
7/20/2022 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                 Murieta                    meet with C Capps and J Flanders re: document review for mediation
                 Equestrian
7/20/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00             $0.00    0
                 Murieta                    meeting with J. Flanders and SB re: settlement
                 Equestrian
7/21/2022 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00             $0.00    0
                 Murieta
                 Equestrian                 Call with J. Flanders re: settlement
7/21/2022 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                 Murieta                    call with J. Flanders re: marshalling and organizing evidence for Motion
                 Equestrian                 for Summary Judgment opening brief and settlement statement;
 8/2/2022 CCKA   Center       DREVET HUNT   settlement evaluation                                                               0.5   $640.00       $320.00             $0.00    0
                 Murieta                    call with J. Flanders and co-counsel re: discovery document
                 Equestrian                 organization and management for Motion for Summary Judgment;
8/10/2022 CCKA   Center       DREVET HUNT   identifying documents to support claims                                             1.3   $640.00       $832.00             $0.00    0
                 Murieta                    meet with C Capps re: SUF progress
                 Equestrian
8/18/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00             $0.00    0
                 Murieta                    meet with C Capps re: SUF progress
                 Equestrian
8/25/2022 CCKA   Center       DREVET HUNT                                                                                       0.9   $640.00       $576.00             $0.00    0
                 Murieta                    Meet with J. Flanders and C. Capps re: organizing discovery evidence
                 Equestrian                 for Motion for Summary Judgment
8/25/2022 CCKA   Center       DREVET HUNT                                                                                       1.3   $640.00       $832.00             $0.00    0
                 Murieta                    call with J. Flanders and co-counsel re: documents to support SUF
                 Equestrian
8/26/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00             $0.00    0
                 Murieta                    meet with C Capps re: document review and findings
                 Equestrian
8/26/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00             $0.00    0
                 Murieta                    meet with team re: document review and findings and additional coding
                 Equestrian
8/31/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00             $0.00    0
                 Murieta                    meet with C Capps re: documents to be located and duplicates to be
                 Equestrian                 deleted from database
 9/1/2022 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00         $0.00           $640.00    1




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                                                                                                      EXHIBIT 1
                  Murieta                    conference with J. Flanders re: mediation statement and Motion for
                  Equestrian                 Summary Judgment
 9/13/2022 CCKA   Center       DREVET HUNT                                                                                      1.0   $640.00       $640.00            $0.00    0
                  Murieta
                  Equestrian
 9/19/2022 CCKA   Center       DREVET HUNT   review draft mediation brief; provide comments                                     0.8   $640.00       $512.00            $0.00    0
                  Murieta
                  Equestrian
 9/20/2022 CCKA   Center       DREVET HUNT   meet with J. Flanders re: mediation                                                1.2   $640.00       $768.00            $0.00    0
                  Murieta                    prepare draft Consent Decree in advance of mediation
                  Equestrian
 9/20/2022 CCKA   Center       DREVET HUNT                                                                                      1.7   $640.00      $1,088.00           $0.00    0
                  Murieta                    call re: draft mediation brief with J. Flanders
                  Equestrian
 9/22/2022 CCKA   Center       DREVET HUNT                                                                                      0.6   $640.00       $384.00            $0.00    0
                  Murieta                    review and revise mediation brief; provide edits to co-counsel
                  Equestrian
 9/22/2022 CCKA   Center       DREVET HUNT                                                                                      1.9   $640.00      $1,216.00           $0.00    0
                  Murieta                    attend mediation
                  Equestrian
 9/30/2022 CCKA   Center       DREVET HUNT                                                                                      4.0   $640.00      $2,560.00           $0.00    0
                  Murieta                    follow up mediation call for mediation
                  Equestrian
 9/30/2022 CCKA   Center       DREVET HUNT                                                                                      0.1   $640.00        $64.00            $0.00    0
                  Murieta                    call with J. Flanders re: settlement comms from Def counsel
                  Equestrian
10/17/2022 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00       $128.00            $0.00    0
                  Murieta                    call with J. Flanders re: sett conf with magistrate
                  Equestrian
10/18/2022 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $192.00            $0.00    0
                  Murieta                    review motion to stay due to Sackett v U.S. Environmental Protection
                  Equestrian                 Agency
10/18/2022 CCKA   Center       DREVET HUNT                                                                                      0.5   $640.00       $320.00            $0.00    0
                  Murieta                    Call with J. Flanders re: opposition to stay waters of the United States
                  Equestrian                 briefing
10/19/2022 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $192.00            $0.00    0
                  Murieta                    corr with J. Flanders re: opposing counsel motion to stay waters of the
                  Equestrian                 United States claims
10/20/2022 CCKA   Center       DREVET HUNT                                                                                      0.1   $640.00        $64.00            $0.00    0
                  Murieta                    review motion to stay due to Sackett v U.S. Environmental Protection
                  Equestrian                 Agency
10/20/2022 CCKA   Center       DREVET HUNT                                                                                      0.5   $640.00       $320.00            $0.00    0
                  Murieta                    call with J. Flanders re: motion to stay due to Sackett v U.S.
                  Equestrian                 Environmental Protection Agency
10/24/2022 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $192.00            $0.00    0
                  Murieta                    revisions to opp to stay waters of the United States
                  Equestrian
10/25/2022 CCKA   Center       DREVET HUNT                                                                                      0.6   $640.00       $384.00            $0.00    0
                  Murieta                    call with J. Flanders re: Motion for Summary Judgment prep
                  Equestrian
10/26/2022 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $128.00           $64.00   0.1
                  Murieta                    call with J. Flanders re: settlement process; follow up corr re: same
                  Equestrian
 11/1/2022 CCKA   Center       DREVET HUNT                                                                                      0.5   $640.00       $320.00            $0.00    0
                  Murieta
                  Equestrian
 11/2/2022 CCKA   Center       DREVET HUNT   zoom with Mag Newman and counsel re: settlement                                    0.9   $640.00       $576.00            $0.00    0
                  Murieta
                  Equestrian                 Call with J. Flanders in preparation for mediation Zoom with Magistrate
 11/2/2022 CCKA   Center       DREVET HUNT   Newman                                                                             0.4   $640.00       $256.00            $0.00    0




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                                                                                                        EXHIBIT 1
                  Murieta
                  Equestrian
 11/3/2022 CCKA   Center       DREVET HUNT   zoom with J. Flanders to review evidence and discuss and coordinate M            1.3   $640.00       $832.00             $0.00    0
                  Murieta                    meet with E. Maharg re: Bothwell declaration
                  Equestrian
 11/4/2022 CCKA   Center       DREVET HUNT                                                                                    0.2   $640.00       $128.00             $0.00    0
                  Murieta                    call with T. Brett re: SUF and document review
                  Equestrian
 11/7/2022 CCKA   Center       DREVET HUNT                                                                                    0.7   $640.00       $448.00             $0.00    0
                  Murieta
                  Equestrian
 11/9/2022 CCKA   Center       DREVET HUNT   review and respond to J. Flanders email following discussion with oppos          0.1   $640.00        $64.00             $0.00    0
                  Murieta                    call with team re: opp to motion to stay
                  Equestrian
11/10/2022 CCKA   Center       DREVET HUNT                                                                                    0.1   $640.00        $64.00             $0.00    0
                  Murieta
                  Equestrian
11/14/2022 CCKA   Center       DREVET HUNT   review arguments and law in Def motion to stay                                   0.7   $640.00       $448.00             $0.00    0
                  Murieta                    call with T. Brett re: opp to Motion to Stay
                  Equestrian
11/16/2022 CCKA   Center       DREVET HUNT                                                                                    0.1   $640.00        $64.00             $0.00    0
                  Murieta
                  Equestrian
11/17/2022 CCKA   Center       DREVET HUNT   review respond to email from co-counsel re: Motion for Summary Judgm             0.1   $640.00        $64.00             $0.00    0
                  Murieta
                  Equestrian
11/18/2022 CCKA   Center       DREVET HUNT   review respond to email from co-counsel re: Motion for Summary Judgm             0.1   $640.00         $0.00            $64.00   0.1
                  Murieta                    review draft opp to motion to stay; provide revisions
                  Equestrian
11/18/2022 CCKA   Center       DREVET HUNT                                                                                    0.8   $640.00       $512.00             $0.00    0
                  Murieta                    call with T. Brett and I. Wren re: evidence for Motion for Summary
                  Equestrian                 Judgment
11/21/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $320.00             $0.00    0
                  Murieta                    call with J. Flanders re: waters of the United States argument strategy
                  Equestrian
11/21/2022 CCKA   Center       DREVET HUNT                                                                                    0.3   $640.00       $192.00             $0.00    0
                  Murieta                    revisions to opp to motion to stay; send to T Brett
                  Equestrian
11/21/2022 CCKA   Center       DREVET HUNT                                                                                    0.8   $640.00       $512.00             $0.00    0
                  Murieta                    corr with co-counsel re: revisions to opp to motion to stay
                  Equestrian
11/21/2022 CCKA   Center       DREVET HUNT                                                                                    0.3   $640.00       $192.00             $0.00    0
                  Murieta                    further revisions to opp to motion to stay; send to team
                  Equestrian
11/22/2022 CCKA   Center       DREVET HUNT                                                                                    0.6   $640.00         $0.00           $384.00   0.6
                  Murieta                    meet with J. Flanders re: Motion for Summary Judgment exhibits and
                  Equestrian                 factual support for SUF
11/30/2022 CCKA   Center       DREVET HUNT                                                                                    1.0   $640.00       $640.00             $0.00    0
                  Murieta                    meet with T. Brett re: Motion for Summary Judgment exhibits and
                  Equestrian                 factual support for SUF
 12/1/2022 CCKA   Center       DREVET HUNT                                                                                    1.0   $640.00       $640.00             $0.00    0
                  Murieta                    meet with J. Flanders re: SUF and factual support
                  Equestrian
 12/1/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $320.00             $0.00    0
                  Murieta                    Call with J. Flanders re: SUF
                  Equestrian
 12/5/2022 CCKA   Center       DREVET HUNT                                                                                    0.5   $640.00       $320.00             $0.00    0
                  Murieta                    revisions to Motion for Summary Judgment; provide to J. Flanders for
                  Equestrian                 consideration and incorporation
 12/6/2022 CCKA   Center       DREVET HUNT                                                                                    1.9   $640.00      $1,216.00            $0.00    0




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                                                                                                     EXHIBIT 1
                  Murieta                    meet with J. Flanders and T. Brett re: Wren declaration Motion for
                  Equestrian                 Summary Judgment exhibits
 12/8/2022 CCKA   Center       DREVET HUNT                                                                                        1.0   $640.00       $576.00            $64.00   0.1
                  Murieta                    corr with E. Maharg re: Bothwell Dec
                  Equestrian
 12/8/2022 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00             $0.00    0
                  Murieta                    review draft Motion for Summary Judgment and propose edits; send to
                  Equestrian                 J. Flanders
12/12/2022 CCKA   Center       DREVET HUNT                                                                                        1.7   $640.00      $1,088.00            $0.00    0
                  Murieta                    call with J. Flanders re: revisions to Motion for Summary Judgment
                  Equestrian
12/12/2022 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00       $320.00             $0.00    0
                  Murieta
                  Equestrian
12/12/2022 CCKA   Center       DREVET HUNT   coordinate and select exhibits for Motion for Summary Judgment suppor                0.8   $640.00       $512.00             $0.00    0
                  Murieta                    further calls with J. Flanders re: key exhibits for SUF/MSJ
                  Equestrian
12/13/2022 CCKA   Center       DREVET HUNT                                                                                        0.7   $640.00         $0.00           $448.00   0.7
                  Murieta                    call with T. Brett re: selecting exhibits for SUF/MSJ
                  Equestrian
12/13/2022 CCKA   Center       DREVET HUNT                                                                                        1.2   $640.00       $768.00             $0.00    0
                  Murieta                    call with T. Brett re: numbering exhibits for SUF/MSJ
                  Equestrian
12/13/2022 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00         $0.00            $64.00   0.1
                  Murieta
                  Equestrian
12/13/2022 CCKA   Center       DREVET HUNT   corr (several emails) with T. Brett re: numbering exhibits for SUF/MSJ               0.2   $640.00       $128.00             $0.00    0
                  Murieta                    further calls with T. Brett re: numbering exhibits for SUF/MSJ
                  Equestrian
12/13/2022 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00       $192.00             $0.00    0
                  Murieta                    review fristschi deposition for info for Motion for Summary Judgment
                  Equestrian
12/13/2022 CCKA   Center       DREVET HUNT                                                                                        1.0   $640.00       $640.00             $0.00    0
                  Murieta                    email with E. Bustos re: drone footage lodging with Motion for
                  Equestrian                 Summary Judgment
12/13/2022 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00       $192.00             $0.00    0
                  Murieta                    emails with T. Brett re: days and dates of violation and evidence
                  Equestrian                 development
12/14/2022 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00       $128.00             $0.00    0
                  Murieta                    call with J. Flanders re: days and dates of violation and evidence
                  Equestrian
12/14/2022 CCKA   Center       DREVET HUNT                                                                                        0.8   $640.00       $512.00             $0.00    0
                  Murieta                    calls and email with E. Bustos re: Pearson deposition transcript
                  Equestrian                 excerpts for Motion for Summary Judgment
12/14/2022 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00       $192.00             $0.00    0
                  Murieta
                  Equestrian                 Call with TB re: discharge to waters of the United States spreadsheet.
12/14/2022 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00             $0.00    0
                  Murieta                    revisions to Motion for Summary Judgment; provide to J. Flanders for
                  Equestrian                 consideration and incorporation
12/15/2022 CCKA   Center       DREVET HUNT                                                                                        2.3   $640.00      $1,472.00            $0.00    0
                  Murieta                    call with J. Flanders re: facts evidence and needs for Motion for
                  Equestrian                 Summary Judgment
12/15/2022 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00       $128.00            $64.00   0.1
                  Murieta                    final review of Motion for Summary Judgment; last edits
                  Equestrian
12/16/2022 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00         $0.00           $320.00   0.5
                  Murieta
                  Equestrian
12/16/2022 CCKA   Center       DREVET HUNT   review and cite check SUF to evidence                                                1.5   $218.00       $327.00             $0.00    0




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                                                                                                     EXHIBIT 1
                  Murieta
                  Equestrian
12/16/2022 CCKA   Center       DREVET HUNT   corr with team re: proposed edits to I. Wren declaration                          0.4   $640.00       $256.00             $0.00    0
                  Murieta                    review Def's Motion for Summary Judgment re: standing and case law
                  Equestrian                 cited
12/20/2022 CCKA   Center       DREVET HUNT                                                                                     1.3   $640.00       $832.00             $0.00    0
                  Murieta                    corr with E. Bustos re: lodging drone footage
                  Equestrian
  1/6/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00             $0.00    0
                  Murieta
                  Equestrian
 1/10/2023 CCKA   Center       DREVET HUNT   further review and comment on Def's Motion for Summary Judgment; ci               1.2   $640.00       $768.00             $0.00    0
                  Murieta
                  Equestrian
 1/10/2023 CCKA   Center       DREVET HUNT   review Def SUF; provide comments to team                                          1.0   $640.00       $640.00             $0.00    0
                  Murieta
                  Equestrian
 1/12/2023 CCKA   Center       DREVET HUNT   draft Bothwell Dec (2nd)                                                          1.2   $640.00       $768.00             $0.00    0
                  Murieta                    review draft opp to defendant's Motion for Summary Judgment; provide
                  Equestrian                 edits to team
 1/15/2023 CCKA   Center       DREVET HUNT                                                                                     2.8   $640.00      $1,792.00            $0.00    0
                  Murieta                    corr with T. Brett re: draft second Bothwell dec
                  Equestrian
 1/18/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00             $0.00    0
                  Murieta                    review defendants opp to Motion for Summary Judgment; outline
                  Equestrian                 responses
 1/19/2023 CCKA   Center       DREVET HUNT                                                                                     1.3   $640.00       $832.00             $0.00    0
                  Murieta                    call with J. Flanders re: Motion for Summary Judgment reply
                  Equestrian
 1/20/2023 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00             $0.00    0
                  Murieta                    review Paulsen dec opp to Motion for Summary Judgment
                  Equestrian
 1/20/2023 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00             $0.00    0
                  Murieta                    call with J. Flanders re: tasks for reply to Motion for Summary
                  Equestrian                 Judgment
 1/31/2023 CCKA   Center       DREVET HUNT                                                                                     1.0   $640.00       $448.00           $192.00   0.3
                  Murieta                    develop objections to evidence for reply on Motion for Summary
                  Equestrian                 Judgment
 1/31/2023 CCKA   Center       DREVET HUNT                                                                                     1.3   $640.00       $832.00             $0.00    0
                  Murieta                    evaluate defendant argument on Concentrated Animal Feeding
                  Equestrian                 Operation regulations and applicability to Murieta Equestrian Center
  2/1/2023 CCKA   Center       DREVET HUNT   operations; ag stormwater arguments                                               1.9   $640.00      $1,216.00            $0.00    0
                  Murieta                    emails with J. Flanders re: summary of claims
                  Equestrian
  2/2/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00             $0.00    0
                  Murieta                    call and corr with team re: coordinating tasks and tasks need to reply
                  Equestrian                 on Motion for Summary Judgment
  2/6/2023 CCKA   Center       DREVET HUNT                                                                                     0.7   $640.00       $448.00             $0.00    0
                  Murieta
                  Equestrian
  2/6/2023 CCKA   Center       DREVET HUNT   provide revisions to sections f draft Motion for Summary Judgment prov            1.5   $640.00       $960.00             $0.00    0
                  Murieta                    draft reply to Motion for Summary Judgment (ag stormwater)
                  Equestrian
  2/7/2023 CCKA   Center       DREVET HUNT                                                                                     1.3   $640.00       $832.00             $0.00    0
                  Murieta                    corr with co-counsel re: status of tasks for reply
                  Equestrian
  2/7/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00             $0.00    0
                  Murieta                    research responses to evidentiary objections
                  Equestrian
  2/8/2023 CCKA   Center       DREVET HUNT                                                                                     1.5   $640.00       $960.00             $0.00    0




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                                                                                                        EXHIBIT 1
                  Murieta                    call with J. Flanders and intern re: objections to evidence
                  Equestrian
  2/9/2023 CCKA   Center       DREVET HUNT                                                                                         0.3   $640.00         $0.00           $192.00   0.3
                  Murieta                    call with J. Flanders re: Motion for Summary Judgment reply research
                  Equestrian                 and issues
  2/9/2023 CCKA   Center       DREVET HUNT                                                                                         0.7   $640.00       $384.00            $64.00   0.1
                  Murieta                    corr with T. Brett re: evid objections
                  Equestrian
 2/10/2023 CCKA   Center       DREVET HUNT                                                                                         0.1   $640.00        $64.00             $0.00    0
                  Murieta                    draft reply SUF
                  Equestrian
 2/10/2023 CCKA   Center       DREVET HUNT                                                                                         0.6   $640.00       $384.00             $0.00    0
                  Murieta
                  Equestrian
 2/10/2023 CCKA   Center       DREVET HUNT   comprehensive review of reply Motion for Summary Judgment; provide                    2.2   $640.00      $1,408.00            $0.00    0
                  Murieta                    further review of reply Motion for Summary Judgment; provide edits to
                  Equestrian                 J. Flanders for incorporation and consideration
 2/13/2023 CCKA   Center       DREVET HUNT                                                                                         1.6   $640.00      $1,024.00            $0.00    0
                  Murieta                    call with J. Flanders re: informational standing arguments
                  Equestrian
 2/14/2023 CCKA   Center       DREVET HUNT                                                                                         0.6   $640.00       $384.00             $0.00    0
                  Murieta                    review T. Brett email and documents with information on property
                  Equestrian                 ownership and [redacted]; provide feedback
12/10/2021 CCKA   Center       DREVET HUNT                                                                                         0.6   $640.00       $384.00             $0.00    0
                  Murieta                    review reply SUF; consider evidentiary citations; provide revisions and
                  Equestrian                 edits
 2/15/2023 CCKA   Center       DREVET HUNT                                                                                         1.4   $640.00       $896.00             $0.00    0
                  Murieta                    call with T. Brett re: reply SUF
                  Equestrian
 2/15/2023 CCKA   Center       DREVET HUNT                                                                                         0.8   $640.00       $448.00            $64.00   0.1
                  Murieta                    call with J. Flanders re: revisions to Motion for Summary Judgment
                  Equestrian                 reply
 2/15/2023 CCKA   Center       DREVET HUNT                                                                                         0.7   $640.00       $448.00             $0.00    0
                  Murieta                    call with T. Brett re: authenticating exhibits for reply Motion for
                  Equestrian                 Summary Judgment
 2/16/2023 CCKA   Center       DREVET HUNT                                                                                         0.2   $640.00        $64.00            $64.00   0.1
                  Murieta                    corr with T. Brett re: reply SUF outstanding issues
                  Equestrian
 2/16/2023 CCKA   Center       DREVET HUNT                                                                                         0.3   $640.00       $192.00             $0.00    0
                  Murieta                    review and edit to reply Motion for Summary Judgment brief; send to
                  Equestrian                 team
 2/16/2023 CCKA   Center       DREVET HUNT                                                                                         1.1   $640.00       $704.00             $0.00    0
                  Murieta                    call with T. Brett re: reply brief
                  Equestrian
 2/17/2023 CCKA   Center       DREVET HUNT                                                                                         0.2   $640.00         $0.00           $128.00   0.2
                  Murieta                    call with T. Brett re: reply SUF
                  Equestrian
 2/17/2023 CCKA   Center       DREVET HUNT                                                                                         0.1   $640.00        $64.00             $0.00    0
                  Murieta
                  Equestrian
 2/17/2023 CCKA   Center       DREVET HUNT   review and revise T. Brett declaration in support of reply Motion for Sum             0.6   $640.00       $384.00             $0.00    0
                  Murieta                    review defendant's reply on standing Motion for Summary Judgment
                  Equestrian
 2/20/2023 CCKA   Center       DREVET HUNT                                                                                         0.5   $640.00       $320.00             $0.00    0
                  Murieta
                  Equestrian
 2/27/2023 CCKA   Center       DREVET HUNT   review and respond to corr from T. Brett re: Sur reply to Def Motion for S            0.2   $640.00       $128.00             $0.00    0
                  Murieta
                  Equestrian
 5/25/2023 CCKA   Center       DREVET HUNT   review notice of supplemental authority and review Sackett v U.S. Enviro              1.3   $640.00       $832.00             $0.00    0




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                                                                                                     EXHIBIT 1
                 Murieta                    call with J. Flanders re: response to notice of supplemental authority
                 Equestrian                 and review Sackett v U.S. Environmental Protection Agency decision
5/25/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00             $0.00    0
                 Murieta                    review draft response to notice of supplementary authority prepared by
                 Equestrian                 J. Flanders
5/25/2023 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00             $0.00    0
                 Murieta
                 Equestrian
5/31/2023 CCKA   Center       DREVET HUNT   call with J. Flanders re: supplemental Sackett v U.S. Environmental Prot          0.3   $640.00       $192.00             $0.00    0
                 Murieta
                 Equestrian
 6/1/2023 CCKA   Center       DREVET HUNT   review and respond to J. Flanders outline of supplemental Sackett v U.S           0.4   $640.00       $256.00             $0.00    0
                 Murieta
                 Equestrian
 6/7/2023 CCKA   Center       DREVET HUNT   research Sackett v U.S. Environmental Protection Agency and cases ci              2.3   $640.00      $1,472.00            $0.00    0
                 Murieta                    review J. Flanders draft Sackett v U.S. Environmental Protection
                 Equestrian                 Agency brief; provide edits and comments
6/16/2023 CCKA   Center       DREVET HUNT                                                                                     2.1   $640.00      $1,344.00            $0.00    0
                 Murieta                    call with J. Flanders re: draft Sackett v U.S. Environmental Protection
                 Equestrian                 Agency brief
6/16/2023 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00             $0.00    0
                 Murieta                    further review of Sackett v U.S. Environmental Protection Agency
                 Equestrian                 brief; send to J. Flanders
6/19/2023 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00         $0.00           $512.00   0.8
                 Murieta                    email corr with T. Brett re: Sackett v U.S. Environmental Protection
                 Equestrian                 Agency brief revisions
6/22/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00             $0.00    0
                 Murieta                    call with T. Brett re: Sackett v U.S. Environmental Protection Agency
                 Equestrian                 brief revisions
6/23/2023 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00             $0.00    0
                 Murieta
                 Equestrian
6/23/2023 CCKA   Center       DREVET HUNT   final revisions to Sackett v U.S. Environmental Protection Agency brief;          1.2   $218.00       $261.60             $0.00    0
                 Murieta                    review Defendant's supplemental Sackett briefing
                 Equestrian
6/26/2023 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00             $0.00    0
                 Murieta                    call with J. Flanders re: review Def supp Sackett briefing
                 Equestrian
6/27/2023 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00             $0.00    0
                 Murieta                    review Def request for oral argument; corr with J. Flanders
                 Equestrian
 7/6/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00             $0.00    0
                 Murieta                    email with J. Flanders re: response to Def request for oral argument
                 Equestrian
7/10/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00             $0.00    0
                 Murieta                    call with J. Flanders re: call with Magistrate Newman
                 Equestrian
7/11/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00             $0.00    0
                 Murieta                    review Court order granting Motion for Summary Judgment
                 Equestrian
8/16/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00         $0.00           $192.00   0.3
                 Murieta                    call with J. Flanders re: Court order granting Motion for Summary
                 Equestrian                 Judgment
8/16/2023 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00             $0.00    0
                 Murieta                    call with J. Flanders re: phase II scheduling and strategy
                 Equestrian
8/16/2023 CCKA   Center       DREVET HUNT                                                                                     1.0   $640.00       $640.00             $0.00    0
                 Murieta                    emails with J. Flanders re: settlement prospects
                 Equestrian
8/18/2023 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00             $0.00    0




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                                                                                                         EXHIBIT 1
                 Murieta                    review J. Flanders proposed email to opposing counsel re: phase II
                 Equestrian                 schedule; respond
8/18/2023 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00      $128.00           $0.00    0
                 Murieta                    Call with J. Flanders re: phase II scheduling and strategy
                 Equestrian
8/18/2023 CCKA   Center       DREVET HUNT                                                                                      1.0   $640.00      $640.00           $0.00    0
                 Murieta                    corr with J. Flanders re: S Fried discussion re: settlement
                 Equestrian
8/21/2023 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00      $128.00           $0.00    0
                 Murieta
                 Equestrian
8/24/2023 CCKA   Center       DREVET HUNT   call with J. Flanders re: settlement                                               0.1   $640.00       $64.00           $0.00    0
                 Murieta                    call with J. Flanders re: phase II schedule and tasks
                 Equestrian
8/25/2023 CCKA   Center       DREVET HUNT                                                                                      0.7   $640.00      $448.00           $0.00    0
                 Murieta                    further call with J. Flanders re: phase II schedule and tasks
                 Equestrian
8/25/2023 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00      $128.00           $0.00    0
                 Murieta                    call with J. Flanders re: status statement; review draft
                 Equestrian
8/28/2023 CCKA   Center       DREVET HUNT                                                                                      0.8   $640.00      $512.00           $0.00    0
                 Murieta
                 Equestrian
8/28/2023 CCKA   Center       DREVET HUNT   corr with all counsel re: phase II scheduling                                      0.2   $640.00      $128.00           $0.00    0
                 Murieta                    review joint statement re: phase II; call with J. Flanders
                 Equestrian
8/29/2023 CCKA   Center       DREVET HUNT                                                                                      0.6   $640.00      $384.00           $0.00    0
                 Murieta
                 Equestrian
8/29/2023 CCKA   Center       DREVET HUNT   further call with J. Flanders re: joint statement re: phase II                     0.3   $640.00      $192.00           $0.00    0
                 Murieta                    review Def's statement re: phase II
                 Equestrian
8/30/2023 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00      $128.00           $0.00    0
                 Murieta                    review and revise rule 34 inspection demand; send to co-counsel
                 Equestrian
8/31/2023 CCKA   Center       DREVET HUNT                                                                                      0.4   $640.00      $256.00           $0.00    0
                 Murieta
                 Equestrian
 9/5/2023 CCKA   Center       DREVET HUNT   review Court's phase II schedule; corr with co-counsel re: same                    0.2   $640.00      $128.00           $0.00    0
                 Murieta                    call with T. Brett and J. Flanders re: phase II discovery plan
                 Equestrian
9/12/2023 CCKA   Center       DREVET HUNT                                                                                      1.0   $640.00      $640.00           $0.00    0
                 Murieta                    call with T. Brett and J. Flanders re: phase II discovery plan and next
                 Equestrian                 steps; need to meet and confer re: phase I discovery
9/19/2023 CCKA   Center       DREVET HUNT                                                                                      1.0   $640.00      $640.00           $0.00    0
                 Murieta
                 Equestrian
9/20/2023 CCKA   Center       DREVET HUNT   review and respond to J. Flanders direction re: phase II discovery needs           0.3   $640.00      $192.00           $0.00    0
                 Murieta                    review and revise letter re: meet and confer on phase 1 discovery
                 Equestrian                 responses
9/21/2023 CCKA   Center       DREVET HUNT                                                                                      0.7   $640.00      $448.00           $0.00    0
                 Murieta                    review and revise requests for production set 6
                 Equestrian
9/25/2023 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00      $192.00           $0.00    0
                 Murieta                    call with J. Flanders re: dry weather inspection
                 Equestrian
9/26/2023 CCKA   Center       DREVET HUNT                                                                                      0.7   $640.00      $384.00          $64.00   0.1
                 Murieta                    call with opposing counsel re: dry weather inspection
                 Equestrian
9/26/2023 CCKA   Center       DREVET HUNT                                                                                      0.4   $640.00      $256.00           $0.00    0




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                                                                                                       EXHIBIT 1
                  Murieta                    meet and confer with opposing counsel re: dry weather inspection
                  Equestrian
 9/28/2023 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00      $512.00          $0.00   0
                  Murieta                    email with J. Flanders re: meet and confer with opposing counsel re:
                  Equestrian                 dry weather inspection
 9/28/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00       $64.00          $0.00   0
                  Murieta                    prep with J. Flanders re: meet and confer with opposing counsel re: dry
                  Equestrian                 weather inspection
 9/28/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00       $64.00          $0.00   0
                  Murieta                    review and respond to T. Brett email re: requests for production set 6
                  Equestrian
 10/2/2023 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00      $128.00          $0.00   0
                  Murieta                    revisions t requests for production set 6
                  Equestrian
 10/2/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00      $192.00          $0.00   0
                  Murieta                    corr re: Def time to respond to discovery requests
                  Equestrian
 10/3/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00       $64.00          $0.00   0
                  Murieta                    call with J. Flanders re: meet and confer with opposing counsel re: site
                  Equestrian                 inspection
 10/3/2023 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00      $128.00          $0.00   0
                  Murieta
                  Equestrian
10/10/2023 CCKA   Center       DREVET HUNT   review of maps and SWMP to determine limits of dry weather inspection             0.3   $640.00      $192.00          $0.00   0
                  Murieta                    meet and confer re: dry weather inspection
                  Equestrian
10/11/2023 CCKA   Center       DREVET HUNT                                                                                     1.0   $640.00      $640.00          $0.00   0
                  Murieta                    prep with team re: meet and confer re: dry weather inspection
                  Equestrian
10/11/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00       $64.00          $0.00   0
                  Murieta                    corr with T. Brett re: videographer for dry weather inspection
                  Equestrian
10/11/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00       $64.00          $0.00   0
                  Murieta
                  Equestrian
10/12/2023 CCKA   Center       DREVET HUNT   corr with team re: discovery available to us                                      0.1   $640.00       $64.00          $0.00   0
                  Murieta                    review J. Flanders phase II SUF; corr re: same
                  Equestrian
10/13/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00      $192.00          $0.00   0
                  Murieta                    review and revise interrogatory set 3 and requests for production set 7
                  Equestrian
10/16/2023 CCKA   Center       DREVET HUNT                                                                                     0.6   $640.00      $384.00          $0.00   0
                  Murieta                    review and provide edits to J. Flanders draft response to meet and
                  Equestrian                 confer re: site inspection
10/16/2023 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00      $320.00          $0.00   0
                  Murieta                    call with J. Flanders re: site inspection
                  Equestrian
10/17/2023 CCKA   Center       DREVET HUNT                                                                                     0.6   $640.00      $384.00          $0.00   0
                  Murieta
                  Equestrian
10/17/2023 CCKA   Center       DREVET HUNT   corr with J. Flanders re: scheduling for phase II Motion for Summary Jud          0.1   $640.00       $64.00          $0.00   0
                  Murieta                    corr with J. Flanders re: opposing counsel corr re: site inspection
                  Equestrian
10/18/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00       $64.00          $0.00   0
                  Murieta
                  Equestrian                 brief call with J. Flanders re: meet and confer with OC
10/18/2023 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00       $64.00          $0.00   0
                  Murieta                    review and provide comments on subpoena to event organizers
                  Equestrian
10/19/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00      $192.00          $0.00   0




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                                                                                                        EXHIBIT 1
                  Murieta                    call with J. Flanders re: dispute on site inspection
                  Equestrian
10/20/2023 CCKA   Center       DREVET HUNT                                                                                           0.8   $640.00      $512.00          $0.00   0
                  Murieta
                  Equestrian
10/23/2023 CCKA   Center       DREVET HUNT   corr with team re: informal dispute resolution for site inspection                      0.2   $640.00      $128.00          $0.00   0
                  Murieta
                  Equestrian
10/23/2023 CCKA   Center       DREVET HUNT   review J. Flanders meet and confer letter re: informal dispute resolution               0.4   $640.00      $256.00          $0.00   0
                  Murieta
                  Equestrian
10/23/2023 CCKA   Center       DREVET HUNT   call with J. Flanders re: informal dispute resolution for site inspection               0.2   $640.00      $128.00          $0.00   0
                  Murieta
                  Equestrian
10/25/2023 CCKA   Center       DREVET HUNT   corr with team re: informal dispute resolution for site inspection                      0.1   $640.00       $64.00          $0.00   0
                  Murieta
                  Equestrian
10/25/2023 CCKA   Center       DREVET HUNT   corr with court and parties re: informal dispute resolution for site inspecti           0.2   $640.00      $128.00          $0.00   0
                  Murieta
                  Equestrian
10/26/2023 CCKA   Center       DREVET HUNT   corr with parties re: informal dispute resolution for site inspection                   0.2   $640.00      $128.00          $0.00   0
                  Murieta
                  Equestrian
10/27/2023 CCKA   Center       DREVET HUNT   revisions to draft statement to court informal dispute resolution for site in           0.8   $640.00      $512.00          $0.00   0
                  Murieta                    review Court order re: informal dispute resolution and site inspection
                  Equestrian                 demand (.4); call with J. Flanders re: same (.2)
10/31/2023 CCKA   Center       DREVET HUNT                                                                                           0.6   $640.00      $384.00          $0.00   0
                  Murieta
                  Equestrian
10/31/2023 CCKA   Center       DREVET HUNT   review J. Flanders response to court direction re: site inspection demand               0.4   $640.00      $256.00          $0.00   0
                  Murieta                    call with J. Flanders re: inspection
                  Equestrian
 11/1/2023 CCKA   Center       DREVET HUNT                                                                                           0.4   $640.00      $256.00          $0.00   0
                  Murieta                    Draft corr with J. Flanders re: inspection and def corr re: same
                  Equestrian
 11/2/2023 CCKA   Center       DREVET HUNT                                                                                           0.2   $640.00      $128.00          $0.00   0
                  Murieta
                  Equestrian
 11/3/2023 CCKA   Center       DREVET HUNT   call with J. Flanders during site inspection re: observations and efforts to            0.8   $640.00      $512.00          $0.00   0
                  Murieta
                  Equestrian
 11/6/2023 CCKA   Center       DREVET HUNT   call with J. Flanders re: phase II Motion for Summary Judgment strategy                 1.0   $640.00      $640.00          $0.00   0
                  Murieta                    corr with team re: discovery to send; edits to interrogatory and
                  Equestrian                 requests for production;
 11/8/2023 CCKA   Center       DREVET HUNT                                                                                           0.6   $640.00      $384.00          $0.00   0
                  Murieta                    call with J. Flanders re: discovery phase II
                  Equestrian
 11/8/2023 CCKA   Center       DREVET HUNT                                                                                           0.4   $640.00      $256.00          $0.00   0
                  Murieta                    review phase II 30b6 deposition notice
                  Equestrian
 11/9/2023 CCKA   Center       DREVET HUNT                                                                                           0.6   $640.00      $384.00          $0.00   0
                  Murieta                    call with J. Flanders re: interrogatory set 3; revisions re: same
                  Equestrian
 11/9/2023 CCKA   Center       DREVET HUNT                                                                                           0.8   $640.00      $512.00          $0.00   0
                  Murieta                    call with T. Brett re: amending scheduling order
                  Equestrian
11/14/2023 CCKA   Center       DREVET HUNT                                                                                           0.2   $640.00      $128.00          $0.00   0
                  Murieta                    internal corr re: amending scheduling order
                  Equestrian
11/14/2023 CCKA   Center       DREVET HUNT                                                                                           0.2   $640.00      $128.00          $0.00   0




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                                                                                                     EXHIBIT 1
                  Murieta                    internal corr re: amending scheduling order; review T. Brett email to
                  Equestrian                 opposing counsel
11/15/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                  Murieta                    review requests for production set 8; provide edits
                  Equestrian
11/15/2023 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00           $0.00   0
                  Murieta                    corr with T. Brett re: documents for phase II experts
                  Equestrian
11/17/2023 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00           $0.00   0
                  Murieta                    corr with T. Brett re: econ expert needs
                  Equestrian
11/17/2023 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00           $0.00   0
                  Murieta                    corr with team re: remedies and need for expert testimony
                  Equestrian
11/21/2023 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00           $0.00   0
                  Murieta                    email with T. Brett re: documents to provide to econ expert
                  Equestrian
11/27/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                  Murieta                    call with J. Flanders following meet and confer with o/c re: scheduling
                  Equestrian                 order and PMQ depo
11/27/2023 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00           $0.00   0
                  Murieta                    Research Concentrated Animal Feeding Operation permits and
                  Equestrian                 BMPs/requirements
11/28/2023 CCKA   Center       DREVET HUNT                                                                                     1.8   $640.00      $1,152.00          $0.00   0
                  Murieta                    review 30b6 notice definitions; provide feedback
                  Equestrian
11/28/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                  Murieta                    review finance 30b6 notice; provide feedback
                  Equestrian
11/29/2023 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00           $0.00   0
                  Murieta
                  Equestrian
11/29/2023 CCKA   Center       DREVET HUNT   discuss motion to amend scheduling order with J. Flanders                         0.4   $640.00       $256.00           $0.00   0
                  Murieta                    call with consultant re: cost of compliance memo
                  Equestrian
11/29/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                  Murieta
                  Equestrian
11/30/2023 CCKA   Center       DREVET HUNT   edits to motion to amend scheduling order; provide to J. Flanders                 0.7   $640.00       $448.00           $0.00   0
                  Murieta                    further review of motion to amend scheduling order
                  Equestrian
11/30/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                  Murieta
                  Equestrian
 12/1/2023 CCKA   Center       DREVET HUNT   corr with T. Brett re: finance deposition notice                                  0.1   $640.00        $64.00           $0.00   0
                  Murieta                    call with phase II BMP expert
                  Equestrian
 12/1/2023 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00           $0.00   0
                  Murieta
                  Equestrian
 12/1/2023 CCKA   Center       DREVET HUNT   follow-up call with J. Flanders re: phase II BMP expert                           0.4   $640.00       $256.00           $0.00   0
                  Murieta                    further call with J. Flanders re: phase II BMP expert and costs
                  Equestrian
 12/1/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                  Murieta                    corr with T. Brett re: finance deposition notice
                  Equestrian
 12/4/2023 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                  Murieta
                  Equestrian
 12/5/2023 CCKA   Center       DREVET HUNT   emails with J. Flanders re: cost of compliance strategies                         0.2   $640.00       $128.00           $0.00   0




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                                                                                                      EXHIBIT 1
                  Murieta                    collect documents relevant to Concentrated Animal Feeding Operation
                  Equestrian                 PMQ depo; provide to J. Flanders
 12/6/2023 CCKA   Center       DREVET HUNT                                                                                       2.1   $640.00      $1,344.00             $0.00     0
                  Murieta
                  Equestrian
 12/8/2023 CCKA   Center       DREVET HUNT   review T. Brett research on whether need expert report and duty to supp             0.3   $640.00       $192.00              $0.00     0
                  Murieta
                  Equestrian
12/11/2023 CCKA   Center       DREVET HUNT   CAFO PMQ deposition prep with J. Flanders - review video                            0.8   $640.00       $512.00              $0.00     0
                  Murieta                    depo prep with J. Flanders (CAFO 30b6)
                  Equestrian
12/12/2023 CCKA   Center       DREVET HUNT                                                                                       1.6   $640.00      $1,024.00             $0.00     0
                  Murieta
                  Equestrian
12/12/2023 CCKA   Center       DREVET HUNT   review exhibits and other materials prepped for Concentrated Animal Fe              0.8   $218.00       $174.40              $0.00     0
                  Murieta
                  Equestrian
12/13/2023 CCKA   Center       DREVET HUNT   assist J. Flanders with review exhibits and other materials prep for Conc           0.9   $218.00       $196.20              $0.00     0
                  Murieta
                  Equestrian
12/13/2023 CCKA   Center       DREVET HUNT   meet and confer with opposing counsel re: finance 30b6 depo                         0.8   $640.00       $512.00              $0.00     0
                  Murieta                    CAFO 30b6 depo
                  Equestrian
12/14/2023 CCKA   Center       DREVET HUNT                                                                                       7.3   $640.00      $4,672.00             $0.00     0
                  Murieta                    debrief with J. Flanders re: Concentrated Animal Feeding Operation
                  Equestrian                 30b6 depo
12/14/2023 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00              $0.00     0
                  Murieta                    Call with TB re: strategy for review of supplemental production
                  Equestrian                 provided by opposing counsel
12/14/2023 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00              $0.00     0
                  Murieta
                  Equestrian                 Call with TB and J. Flanders re: deposition prep
12/14/2023 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00              $0.00     0
                  Murieta                    research Concentrated Animal Feeding Operation requirements and
                  Equestrian                 BMP requirements to provide to potential expert
12/18/2023 CCKA   Center       DREVET HUNT                                                                                       1.8   $640.00         $0.00           $1,152.00   1.8
                  Murieta                    revise J. Flanders draft of reply on motion to amend scheduling order
                  Equestrian
12/19/2023 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00              $0.00     0
                  Murieta                    review order on motion to amend scheduling order
                  Equestrian
12/29/2023 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00              $0.00     0
                  Murieta
                  Equestrian
  1/2/2024 CCKA   Center       DREVET HUNT   review documents for finance 30b6 depo                                              0.5   $640.00       $320.00              $0.00     0
                  Murieta                    corr with J. Flanders and T. Brett re: prep for finance 30b6
                  Equestrian
  1/2/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00              $0.00     0
                  Murieta                    call with TS re: possible expert services
                  Equestrian
  1/2/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00              $0.00     0
                  Murieta                    review interrogatories from Defendant; discuss same with J. Flanders -
                  Equestrian                 over limit
  1/2/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00              $0.00     0
                  Murieta                    call with J. Flanders re: Tim Simpson as expert
                  Equestrian
  1/3/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00              $0.00     0
                  Murieta                    call with J. Flanders and T. Brett re: deposition of 30b6 finance
                  Equestrian
  1/4/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00              $0.00     0




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                                                                                                     EXHIBIT 1
                 Murieta                    call with J. Flanders re: adding Carol Anderson Ward and/or alter ego
                 Equestrian
 1/5/2024 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00       $512.00             $0.00    0
                 Murieta                    30b6 deposition finance - support T Brett
                 Equestrian
 1/5/2024 CCKA   Center       DREVET HUNT                                                                                       3.0   $640.00      $1,920.00            $0.00    0
                 Murieta
                 Equestrian                 Follow up call with T. Brett re: deposition
 1/5/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                 Murieta                    call with T. Simpson re: expert report
                 Equestrian
 1/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.7   $640.00       $448.00             $0.00    0
                 Murieta                    corr with J. Flanders re: Carol Anderson Ward issues and need to add
                 Equestrian                 to case
 1/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00             $0.00    0
                 Murieta                    call with TS and team re: expert report; call with J. Flanders follow-up
                 Equestrian
1/12/2024 CCKA   Center       DREVET HUNT                                                                                       1.7   $640.00       $896.00           $192.00   0.3
                 Murieta                    Emails with J. Flanders re: project management
                 Equestrian
1/13/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                 Murieta
                 Equestrian
1/16/2024 CCKA   Center       DREVET HUNT   corr and research with J. Flanders re: excessive interrogatories and stra           0.3   $640.00       $192.00             $0.00    0
                 Murieta                    call with team re: expert report needs and discovery deadlines;
                 Equestrian                 strategy re: remedies
1/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00             $0.00    0
                 Murieta                    call with J. Flanders re: expert reports
                 Equestrian
1/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $128.00            $64.00   0.1
                 Murieta                    call with [redacted] re: potential float on Cosumnes River
                 Equestrian
 1/6/2022 CCKA   Center       DREVET HUNT                                                                                       0.6   $640.00       $384.00             $0.00    0
                 Murieta                    review draft TS expert; revise(1.0); discuss with J. Flanders(.1)
                 Equestrian
1/19/2024 CCKA   Center       DREVET HUNT                                                                                       1.1   $640.00       $704.00             $0.00    0
                 Murieta                    call with J. Flanders and T. Brett re: Shefftz report
                 Equestrian
1/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $192.00            $64.00   0.1
                 Murieta
                 Equestrian
1/19/2024 CCKA   Center       DREVET HUNT   call with T. Simpson with comments on expert disclosures and report                 1.1   $640.00       $704.00             $0.00    0
                 Murieta                    review Swickard expert report
                 Equestrian
1/20/2024 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00       $512.00             $0.00    0
                 Murieta
                 Equestrian
1/22/2024 CCKA   Center       DREVET HUNT   review interrogatory and requests for production responses; provide edit            0.4   $640.00       $256.00             $0.00    0
                 Murieta                    call with team re: written responses to Murieta Equestrian Center
                 Equestrian                 discovery requests
1/22/2024 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $576.00            $64.00   0.1
                 Murieta
                 Equestrian
1/23/2024 CCKA   Center       DREVET HUNT   email with J. Flanders re: conversations with WKA attorneys                         0.1   $640.00        $64.00             $0.00    0
                 Murieta                    call with J. Flanders re: Swickard expert report
                 Equestrian
1/25/2024 CCKA   Center       DREVET HUNT                                                                                       1.3   $640.00       $832.00             $0.00    0
                 Murieta
                 Equestrian
1/26/2024 CCKA   Center       DREVET HUNT   review T. Brett corr re: motion to strike Swickard expert report                    0.1   $640.00        $64.00             $0.00    0




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                                                                                                       EXHIBIT 1
                 Murieta                    Call with T. Brett re: defense of shefftz deposition.
                 Equestrian
1/29/2024 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00            $0.00    0
                 Murieta
                 Equestrian
1/30/2024 CCKA   Center       DREVET HUNT   meeting with [redacted] re: Concentrated Animal Feeding Operation litig              1.4   $640.00       $896.00            $0.00    0
                 Murieta
                 Equestrian                 Call with J. Flanders and T. Brett re: strategy for Shefftz and Simpson
 2/2/2024 CCKA   Center       DREVET HUNT   depos                                                                                0.5   $640.00       $320.00            $0.00    0
                 Murieta
                 Equestrian                 Call with T. Brett re: deposition of Mr. Shefftz.
 2/2/2024 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00       $128.00            $0.00    0
                 Murieta                    call with T. Brett and J. Flanders re: phase 2 written discovery
                 Equestrian
 2/6/2024 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00       $320.00            $0.00    0
                 Murieta
                 Equestrian
 2/7/2024 CCKA   Center       DREVET HUNT   call with TS re: deposition prep                                                     0.3   $640.00       $192.00            $0.00    0
                 Murieta                    call with team re: written discovery and Carol Anderson Ward
                 Equestrian                 subpoena and deposition; other case needs
2/12/2024 CCKA   Center       DREVET HUNT                                                                                        1.3   $640.00       $832.00            $0.00    0
                 Murieta
                 Equestrian                 Call with T. Brett re: Simpson document production.
2/14/2024 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00       $128.00            $0.00    0
                 Murieta
                 Equestrian
2/15/2024 CCKA   Center       DREVET HUNT   corr with Flanders re: Def opposition to deposing CAW                                0.2   $640.00       $128.00            $0.00    0
                 Murieta
                 Equestrian
2/15/2024 CCKA   Center       DREVET HUNT   corr with Flanders re: Simpson report and deposition prep                            0.1   $640.00        $64.00            $0.00    0
                 Murieta                    prep with TS for deposition
                 Equestrian
2/15/2024 CCKA   Center       DREVET HUNT                                                                                        1.5   $640.00       $960.00            $0.00    0
                 Murieta
                 Equestrian                 Call with T. Brett re: T. Simpson unit calculations in Ex. E and runoff
2/15/2024 CCKA   Center       DREVET HUNT   volume calculations.                                                                 0.2   $640.00       $128.00            $0.00    0
                 Murieta
                 Equestrian
2/16/2024 CCKA   Center       DREVET HUNT   Tim Simpson depo                                                                     3.5   $640.00      $2,240.00           $0.00    0
                 Murieta
                 Equestrian                 Call with T. Brett re: revisions to expert rebuttal disclosure
2/16/2024 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00            $0.00    0
                 Murieta                    call with T. Brett and J. Flanders re: meet and confer over Carol
                 Equestrian                 Anderson Ward 30(b)(1) deposition notice.
2/21/2024 CCKA   Center       DREVET HUNT                                                                                        0.8   $640.00       $448.00           $64.00   0.1
                 Murieta                    meet and confer over Carol Anderson Ward 30(b)(1) deposition notice.
                 Equestrian
2/21/2024 CCKA   Center       DREVET HUNT                                                                                        0.6   $640.00       $384.00            $0.00    0
                 Murieta                    email with co-counsel re: outstanding discovery issues
                 Equestrian
2/26/2024 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00            $0.00    0
                 Murieta                    call with J. Flanders re: Phase II Motion for Summary Judgment, expert
                 Equestrian                 depos, piercing corporate veil
2/27/2024 CCKA   Center       DREVET HUNT                                                                                        0.8   $640.00       $512.00            $0.00    0
                 Murieta                    review and respond to email from T. Brett re: defendant's need to
                 Equestrian                 supplement discovery
2/29/2024 CCKA   Center       DREVET HUNT                                                                                        0.8   $640.00       $512.00            $0.00    0
                 Murieta
                 Equestrian
 3/1/2024 CCKA   Center       DREVET HUNT   call with J. Flanders re: notice of Wren deposition and objections                   0.8   $640.00       $512.00            $0.00    0




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                                                                                                      EXHIBIT 1
                 Murieta
                 Equestrian
 3/1/2024 CCKA   Center       DREVET HUNT   review email and respond to T. Brett re: Swickard MIL draft                        0.2   $640.00       $128.00             $0.00    0
                 Murieta                    call with J. Flanders re: facility observations and factual background
                 Equestrian
 3/4/2024 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00       $128.00             $0.00    0
                 Murieta                    review draft objections to Wren deposition notice; edit
                 Equestrian
 3/5/2024 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $192.00             $0.00    0
                 Murieta                    review and respond to T. Brett emails regarding objections to Wren
                 Equestrian                 deposition notice
 3/5/2024 CCKA   Center       DREVET HUNT                                                                                      0.1   $640.00        $64.00             $0.00    0
                 Murieta
                 Equestrian
 3/6/2024 CCKA   Center       DREVET HUNT   review and edits to objections to Wren deposition notice                           0.3   $640.00       $192.00             $0.00    0
                 Murieta
                 Equestrian                 review and respond to corr with co-counsel re: meet and confer comms
 3/6/2024 CCKA   Center       DREVET HUNT   to opposing counsel re: motion for protective order (Wren Depo)                    0.1   $640.00        $64.00             $0.00    0
                 Murieta
                 Equestrian                 review and respond to corr with co-counsel re: scheduling meet and
 3/8/2024 CCKA   Center       DREVET HUNT   confer re: motion for protective order (Wren Depo)                                 0.1   $640.00        $64.00             $0.00    0
                 Murieta
                 Equestrian                 Call with T. Brett re: meet and confer with opposing counsel on Wren
3/11/2024 CCKA   Center       DREVET HUNT   protective order.                                                                  0.1   $640.00        $64.00             $0.00    0
                 Murieta                    call with opposing counsel re: objections to Wren depo; debrief with J.
                 Equestrian                 Flanders
3/11/2024 CCKA   Center       DREVET HUNT                                                                                      0.8   $640.00       $448.00            $64.00   0.1
                 Murieta                    review T. Brett correspond re: Concentrated Animal Feeding Operation
                 Equestrian                 permit and requirements from other Regional Boards; respond; review
3/11/2024 CCKA   Center       DREVET HUNT   examples for potential use in our case                                             0.7   $640.00       $448.00             $0.00    0
                 Murieta
                 Equestrian
3/12/2024 CCKA   Center       DREVET HUNT   emails with J. Flanders and Wren regarding Wren deposition                         0.1   $640.00        $64.00             $0.00    0
                 Murieta                    review J. Flanders email to opposing counsel re: Wren deposition;
                 Equestrian                 provide feedback via call
3/13/2024 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00       $128.00             $0.00    0
                 Murieta                    call with T. Brett re: compiling documents to produce to D in response
                 Equestrian                 to Wren Phase II deposition notice and document request.
3/13/2024 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00       $128.00             $0.00    0
                 Murieta                    review T. Brett email re: document production in response to Wren
                 Equestrian                 deposition notice; review documents to produce; respond to T Brett
3/13/2024 CCKA   Center       DREVET HUNT                                                                                      0.7   $640.00       $448.00             $0.00    0
                 Murieta                    Follow up call with T. Brett re: compiling documents to produce to D in
                 Equestrian                 response to Wren Phase II deposition notice and document request.
3/15/2024 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $192.00             $0.00    0
                 Murieta                    call with T. Brett re: compiling documents to produce to D in response
                 Equestrian                 to Wren Phase II deposition notice and document request.
3/15/2024 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00       $128.00            $64.00   0.1
                 Murieta                    review T. Brett email re: defendant stall charts and horse count facts;
                 Equestrian                 respond
3/15/2024 CCKA   Center       DREVET HUNT                                                                                      0.2   $640.00       $128.00             $0.00    0
                 Murieta                    meet with Wren to prep for deposition
                 Equestrian
3/15/2024 CCKA   Center       DREVET HUNT                                                                                      2.0   $640.00      $1,280.00            $0.00    0
                 Murieta                    review T. Brett email re: scope of Wren depo; respond re: same
                 Equestrian
3/16/2024 CCKA   Center       DREVET HUNT                                                                                      0.1   $640.00        $64.00             $0.00    0
                 Murieta                    multiple calls with J. Flanders regarding Wren Deposition
                 Equestrian
3/18/2024 CCKA   Center       DREVET HUNT                                                                                      0.3   $640.00         $0.00           $192.00   0.3




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                                                                                                      EXHIBIT 1
                 Murieta                    Defend Wren deposition; meet with Wren to prep in advance and
                 Equestrian                 debrief after
3/18/2024 CCKA   Center       DREVET HUNT                                                                                        2.8   $640.00      $1,792.00            $0.00    0
                 Murieta                     Call with L. Marshall, JT Brett, and J. Flanders re: MIL, further
                 Equestrian                 discovery, and motion for leave to amend strategy
3/20/2024 CCKA   Center       DREVET HUNT                                                                                        1.3   $640.00       $832.00             $0.00    0
                 Murieta                    Review T. Brett email re: Simpson transcript; respond
                 Equestrian
3/20/2024 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00             $0.00    0
                 Murieta                    Call with J. Flanders re: supplemental production (.25) and Resource
                 Equestrian                 Conservation and Recovery Act claim (.15)
3/21/2024 CCKA   Center       DREVET HUNT                                                                                        0.4   $640.00       $256.00             $0.00    0
                 Murieta
                 Equestrian                 review email from T. Brett re: notice letter to Carol Anderson Ward;
3/21/2024 CCKA   Center       DREVET HUNT   respond                                                                              0.3   $640.00         $0.00           $192.00   0.3
                 Murieta
                 Equestrian
3/21/2024 CCKA   Center       DREVET HUNT   review and respond to email from T. Brett re: supplemental production in             0.1   $640.00        $64.00             $0.00    0
                 Murieta                    Call with J. Flanders strategies re: Motion for Summary Judgment,
                 Equestrian                 Swickard MIL, motion to amend
3/25/2024 CCKA   Center       DREVET HUNT                                                                                        1.4   $640.00         $0.00           $896.00   1.4
                 Murieta                    review draft Phase II Motion for Summary Judgment; edit and provide
                 Equestrian                 edits to J. Flanders
3/25/2024 CCKA   Center       DREVET HUNT                                                                                        0.7   $640.00       $448.00             $0.00    0
                 Murieta
                 Equestrian
3/25/2024 CCKA   Center       DREVET HUNT   review and respond to email from J. Flanders re: Motion for Summary Ju               0.2   $640.00       $128.00             $0.00    0
                 Murieta                    review draft motion for leave to amend; edit and provide edits to co-
                 Equestrian                 counsel
3/27/2024 CCKA   Center       DREVET HUNT                                                                                        1.0   $640.00       $640.00             $0.00    0
                 Murieta
                 Equestrian
3/27/2024 CCKA   Center       DREVET HUNT   review and respond to emails from J. Flanders and opposing counsel re                0.1   $640.00        $64.00             $0.00    0
                 Murieta                    review and respond to emails from T. Brett re: rough draft of Shefftz
                 Equestrian                 transcript
3/27/2024 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00        $64.00             $0.00    0
                 Murieta                    review and respond to emails from T. Brett and L Marshall re: law and
                 Equestrian                 fact for TAC
3/27/2024 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00         $0.00           $192.00   0.3
                 Murieta
                 Equestrian                 Call with J. Flanders following meet and confer with opposing counsel
3/29/2024 CCKA   Center       DREVET HUNT   re: motion to amend complaint                                                        0.2   $640.00       $128.00             $0.00    0
                 Murieta                    Call with J. Flanders in prep for motion to amend meet and confer
                 Equestrian
3/29/2024 CCKA   Center       DREVET HUNT                                                                                        1.0   $640.00       $640.00             $0.00    0
                 Murieta                    further review draft motion for leave to amend; edit and provide edits to
                 Equestrian                 co-counsel
3/29/2024 CCKA   Center       DREVET HUNT                                                                                        0.7   $640.00       $448.00             $0.00    0
                 Murieta                    Call with co-counsel on Motion for Leave to Amend; discuss
                 Equestrian                 outstanding tasks and research needs for forthcoming Motion Seeking
3/29/2024 CCKA   Center       DREVET HUNT   Leave to File Third Amended Complaint                                                0.5   $640.00       $320.00             $0.00    0
                 Murieta                    meet and confer with opposing counsel on Motion for Leave to Amend
                 Equestrian
3/29/2024 CCKA   Center       DREVET HUNT                                                                                        0.9   $640.00       $576.00             $0.00    0
                 Murieta                    prep for meet and confer with opposing counsel on Motion for Leave to
                 Equestrian                 Amend
3/29/2024 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00       $192.00             $0.00    0
                 Murieta                    Correspond with Attorneys L Marshall, J. Flanders, and T. Brett
                 Equestrian                 regarding bankruptcy concerns.
 4/1/2024 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00       $128.00             $0.00    0




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                                                                                                     EXHIBIT 1
                Murieta                    Review L Marshall research on compulsory versus permissive joinder
                Equestrian                 as relates to motion for leave to amend; corr with co-counsel re: same
4/1/2024 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00             $0.00    0
                Murieta                    Call with J. Flanders and T. Brett re: strategy w/r/t parcel south of the
                Equestrian                 7200 lone pine drive property and liability of trust.
4/1/2024 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00             $0.00    0
                Murieta                     email with T. Brett re: documents relied on / referenced by D rebuttal
                Equestrian                 econ expert that we do not have in our possession.
4/1/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                Murieta                    revisions to motion for leave to amend; circulate to co-counsel
                Equestrian
4/2/2024 CCKA   Center       DREVET HUNT                                                                                       0.6   $640.00       $384.00             $0.00    0
                Murieta                    email with co-counsel re: obtaining records from recorder office (Sac
                Equestrian                 county)
4/2/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                Murieta                    final review and edits to Motion to for Leave to Amend (TAC)
                Equestrian
4/3/2024 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00         $0.00           $320.00   0.5
                Murieta                    emails with J. Flanders re: final draft of motion for leave to amend; final
                Equestrian                 review of document
4/3/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00         $0.00           $256.00   0.4
                Murieta                    MOTION TO AMEND: discuss brief and strategy with J. Flanders
                Equestrian
4/3/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00             $0.00    0
                Murieta                    discuss Motion for Summary Judgment brief and strategy with J.
                Equestrian                 Flanders
4/3/2024 CCKA   Center       DREVET HUNT                                                                                       0.9   $640.00       $576.00             $0.00    0
                Murieta                    call with J. Flanders re: Phase II Motion for Summary Judgment
                Equestrian                 comments and strategies
4/3/2024 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00             $0.00    0
                Murieta                    email with T. Brett and J. Flanders re: Defendant's expert rebuttal
                Equestrian                 witness deposition notice.
4/4/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                Murieta                    email with T. Brett re: review of Defendant's expert rebuttal report to
                Equestrian                 determine if he cites / relies on documents not in our possession.
4/4/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                Murieta                    review draft Phase II Motion for Summary Judgment; provide edits to
                Equestrian                 co-counsel
4/4/2024 CCKA   Center       DREVET HUNT                                                                                       2.6   $640.00      $1,664.00            $0.00    0
                Murieta                    review TAC; provide comments to co-counsel
                Equestrian
4/4/2024 CCKA   Center       DREVET HUNT                                                                                       0.9   $640.00         $0.00           $576.00   0.9
                Murieta                    call with J. Flanders and T. Brett re: additional allegations in motion to
                Equestrian                 amend, Motion for Summary Judgment waters of the United States
4/5/2024 CCKA   Center       DREVET HUNT   arguments, rain data for days of violation                                          0.5   $640.00       $320.00             $0.00    0
                Murieta                    Emails with J. Flanders re: direct and indirect discharges arguments
                Equestrian
4/5/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                Murieta                    Emails with whether Concentrated Animal Feeding Operation is within
                Equestrian                 scope of San Diego county MS4 permit ; research re: same
4/5/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00             $0.00    0
                Murieta                    Call with J. Flanders re: scope of Phase I and Phase II evidence for
                Equestrian                 Motion for Summary Judgment
4/8/2024 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $256.00            $64.00   0.1
                Murieta
                Equestrian
4/8/2024 CCKA   Center       DREVET HUNT   review phase II Motion for Summary Judgment statement of undisputed                 0.8   $640.00       $512.00             $0.00    0
                Murieta
                Equestrian
4/9/2024 CCKA   Center       DREVET HUNT   review phase II Motion for Summary Judgment legal arguments and pro                 1.1   $640.00       $704.00             $0.00    0




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                                                                                                       EXHIBIT 1
                 Murieta
                 Equestrian
4/11/2024 CCKA   Center       DREVET HUNT   review phase II Motion for Summary Judgment and provide edits; send t               0.7   $640.00       $448.00             $0.00    0
                 Murieta
                 Equestrian                 Call with J. Flanders re: McCurley depo, settlement offer, upcoming
4/15/2024 CCKA   Center       DREVET HUNT   motion schedule                                                                     0.5   $640.00       $320.00             $0.00    0
                 Murieta                    email with J. Flanders re: fees and settlement offer to opposing
                 Equestrian                 counsel.
4/15/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                 Murieta                    email with T. Brett re: obtaining trust documents (CAW Trust) / grant
                 Equestrian                 deed to Murieta Equestrian Center property
4/16/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                 Murieta                    Call with J. Flanders re: fee and settlement negotiations
                 Equestrian
4/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00             $0.00    0
                 Murieta                    emails with J. Flanders re: settlement offer to make to Defendant
                 Equestrian
4/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0

                 Murieta                    Call with T. Brett re: addition to MIL re: Federal Rule of Civil Procedure
                 Equestrian                 26 deficiencies in Swickard report.
4/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                 Murieta                    review and edit MIL (Swickard)
                 Equestrian
4/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.6   $640.00       $384.00             $0.00    0
                 Murieta                    emails with T. Brett and L Marshall re: draft proposed order for MIL
                 Equestrian
4/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                 Murieta                    multiple emails with T. Brett on issues related to MIL
                 Equestrian
4/19/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00             $0.00    0
                 Murieta                    review Def opposition on motion for leave to amend; send comments
                 Equestrian                 to co-counsel
4/22/2024 CCKA   Center       DREVET HUNT                                                                                       0.7   $640.00       $448.00             $0.00    0
                 Murieta                    calls with J. Flanders regarding Defendant's requested Motion for
                 Equestrian                 Summary Judgment briefing extensions
4/23/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00             $0.00    0
                 Murieta                    review draft reply motion for leave to amend; edit and comment; send
                 Equestrian                 to co-counsel
4/26/2024 CCKA   Center       DREVET HUNT                                                                                       2.3   $640.00      $1,472.00            $0.00    0
                 Murieta                    final review reply motion for leave to amend
                 Equestrian
4/29/2024 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00         $0.00           $320.00   0.5
                 Murieta                    Emails from and to opposing counsel re: Murieta Equestrian Center's
                 Equestrian                 requested extension, correspondence with co-counsel re: same
4/30/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                 Murieta                    correspondence with co-counsel re: Def requested extension
                 Equestrian
 5/1/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                 Murieta                    call with J. Flanders re: reset schedules
                 Equestrian
 5/7/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0
                 Murieta                    call with J. Flanders re: potential settlement and stay
                 Equestrian
 5/8/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00       $128.00             $0.00    0
                 Murieta                    follow up call with J. Flanders re: potential settlement
                 Equestrian
 5/8/2024 CCKA   Center       DREVET HUNT                                                                                       0.6   $640.00       $384.00             $0.00    0
                 Murieta                    call with J. Flanders re: mediation
                 Equestrian
 5/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00             $0.00    0




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                                                                                                     EXHIBIT 1
                 Murieta                    call with J. Flanders re: settlement strategy
                 Equestrian
 5/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.6   $640.00      $384.00             $0.00     0
                 Murieta                    call with J. Flanders re: bankruptcy counsel and Murieta Equestrian
                 Equestrian                 Center threats re: bankruptcy
5/10/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $192.00             $0.00     0
                 Murieta                    corr with J Flanders and T Brett re: mediation prep
                 Equestrian
5/10/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $192.00             $0.00     0
                 Murieta
                 Equestrian
5/13/2024 CCKA   Center       DREVET HUNT   emails with J. Flanders re: fee demand and bankruptcy                               0.3   $640.00      $192.00             $0.00     0
                 Murieta
                 Equestrian
5/13/2024 CCKA   Center       DREVET HUNT   review ED Cal case law on fees                                                      0.5   $640.00      $320.00             $0.00     0
                 Murieta                    corr with co-counsel re: mediation scheduling
                 Equestrian
5/13/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00      $128.00             $0.00     0
                 Murieta                    email with J. Flanders re: questions for bankruptcy counsel
                 Equestrian
5/13/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $192.00             $0.00     0
                 Murieta                    review and edits to fee demand letter
                 Equestrian
5/14/2024 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00      $512.00             $0.00     0
                 Murieta                    multiple calls with J. Flanders re: mediation
                 Equestrian
5/14/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00      $256.00             $0.00     0
                 Murieta                    review J. Flanders email and fee demand letter
                 Equestrian
5/14/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00      $128.00             $0.00     0
                 Murieta                    review J. Flanders summary of bankruptcy attorney call; respond
                 Equestrian
5/15/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $192.00             $0.00     0
                 Murieta                    call with J. Flanders to prep for mediation
                 Equestrian
5/15/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00      $128.00             $0.00     0
                 Murieta                    additional call with J. Flanders to prep for mediation
                 Equestrian
5/15/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $128.00            $64.00    0.1
                 Murieta                    review J. Flanders letter to Murieta Equestrian Center re: bankruptcy
                 Equestrian                 check case law
5/16/2024 CCKA   Center       DREVET HUNT                                                                                       0.6   $640.00      $384.00             $0.00     0
                 Murieta                    mediation with Judge Newman (includes travel time)
                 Equestrian
5/17/2024 CCKA   Center       DREVET HUNT                                                                                       9.5   $640.00      $384.00          $5,696.00   8.9
                 Murieta                    review draft proposed Consent Decree; provide edits
                 Equestrian
5/22/2024 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00      $512.00             $0.00     0
                 Murieta                    call with J. Flanders re: proposed Consent Decree
                 Equestrian
5/23/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $192.00             $0.00     0
                 Murieta                    call with J. Flanders and email with J. Flanders re: conservation
                 Equestrian                 easement
5/24/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $192.00             $0.00     0
                 Murieta                    call with J. Flanders regarding settlement status and strategy
                 Equestrian
5/28/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00      $128.00             $0.00     0
                 Murieta                    call with J Flanders re: proposed stipulation to extend briefing
                 Equestrian                 deadlines
5/29/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00      $128.00             $0.00     0




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                                                                                                      EXHIBIT 1
                 Murieta                    review proposed stipulation to extend briefing deadlines from Def; corr
                 Equestrian                 re: same.
5/29/2024 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00           $0.00   0
                 Murieta
                 Equestrian
 6/3/2024 CCKA   Center       DREVET HUNT   review coverage denial letter received from GAIC prior to mediation; rev          1.1   $640.00       $704.00           $0.00   0
                 Murieta                    investigate Cosumnes River and Murieta Equestrian Center to scout
                 Equestrian                 potential canoe trip down river in near future; meet with [redacted] re:
 1/7/2022 CCKA   Center       DREVET HUNT   same                                                                              8.5   $640.00      $5,440.00          $0.00   0
                 Murieta                    mediation prep (including call with J. Flanders)
                 Equestrian
 6/4/2024 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00           $0.00   0
                 Murieta                    attend mediation
                 Equestrian
 6/4/2024 CCKA   Center       DREVET HUNT                                                                                     3.0   $640.00      $1,920.00          $0.00   0
                 Murieta                    review documents and data with [redacted] re: Cosumnes river trip to
                 Equestrian                 investigate facts for case
 1/8/2022 CCKA   Center       DREVET HUNT                                                                                     1.1   $640.00       $704.00           $0.00   0
                 Murieta                    call with J. Flanders re: strategy for Motion for Summary Judgment and
                 Equestrian                 MIL In light of mediation fail
 6/6/2024 CCKA   Center       DREVET HUNT                                                                                     0.6   $640.00       $384.00           $0.00   0
                 Murieta                    review and provide edits to response to ex parte application re: MIL
                 Equestrian
6/11/2024 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                 Murieta                    meeting with Attorneys L Marshall, T. Brett, J. Flanders to strategize
                 Equestrian                 and allocate tasks for Motion for Summary Judgment reply
6/11/2024 CCKA   Center       DREVET HUNT                                                                                     1.1   $640.00       $704.00           $0.00   0
                 Murieta                    review Murieta Equestrian Center Motion for Summary Judgment
                 Equestrian                 opposition; develop initial thoughts on response
6/11/2024 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00           $0.00   0
                 Murieta                    review and provide edits to argument re: Motion for Summary
                 Equestrian                 Judgment re: discharge of pollutants to waters of the United States
6/12/2024 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00           $0.00   0
                 Murieta                    email with J. Flanders re: 6/2 hearing prep
                 Equestrian
6/12/2024 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00           $0.00   0
                 Murieta                    review recent 9th Cir case law on permit interpretation
                 Equestrian
6/13/2024 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00           $0.00   0
                 Murieta                    draft reply to Motion for Summary Judgment (Murieta Equestrian
                 Equestrian                 Center meets Concentrated Animal Feeding Operation elements
6/13/2024 CCKA   Center       DREVET HUNT   section)                                                                          2.1   $640.00      $1,344.00          $0.00   0
                 Murieta                    research failure to address/contest facts results in waiver/concession
                 Equestrian
6/13/2024 CCKA   Center       DREVET HUNT                                                                                     2.3   $640.00      $1,472.00          $0.00   0
                 Murieta                    review and revise Response to Statement of Undisputed Facts
                 Equestrian
6/13/2024 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00           $0.00   0
                 Murieta
                 Equestrian                 Call with J. Flanders re: Motion for Summary Judgment reply
6/14/2024 CCKA   Center       DREVET HUNT                                                                                     0.3   $640.00       $192.00           $0.00   0
                 Murieta                    corr with L Marshall re: MS4 permit interpretation research and
                 Equestrian                 arguments; provide feedback to proposed arguments
6/14/2024 CCKA   Center       DREVET HUNT                                                                                     0.8   $640.00       $512.00           $0.00   0
                 Murieta                    review draft SUF; further comments
                 Equestrian
6/14/2024 CCKA   Center       DREVET HUNT                                                                                     0.4   $640.00       $256.00           $0.00   0
                 Murieta                    review draft Motion for Summary Judgment and provide comments
                 Equestrian
6/14/2024 CCKA   Center       DREVET HUNT                                                                                     1.4   $640.00       $896.00           $0.00   0




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                                                                                                    EXHIBIT 1
                 Murieta                    review draft response to Def objections; provide comments
                 Equestrian
6/14/2024 CCKA   Center       DREVET HUNT                                                                                     0.7   $640.00       $448.00           $0.00   0
                 Murieta                    review complete Motion for Summary Judgment draft; provide edits
                 Equestrian                 and comments to team
6/14/2024 CCKA   Center       DREVET HUNT                                                                                     1.7   $640.00      $1,088.00          $0.00   0
                 Murieta
                 Equestrian
6/17/2024 CCKA   Center       DREVET HUNT   review Def response to Swickard MIL; provide comments to team regard              0.8   $640.00       $512.00           $0.00   0
                 Murieta                    Corr with Attorneys L Marshall T. Brett J. Flanders re: Phase II SWMP
                 Equestrian
6/17/2024 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00           $0.00   0
                 Murieta                    corr with J. Flanders re: settlement position
                 Equestrian
6/19/2024 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00           $0.00   0
                 Murieta                    corr with T. Brett re: Swickard MIL response strategy and briefing
                 Equestrian
6/21/2024 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00           $0.00   0
                 Murieta                    research expert qualifications and Swickard arguments
                 Equestrian
6/21/2024 CCKA   Center       DREVET HUNT                                                                                     0.6   $640.00       $384.00           $0.00   0
                 Murieta                    review T. Brett draft MIL reply; provide comments
                 Equestrian
6/23/2024 CCKA   Center       DREVET HUNT                                                                                     1.7   $640.00      $1,088.00          $0.00   0
                 Murieta                    corr with T. Brett re: comments and questions with Swickard MIL reply
                 Equestrian
6/24/2024 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00           $0.00   0
                 Murieta                    call (.1) and email (.1) with J. Flanders re: rescheduled hearings and
                 Equestrian                 avenues to resolution moving forward
6/26/2024 CCKA   Center       DREVET HUNT                                                                                     0.2   $640.00       $128.00           $0.00   0
                 Murieta                    meeting with J. Flanders, L Marshall and SB re: next steps following
                 Equestrian                 reassignment and potential filing complaint against CAW
6/26/2024 CCKA   Center       DREVET HUNT                                                                                     0.6   $640.00       $384.00           $0.00   0
                 Murieta
                 Equestrian
6/27/2024 CCKA   Center       DREVET HUNT   review draft MIL Swickard reply; provide edits                                    0.3   $640.00       $192.00           $0.00   0
                 Murieta                    corr with J. Flanders re: status
                 Equestrian
7/16/2024 CCKA   Center       DREVET HUNT                                                                                     0.1   $640.00        $64.00           $0.00   0
                 Murieta                    call with J. Flanders re: status and next steps
                 Equestrian
7/19/2024 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00           $0.00   0
                 Murieta
                 Equestrian
 8/1/2024 CCKA   Center       DREVET HUNT   prompt co-counsel re: checking with clerk on reassignment                         0.1   $640.00        $64.00           $0.00   0
                 Murieta
                 Equestrian
 8/2/2024 CCKA   Center       DREVET HUNT   review corr from E. Bustos re: reassignment                                       0.1   $640.00        $64.00           $0.00   0
                 Murieta                    review reassignment order; review Judge Riordan requirements and
                 Equestrian                 background
 8/6/2024 CCKA   Center       DREVET HUNT                                                                                     0.5   $640.00       $320.00           $0.00   0
                 Murieta
                 Equestrian                 Call with J. Flanders re: Murieta Equestrian Center request for
8/22/2024 CCKA   Center       DREVET HUNT   supplemental briefing                                                             0.2   $640.00       $128.00           $0.00   0
                 Murieta
                 Equestrian
8/23/2024 CCKA   Center       DREVET HUNT   call with J. Flanders re: supplemental briefing request from Murieta Eque         0.3   $640.00       $192.00           $0.00   0
                 Murieta                    read Loper-Bright; read Corner Post; develop arguments re non-
                 Equestrian                 applicability to this case
8/23/2024 CCKA   Center       DREVET HUNT                                                                                     1.8   $640.00      $1,152.00          $0.00   0




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                                                                                                       EXHIBIT 1
                 Murieta
                 Equestrian
8/24/2024 CCKA   Center       DREVET HUNT                                                                                        0.6   $640.00        $0.00          $384.00   0.6
                 Murieta                    email E. Bustos re: documents filed under seal
                 Equestrian
8/24/2024 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00       $64.00            $0.00    0
                 Murieta                    call with J. Flanders re: supplemental briefing
                 Equestrian
8/26/2024 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00      $128.00            $0.00    0
                 Murieta                    call with J. Flanders re: arguments in response to req for supplemental
                 Equestrian                 briefing
8/27/2024 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00       $64.00            $0.00    0
                 Murieta                    call with J. Flanders re: rescheduled hearing
                 Equestrian
8/27/2024 CCKA   Center       DREVET HUNT                                                                                        0.1   $640.00       $64.00            $0.00    0
                 Murieta                    call with J. Flanders re: loper-bright arguments
                 Equestrian
8/28/2024 CCKA   Center       DREVET HUNT                                                                                        0.9   $640.00      $576.00            $0.00    0
                 Murieta
                 Equestrian
8/29/2024 CCKA   Center       DREVET HUNT   review J. Flanders summary of Loper-Bright brief arguments; respond                  0.2   $640.00      $128.00            $0.00    0
                 Murieta
                 Equestrian
8/30/2024 CCKA   Center       DREVET HUNT   research SOL and APA regulations for challenging statute; prepare for d              0.7   $640.00      $448.00            $0.00    0
                 Murieta
                 Equestrian
 9/3/2024 CCKA   Center       DREVET HUNT   call with J. Flanders regarding settlement discussion with Newman                    0.1   $640.00       $64.00            $0.00    0
                 Murieta
                 Equestrian
 9/3/2024 CCKA   Center       DREVET HUNT   research Loper-Bright and inapplicability in context of citizen enforcemen           0.8   $640.00      $512.00            $0.00    0
                 Murieta                    review and provide comments on Loper-Bright brief
                 Equestrian
 9/9/2024 CCKA   Center       DREVET HUNT                                                                                        1.3   $640.00      $832.00            $0.00    0
                 Murieta                    call with J. Flanders re: Loper Bright brief
                 Equestrian
9/10/2024 CCKA   Center       DREVET HUNT                                                                                        0.7   $640.00      $448.00            $0.00    0
                 Murieta                    email with [redacted] re: loper-bright briefing; set up call
                 Equestrian
9/10/2024 CCKA   Center       DREVET HUNT                                                                                        0.3   $640.00      $192.00            $0.00    0
                 Murieta
                 Equestrian                 Call with J. Flanders re: call from K. Newman
9/11/2024 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00      $128.00            $0.00    0
                 Murieta
                 Equestrian
9/11/2024 CCKA   Center       DREVET HUNT   call with J. Flanders re: Newman and fee settlement proposal                         0.1   $640.00       $64.00            $0.00    0
                 Murieta
                 Equestrian
9/12/2024 CCKA   Center       DREVET HUNT   review draft Loper-Bright brief; send comments to team                               0.6   $640.00        $0.00          $384.00   0.6
                 Murieta
                 Equestrian
9/12/2024 CCKA   Center       DREVET HUNT   call with J. Flanders re: comments and edits to Loper-Bright brief                   0.7   $640.00      $448.00            $0.00    0
                 Murieta                    review complete draft Loper-Bright brief; prepare for call with J.
                 Equestrian                 Flanders re: same
9/15/2024 CCKA   Center       DREVET HUNT                                                                                        0.5   $640.00        $0.00          $320.00   0.5
                 Murieta                    call with J. Flanders to discuss edits and strategy on Loper-Bright brief
                 Equestrian
9/16/2024 CCKA   Center       DREVET HUNT                                                                                        1.5   $640.00      $960.00            $0.00    0
                 Murieta                    email with J. Flanders re: Murieta Equestrian Center Loper-Bright brief
                 Equestrian
9/16/2024 CCKA   Center       DREVET HUNT                                                                                        0.2   $640.00      $128.00            $0.00    0




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                                                                                                         EXHIBIT 1
                  Murieta                    review Murieta Equestrian Center Loper-Bright brief and supplemental
                  Equestrian                 evidence
 9/17/2024 CCKA   Center       DREVET HUNT                                                                                       1.3   $640.00       $832.00              $0.00     0
                  Murieta                    call with J. Flanders re: response to Murieta Equestrian Center Loper-
                  Equestrian                 Bright brief and supplemental evidence
 9/17/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00              $0.00     0
                  Murieta                    email with J. Flanders re: response to Murieta Equestrian Center Loper-
                  Equestrian                 Bright brief and supplemental evidence
 9/17/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00              $0.00     0
                  Murieta                    call with J. Flanders re: strategy and settlement opportunity
                  Equestrian
 9/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $256.00              $0.00     0
                  Murieta                    prep for MIL oral argument (review briefs and case law and Swickard
                  Equestrian                 report)
 10/3/2024 CCKA   Center       DREVET HUNT                                                                                       1.3   $640.00         $0.00            $832.00    1.3
                  Murieta                    meet with J. Flanders to prep for oral argument (argument run through
                  Equestrian                 and discussion on strategy and key points)
 10/3/2024 CCKA   Center       DREVET HUNT                                                                                       2.5   $640.00      $1,600.00             $0.00     0
                  Murieta                    further prep for MIL oral argument (review briefs and case law and
                  Equestrian                 Swickard report); prepare outline of argument
 10/7/2024 CCKA   Center       DREVET HUNT                                                                                       1.7   $640.00         $0.00           $1,088.00   1.7
                  Murieta                    call with J. Flanders to prep for oral argument (MSJ/MTA/MIL)
                  Equestrian
 10/7/2024 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00       $640.00              $0.00     0
                  Murieta                    call with J. Flanders re: requesting injunctive relief
                  Equestrian
 10/7/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00       $192.00             $64.00    0.1
                  Murieta                    travel to/from Motion for Summary Judgment/MTA/MIL hearing
                  Equestrian
 10/8/2024 CCKA   Center       DREVET HUNT                                                                                       4.0   $640.00       $320.00           $2,240.00   3.5
                  Murieta                    MSJ/MTA/MIL hearing
                  Equestrian
 10/8/2024 CCKA   Center       DREVET HUNT                                                                                       2.0   $640.00      $1,280.00             $0.00     0
                  Murieta                    call with J. Flanders re: injunctive relief to propose
                  Equestrian
11/22/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00        $64.00             $64.00    0.1
                  Murieta
                  Equestrian
11/22/2024 CCKA   Center       DREVET HUNT   review J. Flanders proposal on injunctive relief; respond with comments             0.3   $640.00       $192.00              $0.00     0
                  Murieta                    call with J. Flanders re: TAC
                  Equestrian
11/22/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00        $64.00              $0.00     0
                  Murieta                    meet and confer with opposing counsel re: injunctive relief
                  Equestrian
11/26/2024 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00       $320.00              $0.00     0
                  Murieta                    call with J. Flanders re: case strategy, settlement prospects, and next
                  Equestrian                 steps following meet and confer with opposing counsel re: injunctive
11/26/2024 CCKA   Center       DREVET HUNT   relief                                                                              0.6   $640.00       $384.00              $0.00     0
                  Murieta
                  Equestrian
 12/4/2024 CCKA   Center       DREVET HUNT   review J. Flanders draft of proposed injunctive relief; provide comments            0.4   $640.00       $256.00              $0.00     0
                  Murieta
                  Equestrian
 12/5/2024 CCKA   Center       DREVET HUNT   corr with J. Flanders draft of proposed injunctive relief to file                   0.2   $640.00       $128.00              $0.00     0
                  Murieta
                  Equestrian
 12/5/2024 CCKA   Center       DREVET HUNT   provide edits to injunctive relief document to be filed                             0.3   $640.00       $192.00              $0.00     0
                  Murieta                    review injunctive relief order and corr with team regarding incorrect
                  Equestrian                 document filed on proposed injunctive relief
 12/9/2024 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00       $192.00              $0.00     0




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                                                                                                        EXHIBIT 1
                  Murieta
                  Equestrian
12/10/2024 CCKA   Center       DREVET HUNT   corr with J. Flanders re: pleadings filed (TAC; proposed injunctive relief,         0.1   $640.00       $64.00               $0.00       0
                  Murieta                    calls with [redacted] re: Cosumnes river canoe trip and investigation
                  Equestrian
 1/25/2022 CCKA   Center       DREVET HUNT                                                                                       0.9   $640.00      $576.00               $0.00       0
                  Murieta                    call with J. Flanders T. Brett and I. Wren re: expert report
                  Equestrian
 3/11/2022 CCKA   Center       DREVET HUNT                                                                                       0.6   $640.00      $320.00              $64.00      0.1
                  Murieta                    review draft expert report; comments to team
                  Equestrian
 3/21/2022 CCKA   Center       DREVET HUNT                                                                                       1.1   $640.00      $704.00               $0.00       0
                  Murieta                    draft Bothwell declaration
                  Equestrian
  5/9/2022 CCKA   Center       DREVET HUNT                                                                                       1.3   $640.00      $832.00               $0.00       0
                  Murieta                    review I. Wren rebuttal report; comment re: same to team
                  Equestrian
 6/24/2022 CCKA   Center       DREVET HUNT                                                                                       0.7   $640.00      $448.00               $0.00       0
                  Murieta                    revisions to Wren rebuttal; provide to Wren
                  Equestrian
  7/1/2022 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00      $512.00               $0.00       0
                  Murieta                    call with J. Flanders and [redacted] re: potential settlement
                  Equestrian
 10/6/2022 CCKA   Center       DREVET HUNT                                                                                       0.5   $640.00      $320.00               $0.00       0
                  Murieta                    review and revise I. Wren dec in support of Motion for Summary
                  Equestrian                 Judgment
 12/8/2022 CCKA   Center       DREVET HUNT                                                                                       1.2   $640.00      $768.00               $0.00       0
                  Murieta                    corr with T. Brett and J. Flanders re: revisions to I. Wren Dec
                  Equestrian
 12/9/2022 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00       $64.00               $0.00       0
                  Murieta                    revisions to I. Wren dec; provide to T Brett
                  Equestrian
12/14/2022 CCKA   Center       DREVET HUNT                                                                                       1.1   $640.00      $704.00               $0.00       0
                  Murieta                    call (.1) and emails (.2) with T. Brett re: I. Wren dec revisions
                  Equestrian
12/15/2022 CCKA   Center       DREVET HUNT                                                                                       0.3   $640.00      $192.00               $0.00       0
                  Murieta
                  Equestrian                 Call with T. Brett re: revisions to I. Wren Decl.
12/16/2022 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00       $64.00               $0.00       0
                  Murieta                    draft second Bothwell dec
                  Equestrian
 1/18/2023 CCKA   Center       DREVET HUNT                                                                                       1.1   $640.00      $704.00               $0.00       0
                  Murieta                    further Bothwell dec to respond to issues raised in Def Opp.
                  Equestrian
 2/14/2023 CCKA   Center       DREVET HUNT                                                                                       0.8   $640.00      $512.00               $0.00       0
                  Murieta                    corr with J. Flanders re: Judge Barnes retirement
                  Equestrian
10/11/2023 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00      $128.00               $0.00       0
                  Murieta                    review draft Shefftz report; provide to T Brett
                  Equestrian
 1/18/2024 CCKA   Center       DREVET HUNT                                                                                       1.0   $640.00      $640.00               $0.00       0
                  Murieta
                  Equestrian                 Call with TB re: prep of expert report.
 1/18/2024 CCKA   Center       DREVET HUNT                                                                                       0.1   $640.00       $64.00               $0.00       0
                  Murieta                    calls with J. Flanders re: coverage denial letter received from GAIC
                  Equestrian                 prior to mediation; develop response and strategy
  6/3/2024 CCKA   Center       DREVET HUNT                                                                                       0.4   $640.00      $256.00               $0.00       0
                  Murieta                    Confer with L Marshall regarding insurance policy applicability.
                  Equestrian
  6/4/2024 CCKA   Center       DREVET HUNT                                                                                       0.2   $640.00      $128.00               $0.00       0
                                             Totals                                                                         618.4                $358,446.10          $34,713.50   54.24




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               EXHIBIT 2
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@coastkeeper.org
sent via electronic mail

Invoice:        CCKA-002

Date:           January 13, 2022

Matter:         Murieta Equestrian Center

Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Due Now:               $9,615.60

Enclosure:      January 2022 Costs Report




                             **Confidential, Attorney-Client Privilege, Attorney Work Product**

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                                    ATA Costs Report Jan 2022



Date       Client   Matter          Staff         Description                                        Rate       Total
1/4/2022   CCKA     Murieta         Jason         E114 Witness fees                          1 @ $8,940.00   8,940.00
                    Equestrian      Flanders      Payment to Ian Wren for expert
                    Center                        memorandum in support of mediation


1/6/2022   CCKA     Murieta         Esmeralda     E115 Deposition transcripts                 1 @ $675.60      675.60
                    Equestrian      Bustos        Veritext invoice no. 5426204. Deposition
                    Center                        transcripts of Sean Bothwell.

                                                  Amount Due                                                 9,615.60




                        **Confidential, Attorney-Client Privilege, Attorney Work Product**

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               EXHIBIT 3
            Case 2:20-cv-01703-SCR                                 Document 189-15                            Filed 04/18/25                 Page 60 of 106



California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@coastkeeper.org
sent via electronic mail

Invoice:      CCKA-003

Matter:       Murieta Equestrian Center

Date:         March 3, 2022



Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Costs       $2,748.80

Enclosure: ATA Cost Report

                                                                            ATA Costs Report, February 2022

Date          Client          Matter       Staff               Description                                                       Hours           Rate       Total   Notes
2/3/2022      CCKA            Murieta      Jason Flanders      E119 Experts                                                              1 @ $2,281.17   2,281.17
                              Equestrian                       Ian Wren sampling prep and site visit
                              Center

2/25/2022     CCKA            Murieta      Theresa Trillo      E113 Subpoena fees                                                         1 @ $467.63      467.63
                              Equestrian                       ACE invoice 433762 dated 02/23/22 for USACOE, Cal
                              Center                           Regional Water Quality Board, Rancho Murieta CSD, and
                                                               SWRCB subpoenas.
                                                               Amount Due                                                         0.00                   2,748.80




                                                            **Confidential, Attorney-Client Privilege, Attorney Work Product**
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               EXHIBIT 4
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@coastkeeper.org
sent via electronic mail

Invoice:       CCKA-004

Matter:        Murieta Equestrian Center

Date:          April 7, 2022



Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Costs:       $5,132.00

Enclosure: ATA Cost Report

                                                                ATA Costs Report, March 2022

Date           Client          Matter       Staff               Description                                                    Rate       Total   Notes
                                                           E113 Subpoena fees
                               Murieta
                                                           ACE invoice no. 437347 dated 03/08 for                        1@
  3/14/2022 CCKA               Equestrian   Theresa Trillo                                                                             $196.04
                                                           Sacramento county subpoenas.                                  $196.04
                               Center
                                                                E119 Experts
                               Murieta                          Ian Wren, Technical services provided from
                                            Jason                                                                   1@
  3/29/2022 CCKA               Equestrian                       January 1 to February 28, 2022, with respect to the                   $4,936.00
                                            Flanders                                                                $4,936.00
                               Center                           Murieta Equestrian Center (MEC) matter.

                                                                Amount Due                                                            5,132.04




                                                    **Confidential, Attorney-Client Privilege, Attorney Work Product**
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@cacoastkeeper.org
sent via electronic mail

Invoice:       CCKA-006

Matter:        Murieta Equestrian Center

Date:          November 10, 2022



Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Costs:     $5,918.04

Enclosure: ATA Costs Report



                                                        ATA Costs Report, May-October 2022

Date           Client         Matter       Staff          Description                                            Rate      Total    Notes
5/11/2022      CCKA           Murieta      Theresa Trillo E113 Subpoena fees                               1 @ $169.31    169.31
                              Equestrian                  ACE invoice No. 451737 dated 05/06/22 for
                              Center                      delivery of CAW subpoena to Rancho
                                                          Murieta address.


5/12/2022      CCKA           Murieta      Esmeralda     E111 Meals                                         1 @ $63.50     63.50
                              Equestrian   Bustos        J. Flanders lunch with client and consultant
                              Center                     on 4/21/22


6/2/2022       CCKA           Murieta      Esmeralda     E113 Subpoena fees                                1 @ $227.00    227.00
                              Equestrian   Bustos        Invoice no. 5971524. River City fees for
                              Center                     rush subpoena service (2 different
                                                         addresses) for Thunder Mountain.


6/23/2022      CCKA           Murieta      Esmeralda     E115 Deposition transcripts                    1 @ $1,195.85    1,195.85
                              Equestrian   Bustos        Paulsen deposition transcript.
                              Center
7/6/2022       CCKA           Murieta      Esmeralda     E115 Deposition transcripts                    1 @ $1,552.95    1,552.95
                              Equestrian   Bustos        Pearson deposition transcript.
                              Center
7/13/2022      CCKA           Murieta      Esmeralda     E102 Outside printing                          1 @ $1,113.32    1,113.32
                              Equestrian   Bustos        Paulsen and Pearson deposition exhibit
                              Center                     printing.


7/13/2022      CCKA           Murieta      Esmeralda     E111 Meals                                         1 @ $27.22     27.22
                              Equestrian   Bustos        Lunch - Paulsen deposition.
                              Center
7/13/2022      CCKA           Murieta      Esmeralda     E124 Other                                         1 @ $46.19     46.19
                              Equestrian   Bustos        Supplies for Paulsen deposition.
                              Center
8/22/2022      CCKA           Murieta      Esmeralda     E115 Deposition transcripts                       1 @ $393.90    393.90
                              Equestrian   Bustos        Invoice no. 5779623. Veritext. 5/10/22
                              Center                     deposition transcript of Ian Wren (Vol. II)




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Date         Client   Matter       Staff        Description                                              Rate       Total   Notes
8/31/2022    CCKA     Murieta      Esmeralda    E115 Deposition transcripts                        1 @ $698.70     698.70
                      Equestrian   Bustos       Invoice Number 1891. Payment to
                      Center                    Scarpelli for Fritschi deposition transcript.


9/7/2022     CCKA     Murieta      Esmeralda    E115 Deposition transcripts                        1 @ $430.10     430.10
                      Equestrian   Bustos       Invoice no. 6019014. Veritext fee for
                      Center                    7/18/22 Ian Wren deposition transcript.


                                                Amount Due                                                       5,918.04




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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@cacoastkeeper.org
sent via electronic mail

Invoice:        CCKA-007

Matter:         Murieta Equestrian Center

Date:           December 8, 2022



Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Costs:        $1,130.10
Total Fees:             $0.00
Total Due:         $1,130.10



Enclosure: ATA Costs Report


                                              ATA Costs Report, October 2022 - November 2023


Date            Client          Matter        Staff             Description                                       Rate   Hours    Total   Notes
10/19/2022      CCKA            Murieta       Christopher       A110 Manage data/files                  1 @ $71.01                71.01
                                Equestrian    Hudak             External hard drive to back up
                                Center                          all of ATA's docs on case for
                                                                removal from Everlaw




10/21/2022      CCKA            Murieta       Christopher       L190 Other Case Assessment,             1 @ $10.40                10.40
                                Equestrian    Hudak             Development and
                                Center                          Administration
                                                                Postage for sending back up
                                                                drive of MEC docs to office



12/19/2022      CCKA            Murieta       Esmeralda         E107 Delivery                           1 @ $43.68                43.68
                                Equestrian    Bustos            services/messengers
                                Center                          FedEx delivery of chambers
                                                                copies of motion for summary
                                                                judgment and lodged exhibits.




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Date          Client   Matter        Staff             Description                                       Rate   Hours     Total   Notes
1/9/2023      CCKA     Murieta       Esmeralda         E107 Delivery                           1 @ $36.15                 36.15
                       Equestrian    Bustos            services/messengers
                       Center                          FedEx delivery charge for
                                                       delivery of USB with MSJ video
                                                       exhibits.



1/17/2023     CCKA     Murieta       Esmeralda         E107 Delivery                           1 @ $35.85                 35.85
                       Equestrian    Bustos            services/messengers
                       Center                          FedEx delivery charge for
                                                       delivery of MSJ video exhibits
                                                       to OC



2/17/2023     CCKA     Murieta       Esmeralda         E108 Postage                              1 @ $8.30                 8.30
                       Equestrian    Bustos            Postage to mail USB flash drive
                       Center                          with chambers copy to court.




4/25/2023     CCKA     Murieta       Esmeralda         E124 Other                      1 @ $81.41                         81.41
                       Equestrian    Bustos            Check no. 2489. Payable to
                       Center                          Christopher Hudak for
                                                       purchase of external hard drive
                                                       and postage.



7/11/2023     CCKA     Murieta       Theresa Trillo E112 Court fees                              1 @ $1.10                 1.10
                       Equestrian                   PACER fee to download docket
                       Center                       sheet.




11/15/2023    CCKA     Murieta       Esmeralda                                                 1 @ $99.50                 99.50
                       Equestrian    Bustos            Order no. 2244768. ACE fee for
                       Center                          skip trace report of Peggy
                                                       Fackrell.




11/15/2023    CCKA     Murieta       Esmeralda                                                1 @ $168.25                168.25
                       Equestrian    Bustos            Order no. 2244841. ACE fee for
                       Center                          service of document subpoena
                                                       on West Coast Equine
                                                       Foundatoin.




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Date          Client   Matter        Staff             Description                                       Rate   Hours      Total   Notes
11/15/2023    CCKA     Murieta       Esmeralda                                                1 @ $127.12                 127.12
                       Equestrian    Bustos            Order no. 2244847. ACE fee for
                       Center                          attempted service in Orange
                                                       County of West Palms Event
                                                       Management.



11/15/2023    CCKA     Murieta       Esmeralda                                                1 @ $331.50                 331.50
                       Equestrian    Bustos            Order no. 2245437. ACE fee for
                       Center                          personal service of document
                                                       subpoena on Peggy
                                                       Fackrell/Let's Show.



11/15/2023    CCKA     Murieta       Esmeralda                                                1 @ $115.83                 115.83
                       Equestrian    Bustos            Order no. 2246236. ACE fee for
                       Center                          personal service of document
                                                       subpoena on West Palms Event
                                                       Management.



                                                       Amount Due                                                0.00   1,130.10




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               EXHIBIT 7
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@cacoastkeeper.org
sent via electronic mail

Invoice:       CCKA-008

Matter:        Murieta Equestrian Center

Date:             1/18/2024



Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Costs:       $3,942.15
Total Fees:            $0.00
Total Due:        $3,942.15



Enclosure: ATA Costs Report


                                         ATA Costs Report, December 2023 to January 18, 2024

Date           Client          Matter            Staff             Description                              Rate   Hours     Total
12/4/2023      CCKA            Murieta           Jason Flanders                                    1 @ $585.00              585.00
                               Equestrian                          Invoice to Real Time Legal
                               Center                              Video




1/2/2024       CCKA            Murieta           Esmeralda         E124 Other                      1 @ $165.75              165.75
                               Equestrian        Bustos            Invoice #567016. ACE fees
                               Center                              for attempts to serve
                                                                   document subpoena on
                                                                   FoxFarms Inc.




1/18/2024      CCKA            Murieta           Esmeralda         E115 Deposition                 @ $2,275.73             2,275.73
                               Equestrian        Bustos            transcripts
                               Center                              Invoice no. 634159. Planet
                                                                   Depos invoice for court
                                                                   reporter coverage and
                                                                   transcript of Maryann
                                                                   Subbotin deposition




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                                            **Confidential, Attorney-Client Privilege, Attorney Work Product**
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1/18/2024   CCKA   Murieta           Esmeralda         E115 Deposition                 1 @ $915.67            915.67
                   Equestrian        Bustos            transcripts
                   Center                              Invoice no. 634160. Planet
                                                       Depos invoice for
                                                       videoconferencing support
                                                       during Maryann Subbotin
                                                       deposition

                                                       Amount Due                                    0.00   3,942.15




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                                **Confidential, Attorney-Client Privilege, Attorney Work Product**
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                                                             Document 189-15
                                                                                                                       Invoice No.            Customer No.
             ACE ATTORNEY SERVICE,INC.                                                                                    567016                  13524
             P.O.BOX 71036                                                                                                Invc Date             Total Due
             LOS ANGELES, CA 90071                                                                                        12/12/23                  165.75
             TAX ID # XX-XXXXXXX                                                                                            Current           Over 30 Days
                                                                                                                             165.75                    .00
                                                                                                                       Over 60 Days           Over 90 Days

                                                                                                                                .00                   .00

             AQUA TERRA AERIS LAW GROUP
             ATTN: ESMERALDA BUSTOS                                                                       BILLING INQUIRIES CALL
             4030 MARTIN LUTHER KING JR. WY                                                               (213) 623-3979
             OAKLAND, CA 94609




                                              Customer No.    Invoice No.   Period Ending    Amount Due    Pg

                                                  13524          567016           11/30/23       165.75    1
  Date     Ordr No.     Svc                                        Service Detail                                                 Charges              Total

10/19/23     2244838    P3D    Caller: ESMERALDA BUSTOS                     Ref No.: CCA-V-COSUMNES CORPORAT    BASE        :      165.75             165.75
                               AQUA TERRA AERIS LAW GROUP                   FoxFarms, Inc.
PDF PROCESS 3 DAY              4030 MARTIN LUTHER KING JR. WY               220 State Highway 16
                               OAKLAND                                      PLYMOUTH

                               2:20-cv-1703 DB
                               CCA-V-COSUMNES
                               SUBPOENA TO PRODUCE
                               NOV 20




                                                                                                                                      Total           165.75




                                  INVOICE PAYMENT DUE UPON RECEIPT
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                                                        Document 189-15
                                                                                                                          Invoice No.     Customer No.
        ACE ATTORNEY SERVICE,INC.                                                                                            567016           13524
        P.O.BOX 71036                                                                                                        Invc Date      Total Due
        LOS ANGELES, CA 90071                                                                                                12/12/23           165.75
        TAX ID # XX-XXXXXXX                                                                                                    Current    Over 30 Days
                                                                                                                                165.75             .00
                                                                                                                          Over 60 Days    Over 90 Days

                                                                                                                                 .00              .00

        AQUA TERRA AERIS LAW GROUP
        ATTN: ESMERALDA BUSTOS                                                                                  BILLING INQUIRIES CALL
        4030 MARTIN LUTHER KING JR. WY                                                                          (213) 623-3979
        OAKLAND, CA 94609




                                         Customer No.     Invoice No.     Period Ending         Amount Due       Pg

                                             13524           567016           11/30/23              165.75      2
Date   Ordr No.     Svc                                        Service Detail                                                       Charges        Total


                          Reference                     Description                            Orders   Total   Amt

                          CCA-V-COSUMNES CORPORAT                                                   1        165.75

                                                                        Reference Totals :          1        165.75

                                                                        Total   Amount Due :        1        165.75




                             INVOICE PAYMENT DUE UPON RECEIPT
                                                                                    INVOICE
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                                                                                                                                              1 of 1
                                                                                   Invoice No.             Invoice Date             Job No.
                                                                                      634159                12/28/2023              518034
                                                                                    Job Date                             Case No.
                                                                                    12/14/2023                    2:20-CV-01703-DB
                                                                                                      Client and Case Name
                                                                               ATA Law Group - California Coastkeeper Alliance -v-
      Client:
                                                                               Cosumnes Corporation
      Jason Flanders, Esquire
      ATA Law Group                                                                                     Payment Terms
      4030 Martin Luther King Jr. Way
                                                                                                         Due upon receipt

      Oakland, CA 94609

 TRANSCRIPT WITH INDEX OF:
      Maryann Subbotin, Designated Representative                                            215.00 Pages                                 1,279.25
            Hard Copy Transcript                                                             215.00 Pages                                   118.25
            Attendance                                                                         7.50                                         450.00
            Exhibits                                                                         469.00 Pages                                   257.95
            Processing Fee                                                                     1.00                                          49.00
            Shipping & Handling                                                                1.00                                          55.00
                                                                                      TOTAL DUE >>>                                     $2,209.45
                                                                                      AFTER 1/27/2024 PAY                                $2,319.92
 Client law firm, as named above is responsible for the payment of this invoice and such payment is not contingent on any prior receipt of
 monies by client. By use of Planet Depos' services client accepts the terms and conditions set forth herein.

 For convenience, payment can be made online at https://planetdepos.com/pay with any major credit card- subject to a 3% convenience fee.

 For billing questions, please email billing@planetdepos.com or call 888.433.3767. Invoice disputes must be brought to our attention within 30
 days of receipt. In the event Planet Depos engages an attorney to collect any monies due from client, client shall be
 responsible for payment of Planet Depos' reasonable attorney's fees. Thank you for your business.
                                                                                         ( - ) Payments/Credits:                              0.00
                                                                                         (+) Finance Charges/Debits:                          0.00
                                                                                         (=) New Balance:                               $2,209.45

Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Jason Flanders, Esquire                                                      Invoice No.      : 634159
  ATA Law Group                                                                Invoice Date     : 12/28/2023
  4030 Martin Luther King Jr. Way                                              Total Due        : $2,209.45


  Oakland, CA 94609




                                                                              Job No.           : 518034
Remit To: Planet Depos                                                        BU ID             : *41-NoCal
          P.O. BOX 791571
                                                                              Case No.          : 2:20-CV-01703-DB
          Baltimore, MD 21279-1571
                                                                              Case Name         : California Coastkeeper Alliance -v-
                                                                                                  Cosumnes Corporation
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Case 2:20-cv-01703-SCR   Document 189-15   Filed 04/18/25   Page 77 of 106
                                                                                    INVOICE
              Case 2:20-cv-01703-SCR                  Document 189-15              Filed 04/18/25            Page 78 of 106
                                                                                                                                             1 of 1
                                                                                   Invoice No.            Invoice Date             Job No.
                                                                                      634160               12/28/2023              518034
                                                                                    Job Date                            Case No.
                                                                                    12/14/2023                   2:20-CV-01703-DB
                                                                                                     Client and Case Name
                                                                               ATA Law Group - California Coastkeeper Alliance -v-
      Client:
                                                                               Cosumnes Corporation
      Jason Flanders, Esquire
      ATA Law Group                                                                                    Payment Terms
      4030 Martin Luther King Jr. Way
                                                                                                        Due upon receipt

      Oakland, CA 94609

 VIDEOCONFERENCING SERVICES:
      Maryann Subbotin, Designated Representative - MVC
            Mobile Videoconference - 2 Hour Minimum                                           1.00                                       295.00
            Mobile Videoconference - Subsequent Hour(s)                                       6.00 Hours                                 594.00
                                                                                      TOTAL DUE >>>                                    $889.00
                                                                                      AFTER 1/27/2024 PAY                               $933.45
 Client law firm, as named above is responsible for the payment of this invoice and such payment is not contingent on any prior receipt of
 monies by client. By use of Planet Depos' services client accepts the terms and conditions set forth herein.

 For convenience, payment can be made online at https://planetdepos.com/pay with any major credit card- subject to a 3% convenience fee.

 For billing questions, please email billing@planetdepos.com or call 888.433.3767. Invoice disputes must be brought to our attention within 30
 days of receipt. In the event Planet Depos engages an attorney to collect any monies due from client, client shall be
 responsible for payment of Planet Depos' reasonable attorney's fees. Thank you for your business.
                                                                                         ( - ) Payments/Credits:                             0.00
                                                                                         (+) Finance Charges/Debits:                         0.00
                                                                                         (=) New Balance:                              $889.00




Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Jason Flanders, Esquire                                                      Invoice No.     : 634160
  ATA Law Group                                                                Invoice Date    : 12/28/2023
  4030 Martin Luther King Jr. Way                                              Total Due       : $889.00


  Oakland, CA 94609




                                                                              Job No.          : 518034
Remit To: Planet Depos                                                        BU ID            : *41-NoCal
          P.O. BOX 791571
                                                                              Case No.         : 2:20-CV-01703-DB
          Baltimore, MD 21279-1571
                                                                              Case Name        : California Coastkeeper Alliance -v-
                                                                                                 Cosumnes Corporation
Case 2:20-cv-01703-SCR   Document 189-15   Filed 04/18/25   Page 79 of 106
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@cacoastkeeper.org
sent via electronic mail

Invoice:       CCKA-009

Matter:        Murieta Equestrian Center

Date:             4/17/2024



Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Costs:      $35,338.92
Total Fees:            $0.00
Total Due:       $35,338.92



Enclosure: ATA Costs Report




               ATA Costs Report, January 24, 2024 through April 17, 2024

Date           Client          Matter       Staff         Description                       Rate      Total
1/24/2024      CCKA            Murieta      Esmeralda     E123 Other              01 @ $99.50         99.50
                               Equestrian   Bustos        professionals
                               Center                     Invoice no. 575643.
                                                          ACE fee for running
                                                          skip trace report on
                                                          Carol Anderson
                                                          Ward.
1/25/2024      CCKA            Murieta      Esmeralda                             01 @ $2,376.42    2,376.42
                               Equestrian   Bustos        Invoice 638887.
                               Center                     Planet Depos fees for
                                                          court report and
                                                          transcript of Antonio
                                                          Velez deposition.




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Date           Client    Matter       Staff          Description                        Rate      Total
1/25/2024      CCKA      Murieta      Esmeralda                               01 @ $507.79       507.79
                         Equestrian   Bustos         Invoice 638888.
                         Center                      Planet Depos fee for
                                                     video technical
                                                     support during
                                                     Antonio Velez
                                                     deposition.
1/31/2024      CCKA      Murieta      Esmeralda                               01 @ $209.00       209.00
                         Equestrian   Bustos         Payment to Austin
                         Center                      Process for rush
                                                     order of service of
                                                     deposition subpoena
                                                     on Carol Ward
                                                     Anderson in
                                                     Weatherford, TX.
2/5/2024       CCKA      Murieta      Tom Brett                               1 @ $936.20        936.20
                         Equestrian                  JTB flight to Hartford
                         Center                      for Shefftz depo




2/5/2024       CCKA      Murieta      Tom Brett                               1 @ $319.70        319.70
                         Equestrian                  JTB Hotel for Shefftz
                         Center                      depo




3/4/2024       CCKA      Murieta      Esmeralda                                 01 @ $291.32     291.32
                         Equestrian   Bustos         Invoice no. 9008626.
                         Center                      ACE fees for service
                                                     attempts of
                                                     deposition subpoena
                                                     on Carol Anderson
                                                     Ward at 7200 Lone
                                                     Pine Dr., Murieta
                                                     facility.




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Date          Client    Matter       Staff          Description                     Rate      Total
3/19/2024     CCKA      Murieta      Tom Brett                                1 @ $263.35    263.35
                        Equestrian                  J. Brett Hotel Room
                        Center                      Shefftz deposition
                                                    (March 26)




3/26/2024     CCKA      Murieta      Esmeralda                                04 @ $10.40     41.60
                        Equestrian   Bustos         Certified mail postage
                        Center                      to mail Carol
                                                    Anderson Ward NOI.




3/26/2024     CCKA      Murieta      Esmeralda                                 07 @ $1.87     13.09
                        Equestrian   Bustos         First class postage for
                        Center                      service copies of NOI
                                                    to government
                                                    agencies.


4/1/2024      CCKA      Murieta      Esmeralda                                01 @ $41.60     41.60
                        Equestrian   Bustos         Certified mail to send
                        Center                      notice of intent to
                                                    Carol Anderson Ward
                                                    Trust.


4/1/2024      CCKA      Murieta      Esmeralda                                 07 @ $1.87     13.09
                        Equestrian   Bustos         First class postage to
                        Center                      mail service copies of
                                                    notice of intent to
                                                    government agencies.


4/11/2024     CCKA      Murieta      Esmeralda                                01 @ $29.40     29.40
                        Equestrian   Bustos         Green copy costs for
                        Center                      McCurley exhibit
                                                    printing.




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Date        Client   Matter       Staff          Description                     Rate         Total
4/17/2024   CCKA     Murieta      Esmeralda                                01 @ $38.01        38.01
                     Equestrian   Bustos         FedEx charge for
                     Center                      delivery of USB flash
                                                 drive containing
                                                 Flanders declaration
                                                 exhibits Q & R to US
                                                 District Court.
4/17/2024   CCKA     Murieta      Jason                                           01 @    23,751.35
                     Equestrian   Flanders       Invoice no. 38435.          $23,751.35
                     Center                      GSI Environmental
                                                 Services provided
                                                 1/1/24 through
                                                 1/31/24.

4/17/2024   CCKA     Murieta      Jason                                  01 @ $6,407.50    6,407.50
                     Equestrian   Flanders       Invoice no. 38837.
                     Center                      GSI Environmental
                                                 services provided
                                                 2/1/24 through
                                                 2/29/24.

                                                 Amount Due                               35,338.92




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               EXHIBIT 9
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@cacoastkeeper.org
sent via electronic mail

Invoice:       CCKA-010

Matter:        Murieta Equestrian Center

Date:               5/8/2024



Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Costs:      $18,852.52
Total Fees:            $0.00
Total Due:       $18,852.52



Enclosure: ATA Costs Report




                 ATA Costs Report, April 18, 2024 through April 30, 2024

Date           Client          Matter            Staff             Description                              Rate        Total
4/23/2024      CCKA            Murieta           Esmeralda                                                  01 @    1,060.20
                               Equestrian        Bustos            Magna Legal Services invoice         $1,060.20
                               Center                              no. 1274514. Deposition
                                                                   transcript of J. Shefftz. Check
                                                                   #2624.




4/23/2024      CCKA            Murieta           Esmeralda                                             01 @ $0.64        0.64
                               Equestrian        Bustos            Postage to mail payment to
                               Center                              Magna Legal Services invoice
                                                                   no. 1274514. Deposition
                                                                   transcript of J. Shefftz. Check
                                                                   #2624.




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Date        Client    Matter          Staff             Description                               Rate        Total
4/25/2024   CCKA      Murieta         Esmeralda                                             01 @ $17.78       17.78
                      Equestrian      Bustos            Allianz flight insurance for T.
                      Center                            Brett flight to attend Shefftz
                                                        deposition.




4/25/2024   CCKA      Murieta         Esmeralda                                                   01 @       127.75
                      Equestrian      Bustos            Invoice no. 579829. ACE charges         $127.75
                      Center                            for deposition subpoena service
                                                        on Carol Ward Anderson
                                                        (attempted service at
                                                        Sloughhouse address).


4/29/2024   CCKA      Murieta         Esmeralda                                             01 @ $95.74       95.74
                      Equestrian      Bustos            Invoice no.579829. ACE charge
                      Center                            for service of deposition
                                                        subpoena to Carol Ward
                                                        Anderson. Attempts made to
                                                        1221 Carter Rd. address.


4/30/2024   CCKA      Murieta         Esmeralda                                                   01 @    11,880.00
                      Equestrian      Bustos            1/22/24 J. Shefftz invoice for       $11,880.00
                      Center                            consulting services




4/30/2024   CCKA      Murieta         Esmeralda                                                   01 @       736.75
                      Equestrian      Bustos            4/13/24 J. Shefftz invoice for          $736.75
                      Center                            deposition
                                                        appearance/testimony on
                                                        3/26/24




4/30/2024   CCKA      Murieta         Esmeralda                                                   01 @     4,933.66
                      Equestrian      Bustos            4/13/24 J. Shefftz invoice for        $4,933.66
                      Center                            travel to 3/26/24 deposition and
                                                        consulting services rendered in
                                                        March and April




                                                        Amount Due                                        18,852.52




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               EXHIBIT 10
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@cacoastkeeper.org
sent via electronic mail

Invoice:       CCKA-011

Matter:        Murieta Equestrian Center

Date:              7/12/2024



Please Provide Payment to:
Aqua Terra Aeris Law Group
4030 Martin Luther King Jr. Way
Oakland, CA 94609

Total Costs:        $7,020.21
Total Fees:             $0.00
Total Due:         $7,020.21



Enclosure: ATA Costs Report




                              ATA Costs Report, 05-01-24 through 06-30-24

Date           Client           Matter          Staff             Description                                 Rate       Total    Notes
5/8/2024       CCKA             Murieta         Esmeralda                                                     01 @    1,320.15
                                Equestrian      Bustos            First Legal Depositions                 $1,320.15
                                Center                            Invoice #108606. McCurley
                                                                  deposition coverage on
                                                                  4/12/24.

5/14/2024      CCKA             Murieta         Esmeralda                                                     01 @    2,662.50   1/2 Paid
                                Equestrian      Bustos            Judicate West fee for                   $5,325.00               by ATA
                                Center                            mediation services on
                                                                  5/17/24.



5/20/2024      CCKA             Murieta         Jason Flanders E110 Out-of-town travel              164 @ $0.67        109.88
                                Equestrian                     164 miles to / from
                                Center                         mediation




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Date        Client          Matter          Staff          Description                                Rate           Total   Notes
5/20/2024   CCKA            Murieta         Jason Flanders E110 Out-of-town travel               1 @ $25.00          25.00
                            Equestrian                     Parking at mediation
                            Center




5/23/2024   CCKA            Murieta         Esmeralda                                                     01 @    2,602.50
                            Equestrian      Bustos            Judicate West. Charges re:              $2,602.50
                            Center                            5/17/24 mediation.




6/18/2024   CCKA            Murieta         Esmeralda                                                    01 @       165.30
                            Equestrian      Bustos            Green Copy fees for printing             $165.30
                            Center                            motion for summary
                                                              judgment documents for
                                                              6/28/24 hearing binder.


6/24/2024   CCKA            Murieta         Jason Flanders                                               01 @       134.88
                            Equestrian                        Travel and parking for                   $134.88
                            Center                            mediation held on 5/17/24
                                                              in Sacramento



                                                              Amount Due                                          7,020.21




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               EXHIBIT 11
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@cacoastkeeper.org
sent via electronic mail

Invoice:       CCKA-012

Matter:        Murieta Equestrian Center

Date:            12/13/2024



Please Provide Payment to:
Aqua Terra Aeris Law Group
8 Rio Vista Ave.
Oakland, CA 94611

Total Costs:       $2,565.92
Total Fees:            $0.00
Total Due:        $2,565.92



Enclosure: ATA Costs Report




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                      ATA Costs Report, 07-01-24 through 12-13-24

Date         Client       Matter        Staff           Description                   Rate          Total
8/13/2024    CCKA         Murieta       Esmeralda                                     01 @       2,000.00
                          Equestrian    Bustos          Check to Berhend          $2,000.00
                          Center                        Grusone, bankruptcy
                                                        attorney; consulting
                                                        services.




10/8/2024    CCKA         Murieta       Jason Flanders E110 Out-of-town          1 @ $40.00         40.00
                          Equestrian                   travel
                          Center                       Parking for MSJ, MTA,
                                                       MIL hearing




10/8/2024    CCKA         Murieta       Jason Flanders E110 Out-of-town         176 @ $0.67        117.92
                          Equestrian                   travel
                          Center                       Travel to and from
                                                       hearing on MSJ, MTA,
                                                       MIL (miles per federal
                                                        mileage rate)



11/27/2024   CCKA         Murieta       Esmeralda                                     01 @         408.00
                          Equestrian    Bustos          Invoice no. 20240340.       $408.00
                          Center                        Rachael Lundy
                                                        transcription of
                                                        10/8/24 hearing.




                                                        Amount Due                               2,565.92




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               EXHIBIT 12
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California Coastkeeper Alliance
c/o Sean Bothwell
sbothwell@cacoastkeeper.org
sent via electronic mail

Invoice:       CCKA-013

Matter:        Murieta Equestrian Center

Date:              1/30/2025



Please Provide Payment to:
Aqua Terra Aeris Law Group
8 Rio Vista Ave.
Oakland, CA 94611

Total Costs:            $73.66
Total Fees:              $0.00
Total Due:              $73.66



Enclosure: ATA Costs Report



                           ATA Costs Report, 12-18-24 through 12-31-24

Date           Client            Matter          Staff             Description                           Rate    Total
12/18/2024     CCKA              Murieta         Esmeralda                                         01 @ $70.90   70.90
                                 Equestrian      Bustos            Certified mail postage to
                                 Center                            send four package to
                                                                   defendant Carol
                                                                   Anderson Ward and
                                                                   Carol Anderson Ward
                                                                   Trust of notice and
                                                                   acknowledgment of
                                                                   receipt.

12/18/2024     CCKA              Murieta         Esmeralda                                          04 @ $0.69    2.76
                                 Equestrian      Bustos            Four return self
                                 Center                            addressed stamped
                                                                   envelopes for return of
                                                                   notice and
                                                                   acknowledgment.

                                                                   Amount Due                                    73.66




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               EXHIBIT 13
                                                                                    STATEMENT
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 Magna Legal Services                                                                       Account No.                        Date
 Seven Penn Center
                                                                                               C280101                      3/26/2024
 1635 Market Street -8th Floor
 Philadelphia, PA 19103
 T: 215.207.9460 F: 215-207-2322
                                                                                 1 - 30 days           31 - 60 days        61 - 90 days
                                                                                         $853.75                $0.00                    $0.00
                                                                                91 - 120 days       121 days & Over         Total Due
      Drevet Hunt, Esq.                                                                     $0.00               $0.00             $853.75
      California Coastkeeper Alliance
      1100 11th Street
      3rd Floor
      Sacramento, CA 95814


Invoice        Invoice
                            Balance     Job No. Job Date       Witness                              Case
Date               No.
3/5/2024       1249675        853.75    1098695 2/16/2024      Timothy Simpson                      California Coastkeeper Alliance v.
                                                                                                    Cosumnes Corporation, et al.




Tax ID: XX-XXXXXXX
                                           Please detach bottom portion and return with payment.



                                                                             Account No. : C280101
  Drevet Hunt, Esq.
  California Coastkeeper Alliance                                            Date          : 3/26/2024
  1100 11th Street
  3rd Floor                                                                  Total Due     : $853.75
  Sacramento, CA 95814




Remit To: Magna Legal Services LLC
          P.O. Box 822804
          Philadelphia, PA 19182-2804
                                                                                     INVOICE
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  Magna Legal Services                                                              Invoice No.          Invoice Date              Job No.
  Seven Penn Center
  1635 Market Street -8th Floor                                                         1249675            3/5/2024                1098695
  Philadelphia, PA 19103                                                             Job Date                         Case No.
  T: 866-624-6221 F: 215-207-2322
                                                                                      2/16/2024               2:20-CV-01703-TLN-DB
                                                                                                          Case Name
                                                                                California Coastkeeper Alliance v. Cosumnes Corporation, et
                                                                                al.
       Drevet Hunt, Esq.
       California Coastkeeper Alliance                                                                  Payment Terms
       1100 11th Street
       3rd Floor                                                                                        Due upon receipt
       Sacramento, CA 95814


 1 CERTIFIED COPY OF TRANSCRIPT OF:
       Timothy Simpson                                                                      183.00 Pages        @          3.850         704.55
             Exhibits - Scanned                                                              27.00              @          0.250              6.75
             Exhibit Handling                                                                 1.00              @          5.950              5.95
             Expert/Tech                                                                    183.00 Pages        @          0.500             91.50
             GoGreenScripts Lit Package                                                       1.00              @        45.000              45.00
                                                                                        TOTAL DUE >>>                                  $853.75


 Location of Job   : GSI Environmental, Inc.
                     7595 Irvine Center Dr., Suite 250

                    Irvine, CA 92618

 Thank you, we appreciate your business!

 Balances unpaid in excess of 30 days shall bear interest at a rate of 18% simple interest per annum.

 WE ACCEPT VISA, MASTERCARD

                                                                                          ( - ) Payments/Credits:                             0.00
                                                                                          (+) Finance Charges/Debits:                         0.00

Tax ID: XX-XXXXXXX
                                             Please detach bottom portion and return with payment.

                                                                              Job No.       : 1098695           BU ID          : GAIG-ENVIR
                                                                              Case No.      : 2:20-CV-01703-TLN-DB
  Drevet Hunt, Esq.                                                           Case Name : California Coastkeeper Alliance v. Cosumnes
  California Coastkeeper Alliance                                                           Corporation, et al.
  1100 11th Street
                                                                              Invoice No. : 1249675             Invoice Date : 3/5/2024
  3rd Floor
  Sacramento, CA 95814                                                        Total Due     : $853.75


                                                                                 PAYMENT WITH CREDIT CARD

                                                                                 Cardholder's Name:
                                                                                 Card Number:
                                                                                 Exp. Date:                    Phone#:
Remit To: Magna Legal Services LLC                                               Billing Address:
          P.O. Box 822804
                                                                                 Zip:               Card Security Code:
          Philadelphia, PA 19182-2804
                                                                                 Amount to Charge:
                                                                                 Cardholder's Signature:
                                                                                 Email:
                                                                                 INVOICE
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  Magna Legal Services                                                          Invoice No.          Invoice Date            Job No.
  Seven Penn Center
  1635 Market Street -8th Floor                                                     1249675            3/5/2024              1098695
  Philadelphia, PA 19103                                                         Job Date                         Case No.
  T: 866-624-6221 F: 215-207-2322
                                                                                  2/16/2024               2:20-CV-01703-TLN-DB
                                                                                                      Case Name
                                                                            California Coastkeeper Alliance v. Cosumnes Corporation, et
                                                                            al.
       Drevet Hunt, Esq.
       California Coastkeeper Alliance                                                              Payment Terms
       1100 11th Street
       3rd Floor                                                                                    Due upon receipt
       Sacramento, CA 95814


                                                                                      (=) New Balance:                           $853.75




Tax ID: XX-XXXXXXX
                                         Please detach bottom portion and return with payment.

                                                                          Job No.       : 1098695           BU ID        : GAIG-ENVIR
                                                                          Case No.      : 2:20-CV-01703-TLN-DB
  Drevet Hunt, Esq.                                                       Case Name : California Coastkeeper Alliance v. Cosumnes
  California Coastkeeper Alliance                                                       Corporation, et al.
  1100 11th Street
                                                                          Invoice No. : 1249675             Invoice Date : 3/5/2024
  3rd Floor
  Sacramento, CA 95814                                                    Total Due     : $853.75


                                                                             PAYMENT WITH CREDIT CARD

                                                                             Cardholder's Name:
                                                                             Card Number:
                                                                             Exp. Date:                    Phone#:
Remit To: Magna Legal Services LLC                                           Billing Address:
          P.O. Box 822804
                                                                             Zip:               Card Security Code:
          Philadelphia, PA 19182-2804
                                                                             Amount to Charge:
                                                                             Cardholder's Signature:
                                                                             Email:
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               EXHIBIT 14
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     Ian Wren                                                                         March 2021 Invoice
                    INVOICE #      12-021                                                              INVOICE DATE   4/6/2021

                WORK ORDER #       12-020


                      MAILING      Ian Wren                                   BILL     Sean Bothwell
                          INFO                                                 TO
                                   PO Box 31896                                        California Coastkeeper Alliance
                                   San Francisco, CA 94131                             1100 11th Street, 3rd Floor
                                   Phone: (415) 810-6956                               Sacramento, CA 95814




    Stormwater professional services provided in February and March, 2021, with respect to the Murieta Equestrian Center matter.




    HOURLY SERVICES                                                                   HOURS            RATE                 AMOUNT

    Site investigation, sampling prep., sampling, follow up & documentation            27.3            $150               $4,095.00




                                                                      SUBTOTAL         27.3                           $    4,095.00



    DIRECT COSTS                                                                                                           AMOUNT

    vehicle rental, fuel, tolls                                                                                             $143.67
    water quality testing - California Laboratory Services, Rancho Cordova, CA                                             $448.00



                                                                                                SUBTOTAL              $      591.67




    OTHER COMMENTS

    1. Total payment due in 30 days

    2. Please make checks payable to Ian Wren                                                   TOTAL                 $   4,686.67




Invoice for Ian Wren, March 2021
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               EXHIBIT 15
                   Case 2:20-cv-01703-SCR               Document 189-15          Filed 04/18/25       Page 104 of 106

     Ian Wren                                                                              March 2022 Invoice
                    INVOICE #      03-215                                                         INVOICE DATE   4/4/2022

                WORK ORDER #       03-210


                     MAILING       Ian Wren                               BILL     Jason Flanders
                         INFO                                              TO
                                   PO Box 31896                                    Aqua Terra Aeris Law Group
                                   San Francisco, CA 94131                         4030 Martin Luther King Jr. Way
                                   Phone: (415) 810-6956                           Oakland, CA 94609




    Technical services provided in March 2022, with respect to the Murieta Equestrian Center (MEC) matter.




    HOURLY SERVICES                                                               HOURS          RATE                   AMOUNT

    Field work preparation, sampling, and coordination                             32.2          $160                 $5,152.00

    Expert report                                                                  97.4          $160                $15,584.00



                                                                    SUBTOTAL       129.6                         $    20,736.00



    DIRECT COSTS                                                                                                       AMOUNT

    Sampling costs (California Laboratory Services)                                                                  $1,002.00
    Collection of drone imagery by Cole Burchiel                                                                       $900.00

    mileage (486 miles @ $0.585)                                                                                        284.31

                                                                                           SUBTOTAL              $     2,186.31




    OTHER COMMENTS

    1. Total payment due in 30 days

    2. Please make checks payable to Ian Wren                                              TOTAL                 $   22,922.31




Invoice for Ian Wren, March 2022
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               EXHIBIT 16
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     Ian Wren                                                                   April 2024 Invoice

                    INVOICE #      12-404                                                      INVOICE DATE   4/16/2024

              WORK ORDER #         12-400


                     MAILING       Ian Wren                             BILL     Drevet Hunt
                          INFO                                            TO
                                   P.O. Box 31896                                California Coastkeeper Alliance

                                   San Francisco, CA 94131                       1100 11th Street, 3rd Floor

                                   Phone: (415) 810-6956                         Sacramento, CA 95814



     Deposition and preparation occuring from January through March 2024, with respect to the Murieta Equestrian Center (MEC) matter.




     HOURLY SERVICES                                                             HOURS            RATE               AMOUNT


     Deposition preparation, coordination, March 18, 2024 Deposition             13.75           $175          $   2,406.25




                                                                   SUBTOTAL      13.75                         $   2,406.25



     DIRECT COSTS                                                                                                    AMOUNT




                                                                                           SUBTOTAL            $          -




     OTHER COMMENTS

     1. Total payment due in 30 days

     2. Please make checks payable to Ian Wren                                             TOTAL               $   2,406.25




Invoice for Ian Wren, April 2024
